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                              JAIL DIVISION
                     STANDARD OPERATING PROCEDURES
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SUBJECT: GOALS AND OBJECTIVES
SOP NO:  1.01                                               GA. LAW: None
APPLICABLE GSA STANDARD NUMBER:                    None
APPLICABLE ACA STANDARD NUMBER:                    None
DATE CREATED:    OCTOBER 15, 1986                    LATEST UPDATE:              September 6, 2011

POLICY:

The Jail Administrator shall by authority of the Sheriff, ensure the detention facility is in compliance
with federal law, state statute, county ordinance, and any other lawful rule or regulation. The Jail
Administrator shall establish through policy and procedure, the appropriate objectives and goals to
continue the safe and secured operation of the facilities.

PROCEDURES:

1.     Resource:

              The Jail Administrator shall keep abreast of changes in current case law, legal opinion,
              new technology, and training, to ensure division policies, procedures, and operations are
              modified accordingly.

2.     Goals and Objectives:

a.            To ensure a safe environment for staff and inmates, while enhancing the protection of the
              surrounding community.

b.            To use an inmate classification system which provides an orientation period along with
              safe and constitutional housing assignments.

c.            To ensure effective communication between staff and inmates.

d.            To maintain a competent staff.

e.            To have effective supervision over the inmates.

f.            To ensure staff members act in a just and fair manner when dealing with the public,
              inmates and other agency personnel.

g.            To ensure there is effective control over the inmates.




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SOP NO: 1.01      GOALS AND OBJECTIVES

h.         To use available administrative practices to ensure a manageable and cost-effective
           operation.

i.         To establish staff ownership of the facilities.

j.         To ensure all inmates are processed into the facilities in a humane and efficient manner.

k.         To provide adequate health care, food service, and other inmate programs.

l.         To allow inmates to submit requests and grievances.

m.         To maintain procedures for the safe evacuation of the facilities and its operation during
           an emergency situation.




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SUBJECT: NEW EMPLOYEE ORIENTATION AND EVALUATION
SOP NO:  1.02                        GA. LAW: None
APPLICABLE GSA STANDARD NUMBER:                     None
APPLICABLE ACA STANDARD NUMBER:                     7B-01, 02, 10
DATE CREATED:    OCTOBER 15, 1986                      LATEST UPDATE:              September 6, 2011

POLICY:

The Jail Administrator shall ensure all employees successfully complete orientation training prior to
assignment to this Bureau. Each new employee shall receive established training through the Special
Operations Division (SOD) Jail Correctional Officer program.


PROCEDURES:

1.     Orientation:

       Each new employee shall be assigned to the Special Operations Division Jail Training Team for
       a prescribed period of time to be determined by the Special Operations Division Commander and
       the Jail Administrator. While assigned to the training team, the training supervisor shall ensure
       that each new employee is oriented on the day to day functions of the Jail Bureau, its Standard
       Operating Procedures (S.O.P.), Post Instructions, as well as the Sheriff s Office Rules and
       Regulations. While assigned to the training team, the training supervisor shall provide each new
       employee with the most recently adopted Jail Division Standard Operating Procedures Manual
       for the employees own personal reference.

2.     Training:

       During the orientation period, each new employee shall receive on the job training related to the
       duties and/or tasks of their job classification. The training supervisor or his/ her designee, shall
       be responsible for documenting and reviewing this training with the employee in an effort to
       keep the employee abreast of their progress over the course of the orientation period.

3.     Evaluation Process:

       Upon transfer to the Justice Bureau and assignment to an operational Security team, each new
       employee shall be evaluated by a team supervisor monthl . The emplo ee s immediate
       supervisor shall forward the evaluation through the chain of command to the Jail Administrator
       for review.




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SOP NO: 1.02         NEW EMPLOYEE ORIENTATION AND EVALUATION


4.    Unacceptable Performance:

      When the supervisor has identified and documented unacceptable performance, the supervisor
      shall take corrective measures which may include additional training in an attempt to correct the
      emplo ee s unacceptable performance. When these corrective measures fail to improve the
      emplo ee s job performance, it ma be cause for the emplo ee s dismissal, subject to the
      approval of the Sheriff or his/her designee.


5.    Administration of Keys, Identification & Security Access Cards

      The S.O.D. Training Supervisor or his/her designee, shall be responsible for the initial issuance
      of all keys, identification & security access cards to new employees of the division. He/she shall
      take all necessary steps to coordinate with the Special Operations Division Quartermaster to
      effectuate this duty.

      The Special Operations Commander, or his/her designee, shall be responsible for the issuance of
      all keys, identification & security access cards to any contractor or contract employee working
      within the division. He/she shall take all necessary steps to coordinate with the Quartermaster to
      effectuate this duty.

      Any employee having lost or damaged an issued key, identification or security access card, shall
      in a timely manner prepare an incident report detailing the circumstances of such loss or damage.
      A copy of this report shall be forwarded through his/her Chain of Command to the
      Quartermaster. All replacement keys, identification and security access cards for Jail Operations
      Division employees shall be obtained from the Special Operations Division.

      Employees of this Bureau are reminded that keys, identification & security access cards are
      count propert , and misuse or failure to maintain count propert is punishable under Sheriff s
      Office Rules & Regulations. Furthermore, there are fees required for issuance of replacement
      keys, identification and security access cards. Any employee who fails to maintain his/her issued
      county property and thereby makes him/herself unavailable for duty shall be subject to
      disciplinary action.




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SUBJECT: CHAIN OF COMMAND
SOP NO:  1.03                                                 GA. LAW: None
APPLICABLE GSA STANDARD NUMBER:                      1.07
APPLICABLE GSA STANDARD NUMBER:                      None
DATE CREATED:    OCTOBER 15, 1986                       LATEST UPDATE:               September 6, 2011


POLICY:

The staff of the Clayton County Detention Facilities shall follow an established Chain of Command
concerning requests, reports, grievances, instruction, training, personnel issues, and other related areas.
A Chain of Command is used to ensure operational efficiency and uniformity in supervision.

PROCEDURES:

1.     Compliance with Chain of Command:

       a.       All employees shall follow the Chain of Command beginning with the most immediate
                rank or position first before consulting the next higher rank or position.

       b.       For those employees who feel circumstances justify bypassing the Chain of Command,
                the Jail Administrator shall maintain the same "open door policy" as established by the
                Sheriff. However, personnel shall not use any open door policy as a means to avoid
                authority.

2.     Rank/Position Order:

       a.       All employees placed in acting supervisory status shall assume all responsibilities, duties
                and authority of that position.

       b.       Unless otherwise noted, the accepted Chain of Command for employees of the Justice
                Bureau, Jail Operations Division is as follows:

                1- Deputy Sheriff, Correctional Officer, Civilian
                2- Sergeant, Correctional Sergeant, Civilian Supervisor
                3- Lieutenant, Correctional Lieutenant
                4- Captain
                5- Major
                6- Assistant Chief Deputy
                7- Chief Deputy
                8- Sheriff




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SUBJECT: RELEASE OF INFORMATION
SOP NO:  1.04                                              GA. LAW: O.C.G.A. 50-18-70
APPLICABLE GSA STANDARD NUMBER:                   1.09, 1.10
APPLICABLE ACA STANDARD NUMBER:                   None
DATE CREATED:    OCTOBER 15, 1986                    LATEST UPDATE:              September 6, 2011

POLICY:

The staff of the Clayton County Detention Facilities shall comply with all state statutes governing the
release of information concerning the facilities and its inmates. The information shall be given
accurately and promptly to those inquiring about the information.

PROCEDURES:


1.     Criminal Charges and Bond Information:

       Employees can give information regarding the name, criminal charges and bond amounts of
       inmates who are currently incarcerated. Such requests may be made orally or through written
       correspondence or by telephonic means,

2.     News Media Information:

       Employees shall forward requests for information from the news media to an on-duty Supervisor.
       The Supervisor will respond to the request as authorized by the Sheriff or his designee.


3.     Requests for Information Under the Open Records Act:

       All requests for information shall be directed to the Chief of Staff, who shall respond to the
       request as directed by the Sheriff or his or her designee.

       Note: The Sheriff's Docket of Prisoners is Public Record and may be inspected by anyone at any
       reasonable time. Persons wishing to inspect the docket must come to the jail as referred to in
       section 2.16 of the Sheriff s Office Jail Standard Operating Procedures.




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SOP NO: 1.04        RELEASE OF INFORMATION

     All requests for information regarding an inmate s medical condition, whether currentl or
     formerly incarcerated, shall be forwarded to the Chief of Staff for processing. The
     Administrative Officer shall respond to the request as appropriate, upon consultation with the
     Medical Records custodian and at direction of the Jail Administrator or his/her designee. Any
     complaints, or inquires of an urgent nature regarding an inmate s health shall be immediatel
     forwarded to the on-duty Watch Commander for handling.

     With the exception of inquiries regarding names, charges and bond amounts, it is desired and
     encouraged that all requests for information be made in writing and addressed to the Sheriff s
     Custodian of Records. However, this is not required by law. Any oral requests for information
     received by an officer of this division shall be immediately reduced to writing by that officer,
     with time and date of the request recorded on this writing, and the name and employee number of
     the officer receiving the request also recorded. The officer shall specify the identity of the
     requestor, the specific information requested, and the contact information where any response
     may be made. The officer shall immediately forward such writing to the appropriate entity, as is
     necessary, according to the above procedures.

4.    Employee Information

     No information of any kind regarding any employee of this Office is to be disseminated to any
     third party by any other employee of this division, except by the expressed consent of the
     employee who is the subject of the request. All inquiries regarding any employee of this agency
     shall be forwarded to the Special Investigations Section for handling. Where possible, any
     requestor seeking information on any employee shall be referred to the Special Investigations
     Section. Emplo ees are reminded that, under Sheriff s Officer Rules & Regulations, ou are
     required to provide your own name and employee number upon request, to anyone making such
     a request.




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SUBJECT: INCIDENT REPORTS
SOP NO:  1.05                                               GA. LAW: None
APPLICABLE GSA STANDARD NUMBER:                    None
APPLICABLE ACA STANDARD NUMBER:                    2B-05, 3A-01
DATE CREATED:    OCTOBER 15, 1986                     LATEST UPDATE:              September 6, 2011

POLICY:

The staff of the Jail Bureau shall use Incident Reports to accurately document incidents in the detention
facilities in an effort to ensure uniformity and compliance with all applicable departmental policies and
procedures.

PROCEDURES:

1.     Incident Reports:

       This report shall be used for all incidents in which criminal charges may be obtained or an
       investigation conducted, and an other unusual occurrences, requiring an officer s
       documentation as directed by a supervisor. All reports shall be typed and submitted for review
       to the officer s immediate supervisor. All reports are to be submitted and approved on the date
       in which the incident occurred.

2.     Incident Reports shall contain the following information:

a.            Case Number

b.            Incident Type

c.             Premise Type

d.             Incident Date and Time

e.             Incident Location

f.            Reporting Officer

              i.      Name
              ii.     Rank
              iii.    Employee Number




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SOP NO: 1.05       INCIDENT REPORTS

g.          Offender(s)

h.          Victim(s)

i.          Jurisdiction

j.          Charge(s)

k.          Action Taken

l.          Witnesses

m.          Other Officer(s) Witness

n.          Evidence/Property (Brief Description)

o.          Drug Related Yes/No (if yes what type of drugs)

p.          Cleared By

q.          Narrative

            i.     Who was involved in the incident (inmates and/or employees)
            ii.    What Offense, violation, or action has occurred (in detail)
            iii.   When the incident occurred.
            iii.   Where the incident occurred
            iv.    Why (situation happened)

r.          Signatures of all approving supervisors

3.   Dissemination of Reports:

     The approving supervisors shall ensure a signed original is made of the incident report. The
     original shall be forwarded to records, one cop shall be stored in the emplo ee s file, and the
     last copy shall be placed in the offenders file. If applicable, copies are to be placed in the
     institutional file of all inmates involved.




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SUBJECT: JAIL MISCELLANEOUS INCIDENT REPORTS
SOP NO:  1.06                           GA. LAW: None
APPLICABLE GSA STANDARD NUMBER:                    21.04, 21.05
APPLICABLE ACA STANDARD NUMBER:                    2B-05, 3A-01
DATE CREATED:    OCTOBER 15, 1986                     LATEST UPDATE:              September 6, 2011

POLICY:

The staff of the Cla ton Count Sheriff s Office shall use the Jail Miscellaneous Report Form to
accurately document incidents involving inmates, instances in which officers use the security
computer s interlock override s stem, or an other incidents not meeting the established criteria for an
Incident Report.

PROCEDURES:

1.     Uses of the Jail Miscellaneous Incident Report Include:

       a.     Incidents involving inmates that require detailed information.

       b.     Any minor incidents worthy of documentation but not necessarily meeting the criteria for
              an Incident Report.

       c.     Instances in which officers use the interlock override of the facilit s securit systems.

2.     A Jail Miscellaneous Incident Report shall contain the following information:

       a.     The Reporting Officers Identity:

              i.      Name
              ii.     Rank
              iii.    Employee Number




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      b.       Information concerning the Incident:

               i.     Who was involved in the incident (inmates and/or employee(s))
               ii.    What type of incident or action has occurred (in detail)
               iii.   When the incident occurred specifying the date and time.
               iv.    Where the location of the incident occurred in descriptive form.
               v.     Why an interlock override was used (if applicable)
               vi.    Any facility rules that were violated by an inmate (if applicable)

SOP NO: 1.06          JAIL MISCELLANEOUS INCIDENT REPORTS

      c.       Approving supervisor s signature

3.    Dissemination of Reports:

      The approving supervisors shall ensure that at least two (2) copies of the report(s) are made, (1
      original and 1 photo copy.) The approving supervisor shall also ensure that one (1) photo copy is
      placed in the inmate(s) jail file when appropriate, and the remaining original is forwarded
      through the emplo ee s chain of command to the Jail Administrator s Office for review. Upon
      review by the Jail Administrator or his or her designee, the Administrative Officer shall file the
      original cop in the reporting officer s report folder.




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SUBJECT: REVISIONS AND REVIEWS OF THE JAIL DIVISION S.O.P. MANUAL
SOP NO:  1.07                            GA. LAW: None
APPLICABLE GSA STANDARD NUMBER:                    1.04, 1.05
APPLICABLE ACA STANDARD NUMBER:                    7D-01
DATE CREATED:    OCTOBER 15, 1986                      LATEST UPDATE:              September 6, 2011

POLICY:

The Jail Administrator shall, under the authority of the Sheriff, use an established review process which
ensures the consistency of policies and procedures within the Justice Bureau Standard Operating
Procedures (S.O.P.) Manual. The process shall incorporate revisions to the policies and procedures
affected by departmental needs and changes in current Georgia law. Revisions shall be forwarded to all
personnel to maintain an effective S.O.P. Manual.

PROCEDURES:

1.     Reviews/Revisions:

       The Jail Administrator or his/her designee shall conduct all reviews and revisions of the Jail
       Division S.O.P. Manual, to ensure compliance with the current laws and division operations.

       a.     Reviews of the S.O.P. Manual shall be conducted once annually or whenever deemed
              necessary by the Sheriff or his/her designee.

       b.     Suggested revisions of the S.O.P. Manual shall be forwarded to the Jail Administrator for
              his/her review and approval. Any revision approved by the Jail Administrator shall be
              forwarded to the Chief Deputy for review prior to final approval by the Sheriff.

2.     Dissemination/Inspection of S.O.P. Manuals:

       a.     All Jail Division employees shall receive a current copy of the S.O.P. Manual upon
              assignment to the Jail Operations Division.

       b.      All issued revisions shall be disseminated to each Jail Division employee.

       c.     The Jail Administrator or his designee shall inspect all subordinate Supervisors S.O.P.
              Manuals on at least an annual basis to ensure they have maintained them in proper order.




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SOP NO: 1.07       REVISIONS AND REVIEWS OF THE JAIL DIVISION SOP MANUAL

d.          Jail Division Supervisors shall be responsible for conducting annual inspections of the
            S.O.P. Manuals for all of his/her subordinate employees.

3.    S.O.P. Manual Archives:

a.          The Jail Administrator or his/her designee shall retain a master copy of the S.O.P.
            Manual, to include old and new revisions.

b.          The Jail Administrator or his/her designee, shall be responsible for documenting the
            dissemination of all S.O.P. Manuals and revisions




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SUBJECT: IDENTITY OF ESCORTING OFFICER
SOP NO:  2.01                                                  GA. LAW: None
APPLICABLE GSA STANDARD NUMBER:                      8.21, 8.22, 8.23, 10.01
APPLICABLE ACA STANDARD NUMBER:                      2A-14
DATE CREATED:    OCTOBER 15, 1986                        LATEST UPDATE:              September 6, 2011

POLICY:

The staff of the Clayton County Detention Facilities shall ensure the proper identification of escorting
officers. No individual shall be admitted into the custody of any facility under the control of the Sheriff
unless we have properly identified the officer escorting the person.

PROCEDURES:

1.     Request:

       If the admitting officer has any question as to the true identity of the escorting officer, the
       admitting officer shall require the escorting officer to produce the following identification:

       a.      A badge and a photo ID for the law enforcement officer, showing unit/employee number
               and signature of the agency head.

       b.      Other identification as the admitting officer deems necessary to establish positive
               identification.

2.     Refusal:

       If the escorting officer does not produce proper identification, or if the identification produced
       does not conform to the officer's person, the admitting officer shall immediately report this to his
       or her supervisor who shall decide to accept or den the escorting officer s access to the facilit .

3.     Reporting:

       Any refusal to admit an escorting officer into the facility shall have the circumstances
       surrounding the incident documented on a Jail Miscellaneous Incident Report (Justice Bureau
       SOP 1.06).




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SUBJECT: CONDITION OF INMATES
SOP NO:  2.02                                                 GA. LAW: 42-4-12
APPLICABLE GSA STANDARD NUMBER:                      10.01
APPLICABLE ACA STANDARD NUMBER:                      4C-04, 09
DATE CREATED:    OCTOBER 15, 1986                       LATEST UPDATE:               September 6, 2011

POLICY:

No person shall be admitted to the detention facility in an unconscious state unable to answer the
required booking question(s) in a coherent manner, nor with any evidence of serious illness or injury
without first having obtained proper medical services. Refusal of any escorting officer to seek medical
attention for any person under arrest shall be cause to refuse acceptance of that person for booking.

PROCEDURES:

1.     Observation:

       The admitting officer shall carefully observe the physical condition and behavior of any persons
       in custody before accepting the inmate to determine if the inmate:

       a.     Appears to be ill in any way,

       b.     Appears to be injured in any way,

       c.     Is unable to give their name and address in a coherent manner,

       d.     Is unable to walk under their own power,

       e.     Has a card, necklace, bracelet, etc., indicating they are diabetic or epileptic,

       f.     Appears ill to the point he or she should receive emergency medical treatment.

       If they have noticed any of these conditions or unusual behaviors, the admitting officer shall
       contact the Intake Medical Staff and a Supervisor immediately.




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SOP NO: 2.02            CONDITION OF INMATES

2.    Serious Injury:

      If the injury, illness, or emotional state of the inmate appears serious, the admitting officer shall:

      a.       Notify the Intake Medical Staff and his or her superior officer,

      b.     Have the Intake Medical Staff immediatel assess the inmate s medical condition,

      c.     If the Intake Medical Staff deems that the inmate does indeed require immediate medical
             attention, inquire from the escorting officer if he or she shall seek medical attention for
             the inmate,

      d.     If the escorting officer refuses or otherwise fails to see to the inmate's immediate medical
             needs, the Supervisor shall request rescue to respond and provide the needed medical
             attention. The escorting officer shall retain custody and responsibility of the arrested
             individual.

      Note: The Supervisor shall ensure an incident report documenting all of the circumstances of
      each situation and, if possible, photographs of any injuries/wounds.

3.    Refusal to Accept:

      A Supervisor and the medical staff shall be jointly responsible for determining to refuse or
      accept an inmate with a serious medical condition. The Supervisor shall:

      a.     In consultation with the medical staff determine the arrested individual s immediate need
             for medical care.

      b.     If the arrested individual has an immediate need for medical care which is not life
             threatening, the Supervisor shall refuse to accept the inmate and direct the escorting
             officer to seek medical attention for the inmate prior the acceptance of the inmate.

      c.     If the arrested individual has an immediate need for medical care that s possibl life
             threatening, the Supervisor shall contact the Clayton County Communications Center
             (911) and request that a rescue unit respond to the detention center for the arrested
             individual s medical needs. The escorting officer shall retain custod and responsibilit
             of the arrested individual.

      d.     The Supervisor refusing to accept an arrested individual in need of medical care shall
             ensure the completion of a Jail Miscellaneous Incident Report documenting the details
             surrounding the refusal. The Supervisor shall immediately notify the Jail Administrator
             or his designee of all cases regarding any refusal to accept an arrested individual who
             needs immediate medical care.




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SOP NO: 2.02          CONDITION OF INMATES

4.    Intoxication:

      If the inmate's behavior disrupts the intake process, and it appears to be caused by the use of
      drugs or alcohol, the admitting officer shall:

      a.       Have the Intake Medical Staff complete the medical screening sheet,

      b.       Place the inmate in a Holding Cell to sober up prior to completing ID processing,

      c.       Carefully observe the inmate for medical problems,

      d.       Notify medical staff to check inmate and take any medical action necessary.

5.    Medical Screening:

      The Intake Medical Staff must obtain medical screening information from each inmate in writing
      on the appropriate form.




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SUBJECT: INTOXIMETER TESTS
SOP NO:  2.03                                                GA. LAW: None
APPLICABLE GSA STANDARD NUMBER:                     None
APPLICABLE ACA STANDARD NUMBER:                     None
DATE CREATED:    OCTOBER 15, 1986                     LATEST UPDATE:                September 6, 2011

POLICY:

To ensure a standard of operations for an Intoximeter and to give guidelines that shall conform to all
State standards.

PROCEDURES:

1.     Certification:

       Only certified operators shall conduct any Intoximeter tests. State issued certificates for all
       certified Intoximeter operators shall be available for inspection.

2.     Tests:

       Licensed Intoximeter Operators shall log all valid Intoximeter test results and refusals in the
       Intoximeter Log Book.

3.     Malfunction:

       Any malfunction or "down time" of the Intoximeter shall be reported to the Intake Supervisor.
       The Intake Supervisor shall notify the Jail Administrator or his designee in writing of the
       malfunction along with a printout of the malfunction code, and make all necessary steps to have
       the Intoximeter returned to working condition.

4.     Notifications of down time:

       The Watch Commander shall insure all outside agencies are notified in the event the Intoximeter
       is inoperable.




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SUBJECT: LEGALITY OF COMMITTAL DOCUMENTS
SOP NO:  2.04                        GA. LAW: None
APPLICABLE GSA STANDARD NUMBER:                      10.01
APPLICABLE ACA STANDARD NUMBER:                      2A-13
DATE CREATED:    OCTOBER 15, 1986                       LATEST UPDATE:               September 6, 2011

POLICY:

The staff of the Clayton County Detention Facilities shall not accept any person into custody without
clear and documented legal authority.

PROCEDURES:

1.      Request:

       After a review of the escorting officer's identification, the admitting officer shall obtain from the
       escorting officer the committal documents authorizing custody.

2.    Review:

       The admitting officer shall review the committal documents. The approved committal
       documents are:

       a.       A writ/order by the court for execution of a sentence;

       b.       Court orders or orders from the Attorney General of Georgia specifying the detention of
                State witnesses;

       c.       A notarized Warrantless Arrest Probable Cause Affidavit;

       d.       Arrest Warrants from Georgia counties, or Municipal Courts;

       e.       Transfer papers or hold orders from the Federal Bureau of Prisons or the Georgia
                Department of Corrections;

       f.       Bond forfeiture papers approved by the Clerk of Courts;

       g.       Warrants signed by the arresting officer or a teletype indicating an outstanding warrant
                (with warrant number).




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SOP NO: 2.04         LEGALITY OF COMMITTAL DOCUMENTS

     h.       Copy of City Citation(s) or Summon(s).

     i.       Bind-over from any other agency shall be accepted on any type of legal committal
              document.




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SUBJECT: MANAGEMENT OF JUVENILES
SOP NO:  2.05                                                GA. LAW: None
APPLICABLE GSA STANDARD NUMBER:                     6.06, 10.06
APPLICABLE ACA STANDARD NUMBER:                     2A-17, 19, 20
DATE CREATED:    OCTOBER 15, 1986                      LATEST UPDATE:              September 6, 2011


POLICY:

To prevent exploitation, we will not house juveniles with adults. The only time juveniles will be
accepted at a Clayton County Detention Facility is by the authority of a Court Order executed by a
Superior Court Judge. Juveniles, unless otherwise directed by an Order of the Court, shall at all times be
separated by sight, sound, and touch from adult inmates.

PROCEDURES:

When an inmate professes to be a juvenile (any individual less than 17 years of age) and is not being
held by an Order of the Court to be treated as an adult, or when a credible source may identify an inmate
as a juvenile, the first officer who hears or receives such a report shall observe the following steps:

1.     Separation:

       Segregate the juvenile from the adult inmates immediately.

2.     Notification:

       Notify the Watch Commander that an inmate in custody could possibly be a juvenile.

3.     Investigation:

       The Officer shall attempt to determine the true age of the inmate by:

       a.      Question the inmate;

       b.      Obtain from the inmate the names, addresses, and telephone numbers of parent(s),
               Guardian(s), or relatives, who may confirm the inmate's age;

       c.      Telephone the person(s) named by the inmate and advising them, the inmate is in custody
               and asking them to verify the inmate's age.




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SOP NO: 2.05        MANAGEMENT OF JUVENILES

4.    Adult Confirmation:

     If the inmate is determined to be at least seventeen (17) years of age by the person(s) contacted
     or other means, we shall make a written report to include all information obtained, and we shall
     classify the inmate normally.

5.    Juvenile Confirmation:

     If the person(s) contacted confirms that the inmate is less than seventeen (17) years of age, we
     shall notify the arresting agency immediately. The arresting agency shall immediately transport
     the juvenile to the Regional Youth Development Center. We shall turn over the original
     committal documents and charges to the arresting agenc . Should the individual s true age
     remain in doubt, we shall conduct further investigation while the inmate remains segregated to
     obtain proper documentation to support the inmate s true age.

6.   Reporting:

     A Jail Incident Report shall be completed to include all information obtained and actions taken.




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SUBJECT: SEPARATION OF FEMALE INMATES
SOP NO:  2.06                         GA. LAW: None
APPLICABLE GSA STANDARD NUMBER:                    5.03, 11.02, 11.05
APPLICABLE ACA STANDARD NUMBER:                    2A-05, 10
DATE CREATED:    OCTOBER 15, 1986                      LATEST UPDATE:             September 6, 2011

POLICY:

Female inmates shall be separated from male inmates from the point of entry into the Detention Facility
until the time of release.

PROCEDURES:

1.     Staff:

       Only a female officer may perform those parts of the admitting process which require searching
       of a female inmate. All other intake procedures can be completed by any officer/deputy.

2.     Separation:

       Female inmates shall be placed in the intake waiting area/holding cells designated for females.

3.     Population:

       Separation of male and female inmates shall be adhered to in daily operations, inmate programs
       and services.

4.     Movement:

       Female inmates shall be escorted by staff when outside of the female housing unit or Intake area.




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SUBJECT: CONFISCATION OF INMATES' MONEY AND PERSONAL PROPERTY
SOP NO:  2.07                          GA. LAW: None
APPLICABLE GSA STANDARD NUMBER:                       2.05, 10.01
APPLICABLE ACA STANDARD NUMBER:                       2A-14
DATE CREATED:    OCTOBER 15, 1986                        LATEST UPDATE:             September 6, 2011

POLICY:

The staff of the Cla ton Count Detention Facilities shall respect all inmates personal propert and
handle it with care to prevent loss or damage.

PROCEDURES:

1.     Confiscation:

       The admitting officer shall, during the initial booking procedure, conduct a frisk search and
       confiscate all personal property of the newly admitted inmate(s), including:

       a.     Money/checks,

       b.     Belts, ties, hats, jackets, coats,

       c.     All contents of the inmate's pockets,

       d.     Other items not part of the inmate's clothing (e.g., purses, backpacks, key chains, watches,
              jewelry, check books, etc.).

2.     Description:

       The Intake Security officer shall secure and place in a plastic bag all items confiscated from the
       inmate. An damage to confiscated propert shall be documented in detail on the Inmate s
       Personal Property Inventory Form done by the contracted staff.

3.     Plastic Bag:

       All items shall be placed in a plastic property bag and turned over to the contracted staff. If any
       item is too large, the Intake Security Officer shall attach a property tag to the item. The officer
       shall note the inmate s name and date of admission on the propert tag.




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SOP NO: 2.07        CONFISCATION OF INMATE’S MONEY AND PERSONAL PROPERTY

4.   Jewelry

     a.      The Intake Security Officer shall photograph any large amount of jewelry taken from a
             newly admitted inmate.

     b.      All inmate jewelry shall be separately secured within a smaller envelope and sealed before
             being placed into a property bag, listing the contents, inmate's name, and date of
             admission on the face of the envelope.

5.   Signatures:

     The Property Clerk and the inmate shall sign and date the Personal Property Form. If the inmate
     refuses to sign, the property clerk shall secure another employee as a witness. The other
     employee shall sign his name and date with the notation, "inmate refused to sign."

6.    Sealing and Storage:

     The Property Clerk shall seal the jewelry envelope and enclose it inside the plastic bag containing
     the remainder of the inmate's property. Staff shall then seal the plastic bag with the Personal
     Property Form inside and store it in a secure area until taken into the Property Room for re-
     inventory and extended storage.

7.   Money:

     The security officer shall confiscate the inmate's money and count it in the inmate's presence. The
     money shall be sealed in a money receipt envelope with the receipt completed and the amount
     recorded on the money denomination form and money log form along with two witnessing
     officer s initials and emplo ee number. The inmate shall be given a receipt of their mone . The
     yellow envelope with the money shall be temporarily stored in a locked box and later turned over
     to the Accounting Section to be placed on the inmate s account. All pa roll checks shall be
     inventoried and placed in the inmate s personal propert .

8.    Personal Clothing:

     a.      Personal clothing shall be confiscated at the time the intake process is complete and the
             inmate has not made bond.

     b.      The officer that completes the dress out procedure shall inspect each item of clothing for
             contraband.

     c.      Each item of clothing shall be listed on the Property Inventory Form and described
             accurately to include brand name. The property clerk and inmate shall both sign this form.
             If the inmate refuses to sign, the clerk should take the same steps as with the property bag.




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SOP NO: 2.07       CONFISCATION OF INMATE’S MONEY AND PERSONAL PROPERTY

     d.     Clothing items shall be turned over to the property room staff. The clothing and personal
            property shall be placed in a property bag and sealed. The sealed property bag shall be
            placed in the numbered slot of the shelving system that corresponds to the number of the
            bag. Example: Bag #245 B shall go on the storage shelf marked B slot #245, and so forth.

     NOTE: All Excess property received for an inmate shall be processed in accordance with S.O.P.
     08.02 (Release/Destruction of Inmate Property).

1.   Property Received:

     a.     Inmate personal property or clothing shall only be accepted into the facility when
            approved by a Supervisor for court attendance purposes or medical reasons when
            recommended by medical personnel. Periodically there are inmates in custody who are
            too large in size to fit in a county issued uniform. In such instances, Supervisors may
            exercise their discretionary authority to allow clothing to be brought in for the inmate to
            wear while in custody.

     b.     An individual wishing to leave personal property or clothing shall report to the Visitation
            Desk where they must provide photo identification to the Visitation Officer to be
            maintained in the inmate s file.

     c.     The receiving officer shall search the personal property or clothing for contraband prior to
            its acceptance.

     d.     The following shall be annotated on the copy of the identification: date and time the items
            were left, the signature and employee number of the receiving employee, and a list of the
            items accepted. (Example: clothing for court or funeral attendance, eyeglasses, contacts
            solution, etc.)

     e.     Items such as contact lens solution, eye glasses, medicines, etc. will be given to the inmate
            by qualified medical personnel when appropriate at the time(s) or interval(s)
            recommended by the medical staff.


            Note: Any medicine must be received by the medical staff-security staff will not accept
            medicine unless medical staff is not reasonably available and then it must be received by a
            Supervisor.




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SUBJECT: FRISK SEARCH
SOP NO:  2.08                                                 GA. LAW: None
APPLICABLE GSA STANDARD NUMBER:                     5.03, 10.01, 10.08, 10.09, 12.06, 16.16, 23.4
APPLICABLE ACA STANDARD NUMBER:                     2A-14, 2C-01
DATE CREATED:    OCTOBER 15, 1986                       LATEST UPDATE:                September 6, 2011

POLICY:

Staff members of the Clayton County Detention Facility shall make every reasonable effort to prevent
the introduction of contraband and weapons into the facility while inspecting persons and property of
persons being admitted.

PROCEDURE:

1.     Frisk Search:

       When an officer has accepted an inmate into custody, the officer shall immediately conduct a
       frisk search of the inmate. The officer shall conduct this before placing the inmate in a holding
       cell or the waiting area, to detect if any contraband articles or weapons are concealed on the
       inmate. All inmates returning from outside the secure perimeter of the jail facility shall, be at a
       minimum frisk searched. Those inmates which are not under constant Sheriff s Office Detention
       staff supervision shall be striped searched.

2.     Conduct:

       A member of the Detention Staff of the same sex as the inmate shall conduct the search. Under
       no circumstances shall an officer make any personal remarks about the inmate being frisk
       searched concerning his or her person, attire, or physical attributes.

3.     Contraband:

       In the event contraband is found on an inmate, the officer shall conduct a strip search, following
       the procedures listed in SOP 2.09.




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SUBJECT: STRIP SEARCHES
SOP NO:  2.09                                                 GA. LAW: None
APPLICABLE GSA STANDARD NUMBER:                     5.03, 10.08, 10.09, 10.10, 10.11, 10.12, 12.06. 16.16,
                                                    23.04
APPLICABLE ACA STANDARD NUMBER:                     2C-02, 03
DATE CREATED:    OCTOBER 15, 1986                       LATEST UPDATE:                September 6, 2011


POLICY:

Officers shall conduct strip searches to maintain security. The staff shall conduct the search with the
greatest degree of dignity and privacy possible for the inmate. Strip searches shall be performed only by
officer(s) of the same sex. Strip searches shall be conducted only upon approval of a Shift Supervisor.
No personal remarks shall be made regarding the inmate's personal or physical characteristics.

PROCEDURES:

1.     Explanation:

       The searching officer shall explain the search procedure to the inmate so he or she knows in
       advance the reason for the search and how it shall proceed.

2.     Precautions:

       Officer(s) performing strip searches shall use reasonable precautions necessary to prevent the
       spread of any disease that may be confronted during the search. The use of gloves shall be
       mandatory during these searches.

3.     Searches:

       Strip searches will be conducted when:

       a.      Reasonable suspicion exists, which can include but is not limited to:

              i.      Past or present drug or weapon charges

              ii.     The inmate appears to be under the influence of illegal drugs

       b.     Inmates returning from outside detail which are not under direct supervision of Sheriff s
              Office Detention Officer s.




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SOP NO: 2.09        STRIP SEARCHES

     c.      Inmate dress out for housing within the facility.

     Caution - At no time will an officer make any attempt to remove items from within a body
     orifice. Should the occasion arise that warrants further intrusion other than visual inspection will
     proceed in accordance with SOP 2.10 (Body Cavity Search)

4.    Articulation of Reasonable Suspicion by Arresting Officer:

     Arresting officers requesting for an inmate to be strip searched, shall articulate the reasonable
     suspicion to a Shift Supervisor for his or her review before an officer conducts the search.

     a.       Arresting officer maybe present during the search, unless the inmate is of the opposite
     sex. If the arresting officer is not the same sex as the inmate, the officer shall remain just outside
     the room and an additional officer from the shift shall assist with the search.

5.    Contraband:

     Admitting officers discovering contraband on an inmate's person shall immediately process the
     contraband in accordance with procedures listed in SOP 4.02. However, evidence shall be turned
     over to the arresting officer if the contraband violates state law or if the search was requested by
     the arresting officer or agency.

6.   Reporting:

     The appropriate incident report shall be submitted through the chain of command to the Jail
     Administrator or his designee whenever a strip search is conducted. If the arresting officer has
     left the immediate area and contraband is found, the officer finding the contraband shall take
     appropriate charges if applicable. (Refer to SOP 03.02 - Work Release, for procedures regarding
     the reporting of strip searches conducted at the Alternative Detention Facility.)

     To conduct a strip search (visual search of the inmate s bod ) detention staff shall follow the
     steps listed in the most humane, respectful and professional manner possible.

     a. Instruct the inmate to remove his/her clothing. As each article of clothing is removed, the
     inmate is to hand it to the detention staff so that it may be checked for contraband.

     b. After the inmate is undressed, examine his/her body for any type of tape or bandages that may
     conceal contraband. If a bandage is removed, it should be replaced by a fresh bandage.

     c. Instruct the inmate to lean forward so the detention staff can run his or her hands through their
     hair.

     d. Direct the inmate to turn so his/her left side is facing the officer. Instruct the inmate to lean




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SOP NO: 2.09           STRIP SEARCHES

toward the officer in order for the area inside and behind his ears to be examined with the aid of
a flashlight for illumination. Repeat this process with the right ear.

e. Direct the inmate to face the officer and tilt his head back so the nostrils can be checked.

f. Instruct the inmate to bend his/her head down, open his mouth and wiggle his tongue back and
forth. Ask the inmate if he/she wears dentures. If dentures are worn, tell the inmate to remove
them so the dentures and mouth can be checked.

g. Have the inmate raise his/her arms so the armpits can be checked with aid of a flashlight for
illumination.

h. Inspect both inmate s hands including between the fingers and under the nails.

i. Instruct the inmate to face away from officer(s) and spread his or her rear end to cheeks so that
it can be viewed with the aid of a flashlight for illumination.

j. Male(s) only; Instruct the inmate to raise his testicles so the groin area can be checked.
Both male and female inmates will be instructed to squat and cough.

k. E amine the bottom of the inmate s feet and between the toes b having the inmate raise one
foot at a time.

l. Return the inmates clothing or issue uniform so he/she can redress.

m. A minimum of two staff members shall be present during the strip search of an inmate.
Documents will reflect the officers present during the search of an inmate either by appropriate
log or report.

 n. The inmate being searched will not be subjected to being seen by other inmates during the
search.

o. Any contraband located during the search is to be handled in accordance with SOP 4.02.




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SUBJECT: BODY CAVITY SEARCHES
SOP NO:  2.10                                                GA. LAW: None
APPLICABLE GSA STANDARD NUMBER:                     5.03, 10.10, 10.11, 10.12
APPLICABLE ACA STANDARD NUMBER:                     2C-04
DATE CREATED:    OCTOBER 15, 1986                       LATEST UPDATE:              September 6, 2011



POLICY:

When sufficient probable cause is given, cavity searches shall be conducted to maintain security. The
staff shall insure the search is conducted with the greatest degree of dignity and privacy possible for the
inmate. Cavity searches shall be conducted only under the approval of the Jail Administrator. These
searches shall not be conducted without a Court Order, the written consent of the inmate or approval
from the Jail Administrator. All cavity searches shall be performed by Medical Staff and witnessed by
officer(s) of the same sex as the inmate. No personal remarks shall be made regarding the inmate's
personal or physical characteristics.

PROCEDURES:

Cavity searches shall be considered only when such distinct probable cause exists to warrant this action.
Cavity searches shall be performed only upon a court order, the written consent of the inmate or the
approval of the Jail Administrator. Cavity searches shall be limited to specific instances where an officer
believes an individual has hidden within a body cavity either drugs, contraband, evidence of a crime, or
weapons. Such cavity searches are considered a last resort after all other less intrusive means have
failed. Prior to any cavity search the following steps shall be completed:

       1.      Notify a Shift Supervisor of the probable cause which exists prompting the need for a
               cavity search and to receive authorization and/or direction as to further action.

       2.      Encourage the inmate to remove the contraband themselves and relinquish it to an officer.

       3.      Ask the inmate about any medical problems the inmate may have which would inhibit a
               cavity search.




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SOP NO: 2.10      BODY CAVITY SEARCHES


     4.    Use all available means of investigation that are of a non-intrusive nature, such as an x-
           ray or an ultrasound.

     5.    Have the Medical Staff advise the inmate of the procedure to be used to accomplish a
           cavity search of their person.

     6.    Witnessing officers and all other personnel involved in the cavity search shall submit an
           incident report through the Chain of Command to the Jail Administrator. If contraband is
           found during the search, the witnessing officer shall process the contraband in accordance
           with the procedures listed in SOP 4.02.




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SUBJECT: DELOUSING INMATES
SOP NO:  2.11                                               GA. LAW: None
APPLICABLE GSA STANDARD NUMBER:                    15.08
APPLICABLE ACA STANDARD NUMBER:                    4C-01, 06
DATE CREATED:    OCTOBER 15, 1986                     LATEST UPDATE:             September 6, 2011

POLICY:

To prevent the introduction of disease and to promote a healthy environment, the staff of the Jail
Operations Division shall make every effort to provide inmates infested with body lice or other vermin
with the appropriate medical treatment.


PROCEDURE IN INTAKE:

1.     When an inmate is first admitted to our facility, the Medical Staff shall make an initial
       examination of the inmate to determine if he or she is suspect of having body lice of other
       vermin. The inmate will be asked if they presently have, or ever have had body lice or other
       vermin.

2.     If the Medical Staff is satisfied that the inmate does not have body lice or other vermin, the
       inmate will not be deloused.

3.     If the Medical Staff suspects that there is a possibility that the inmate has body lice or other
       vermin, then a thorough examination shall be conducted by the Medical Staff.

4.     The Medical Staff shall take the inmate to the appropriate dress out area and conduct the
       examination. One officer of the same sex will enter the dress out area with medical staff, acting
       as security for the nurse.

5.     If the inmate is found to be infested with body lice or other vermin, the Medical Staff shall
       provide the treatment to the inmate in the dress out room. The Medical Staff shall be responsible
       for any reporting of incidents of delousing inmates.


PROCEDURES IN HOUSING:

1.     If it is reported or discovered that any inmate in population is infested with body lice or other
       vermin, the control officer shall contact the infirmary to have someone from the medical section
       examine the inmate.



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SOP NO: 2.11        DELOUSING INMATES


2.    If the inmate is found to have body lice or other vermin, the entire section shall be
      decontaminated. All inmates will be deloused and given new linens and uniforms. The
      contaminated laundry shall be placed into plastic bags and secured, with a note attached
      identifying the contents as being contaminated. The contaminated bags shall be taken as soon as
      possible to the laundry to be washed.




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                             STANDARD OPERATING PROCEDURES
                                       Implemented on: January 04, 2012


SUBJECT: SURVEILLANCE OF HOLDING CELL/WAITING AREA
SOP NO:  2.12                          GA. LAW: None
APPLICABLE GSA STANDARD NUMBER:                     5.01, 8.28, 8.30, 23.01
APPLICABLE ACA STANDARD NUMBER:                     2A-01, 12
DATE CREATED:    OCTOBER 15, 1986                       LATEST UPDATE:             September 6, 2011

POLICY:

The staff of the Clayton County Detention Facility shall monitor the activities of inmates frequently to
ensure their safety and well-being while in Intake.

PROCEDURES:

1.     Holding for Processing:

       a.      No inmate shall be placed in an Intake Holding Cell or Waiting Area for a period longer
               than eight (8) hours, without the Shift Supervisor s approval.

       b.      Security Staff shall ensure there is always an appropriate number of staff members
               present to safely accommodate the number of inmates being admitted for processing.

2.     Frequency of Surveillance:

       Security Staff shall visually observe the Holding Cells and Waiting Area as often as possible
       consistent with the work load and available personnel, but at least every thirty (30) minutes.

3.     Suicidal and Violent Inmates:

       a.      If a staff member observes an inmate displaying signs that they are or may become
               violent, they shall house the inmate in a cell separate from the other inmates for his/her
               protection until the inmate calms down and can be safely processed.

       b.      If the inmate displays or expresses suicidal tendencies:

               i.     The officer shall notify the Medical Staff who shall interview the inmate.

               ii.    A log shall be kept of the inmate s activities every fifteen (15) minutes.

               iii.   Processing is to be completed as soon as possible.

               iv.    Upon dress out the suicidal inmate is to be placed in the Infirmary for
                      observation.


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                                    Implemented on: January 04, 2012



SUBJECT: ARREST/BOOKING REPORT, AND INITIAL COMPUTER ENTRIES
SOP NO:  2.13                           GA. LAW: None
APPLICABLE GSA STANDARD NUMBER:                     6.01, 6.02, 6.03, 6.04, 10.01, 10.02
APPLICABLE ACA STANDARD NUMBER:                     2A-14
DATE CREATED:    OCTOBER 15, 1986                       LATEST UPDATE:                September 6, 2011


POLICY:

The staff of the Clayton County Detention Facility shall generate and maintain accurate and complete
records on all newly admitted inmates.

PROCEDURES:

1.     Arrest/Booking Report:

       a.     Arrest/Booking Reports shall be completed on each inmate accepted at the Clayton
              County Detention Facilities by the arresting officer.

       b.     Security Staff shall verify the information contained on the arrest/booking report with the
              newly admitted inmate.

2.     Initial Computer Entry:

       a.     The Security Staff shall make a check of the local in-house computer system on each
              individual arrested and accepted by the Clayton County Detention Facility using the
              following steps:

              i.      Ask the inmate for the correct spelling of their name, date of birth, social security
                      number and any aliases or nicknames used.

              ii.     Security Staff shall make a check of the local in-house computer system using the
                      information obtained to determine if the inmate has an existing computer entry.

       b.             Security Staff shall make an entry onto the local in-house computer system on
                      each individual accepted into the facilities.




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SOP NO: 2.13          ARREST/BOOKING REPORT, AND INITIAL COMPUTER ENTRIES

      c.       All computer fields where information specific to the individual accepted could be
               annotated shall be checked to determine any special needs or instructions.

      d.       Computer printout(s) of the inmate s biographical information and dispositions of current
               charges shall be made on each inmate and maintained in the inmate s file.




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SUBJECT: INMATE ID PROCESSING
SOP NO:  2.14                                               GA. LAW: None
APPLICABLE GSA STANDARD NUMBER:                    10.01
APPLICABLE ACA STANDARD NUMBER:                    2A-13, 14
DATE CREATED:    OCTOBER 15, 1986                      LATEST UPDATE:             September 6, 2011


POLICY:

The staff of the Clayton County Detention Facility shall process all newly admitted inmates to obtain
complete and correct identifying data. Processing shall include but is not limited to photographs, finger
and palm prints, physical descriptions, and personal background information. This policy shall provide
for clear, concise, and accurate records of an inmate's personal history and criminal arrest(s).

PROCEDURES:

1.     All newly admitted inmates shall be processed as quickly and efficiently as possible.

2.     The officer(s) assigned on each shift to the processing area shall organize the order of inmates
       being processed. The primary goal is to process them in the order in which we received them
       unless otherwise directed.

3.     No inmate shall be left alone in the processing area for any reason. The ratio of personnel to an
       inmate in the processing area shall be one officer for each inmate being processed.

4.     No inmate shall be processed if acting violently or are in a highly intoxicated state which
       prevents them from being able to be processed safely and correctly.

5.     No inmate shall be processed until we receive the committal documents for all of the charges
       listed on the Arrest Booking Report. Any delay caused by missing committal documents will be
       reported immediately to a shift supervisor for corrective action to be taken.

6.     All inmate(s) entering the detention facility shall be processed with the use of the Rapid ID
       systems.

       a.     Intake Security Officers shall ensure each inmate is either currently on the Rapid ID
              s stem or the inmate s prints are currentl on the system.

       b.      Intake security Officers shall ensure the inmates are merged with the booking queue.




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SOP NO: 2.14         INMATE ID PROCESSING


7.     We shall release no inmate from the Detention Facility until processing has been completed,
       except persons arrested in error due to mistaken identity.

8.     Security Staff shall notify the Intake Supervisor immediately of any inmate who becomes
       uncooperative by refusing to complete any processing procedures. The Intake Supervisor shall
       decide what to do with the inmate, until the inmate is willing to cooperate.

9.     The inmate s folder containing all committal documents, arrest/booking report, and intake
       documents for the inmate to be processed shall be collected from the employee that completed
       the booking procedure before an officer begins processing the inmate.

10.    The following documents need to be completed during the processing of all newly admitted
       inmates who have no prior arrest record with our department:

       a.     A computer generated Inmate Interview Sheet (background).

       b.     An OBTS form.

       c.     Three (3) Fingerprint cards.

       d.     One (1) Palm print card.

       e.     A Handwriting Form (onl if the inmate s charges involve some t pe of writing during
              the commission of the crime. Example: Forgery, Deposit Account Fraud.)

       f.     A computer generated Arrest Booking Cover sheet.

       g.     An Arrest Booking Report (U.C.R.).

       h.     A CCID Folder

11.    The following documents need to be completed during the processing of all newly admitted
       inmates who have a prior arrest record with our department:

       a.     A computer generated Inmate Interview sheet (background).

       b.     An OBTS form

       c.     Two (2) Fingerprint cards.

       d.     A Handwriting Form, onl if the inmate s charges involve some t pe of writing during
              the commission of the crime. Example: Forgery, Deposit Account Fraud.




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SOP NO: 2.14         INMATE ID PROCESSING


       e.     A computer generated Arrest Booking Cover sheet.

       f.     An Arrest Booking Report (U.C.R.).

12.    Inmates shall have their fingerprints submitted to GCIC/NCIC.

       a.     Charges which are not placed on an individual s criminal histor   Non-submittable shall
              be submitted using the SOT box being checked

       b.     Charges which are placed on an individual s criminal histor   Submittable shall be
              submitted using the CAR box being checked.




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SUBJECT: NOTIFICATION OF INCARCERATION
SOP NO:  2.15                          GA. LAW: None
APPLICABLE GSA STANDARD NUMBER:                      10.01, 10.05, 8.48
APPLICABLE ACA STANDARD NUMBER:                      6A-01, 02, 04, 05
DATE CREATED:    OCTOBER 15, 1986                        LATEST UPDATE:               September 6, 2011

POLICY:

Staff members of the Clayton County Detention Facility shall afford an opportunity for newly admitted
inmates to contact persons to secure release, seek legal counsel, and provide notification of incarceration
to family or friends. Also, the staff shall notify the appropriate consulate for all foreign nationals
accepted into the facilities.

PROCEDURES:

1.     Access:

       Following the initial intake procedures, we shall allow the newly admitted inmate access to the
       inmate telephones while in Intake.

2.     No Contact:

       If the inmate has made no contact, it shall be the decision of the on duty Shift Supervisor if the
       inmate is allowed to use the Detention Facility business phones for local calls only.

3.     Subsequent Calls:

       If after the completion of the admissions process, the inmate is unable to contact parties via the
       telephone, we shall allow the inmate to place additional calls after being placed in Orientation.

4.     Notification of Foreign Nationals Arrest:

       Pursuant to international treaties, it is the responsibility of the on duty shift supervisor to contact
       the appropriate consulate. The Intake Supervisor shall document that consulate notification has
       been made on all foreign nationals accepted into the facilities.




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SUBJECT: RECORDS AND REPORTS
SOP NO:  2.16                                               GA. LAW: None
APPLICABLE GSA STANDARD NUMBER:                    8.48, 10.01, 10.05
APPLICABLE ACA STANDARD NUMBER:                    2A-13, 14, 6C-02
DATE CREATED:    OCTOBER 15, 1986                      LATEST UPDATE:             September 6, 2011

POLICY:

The staff of the Clayton County Detention Facility shall ensure accurate and complete records are
maintained for all inmates.

PROCEDURES:

1.     Individual Inmate Records:

       A folder shall be maintained on each inmate containing the following information when
       appropriate:

       a.     Computer Printout of the history sheet
       b.     Classification form
       c.     Committal documents
       d.     Disciplinary Action Report(s)
       e.     Money/Property Receipts
       f.     Arrest/Booking Report
       g.     Transfer Orders
       h.     Authority for release
       i.     Copy of sentence
       j.     Photo, NCIC wanted person check, and criminal history, if available

2.     Maintenance of Sheriff's Register of Prisoners - Jail Docket (Computerized):

       The Jail Docket is a legal registry maintained on all individuals incarcerated and released from
       the facility. The Jail Docket Book is an open record which is maintained in the Bonding Office
       and can be viewed by the public at any reasonable time. The person(s) desiring to view the Jail
       Docket Book shall make the request to the visitation officer. The Jail Docket Book shall be
       completed to reflect the following information about each person accepted by the facilities:

       a.     Full name and alias
       b.     Date of Birth
       c.     Sex/Race
       d.     Offense charged/bond amount




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SOP NO: 2.16          RECORDS AND REPORTS



      e.       Date/time of confinement
      f.       Date/time of release
      g.       Authority of release
      h.       Date of Preliminary Hearing
      i.       "Hold" from other law enforcement agencies
      j.       Disposition of the charge

      Note: The computerized docket book can be viewed on line at www.claytonsheriff.com.

3.    Inmate Population:

      A computer printout shall be compiled and retained reflecting the daily inmate population by
      inmate name, the facilit s population demographics, and a length of sta report for all inmates.

4.    Security of Inmate Records:

      Inmate files shall be maintained in a safeguarded location to ensure security and privacy of
      information. No unauthorized person shall have access to an inmate record.

5.    Medical Records:

      The Medical Staff shall maintain all medical records for inmates.

6.    Inmate Access to Committal Documents:

      No inmate shall have their committal documents in his/her possession at any time.

7.    Jail Census Report:

      The Jail Census Report is a report generated containing the name, location, and LE number of all
      inmates incarcerated in the facility. Shift personnel shall print multiple Jail Census Reports out
      each morning, or whenever necessary.




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SUBJECT: CLASSIFICATION OF INMATES
SOP NO:  3.01                                               GA. LAW: None
APPLICABLE GSA STANDARD NUMBER:                    10.01, 10.02, 10.04, 10.06, 10.07, 11.01, 11.02, 11.03,
                                                   11.05, 11.06, 11.07, 11.08, 13.01, 13.02, 13.03, 13.04,
                                                   13.05
APPLICABLE ACA STANDARD NUMBER:                    2A-16, 17, 20, 21, 22, 23, 24
DATE CREATED:    OCTOBER 15, 1986                      LATEST UPDATE:                September 6, 2011

POLICY:

The staff of the Clayton County Detention Facility shall classify inmates for housing assignments, to
enhance public safety, staff safety, and humane inmate treatment. The Classification Section Personnel
shall classify inmates using behavioral patterns, current charges, criminal history, gender, and any
special needs identified during the assessment.

PROCEDURES:

1.     Classification Duties:

       a.     Classification Section Personnel shall maintain the record on all inmates incarcerated in
              the Clayton County Detention Facility.

       b.     Classification Section Personnel shall review and process all court orders. Classification
              Section Personnel shall enter all court order information on the computer and document it
              in the inmate s file.

       c.     All inmates sentenced to Count Time shall have a release date calculated b the
              Classification Section Personnel.

       d.     All inmates sentenced to State Time shall have an Affidavit prepared and submitted to
              the Department of Corrections.

       e.     Classification Section Personnel shall classify all inmates. If a need arises for an inmate
              to be reclassified, the procedure shall begin with the initial classification process and
              include any additional criteria for a status change.

       f.     The Classification Section shall also be the official liaison with the courts, Probation and
              Parole Offices, Solicitor s and District Attorne s Offices, and other law enforcement
              agencies concerning inmates incarcerated in our facility.




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      g.     The Classification Section shall ensure all inmates are scheduled for required court
             appearances.


2.    Classification Process:

      The Classification process shall begin in the designated Intake staging area for all newly arrested
      individuals waiting to be processed. An Objective Classification Form shall be completed and
      the following steps shall be taken:

a.    The inmate shall be separated by their gender as follows:

             i.      Male

             ii.     Female

             iii.    The gender of a Transsexual shall be determined by the Medical Staff and the
                     inmate shall be housed accordingly.

b.    Intake Personnel shall observe the inmate s initial behavior in Intake to determine            the
      following:

             i.      If the inmate appears to be violent or nonviolent.

             ii.     If the inmate is displaying signs of suicidal tendencies.

             iii.    If the inmate appears to be emotionally stable.

c.    Classification Section Personnel shall review the inmate s current charges to determine the
      following:

             i.      If offense(s) are a violent or nonviolent Felony.

             ii.     If offense(s) are a violent or nonviolent Misdemeanor.

             iii.    If the inmate is pretrial or the inmate is sentenced.

d.    Classification Section Personnel shall utili e the criminal histor to determine each inmate s past
      criminal activity. The information from the criminal history check shall be used to detect any
      previous records of escape, attempted escape, or walk-a-ways which may constitute a security
      threat to the facility.




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e.    Intake Personnel shall make a wanted person check through the NCIC computer system for any
      outstanding warrants.

f.    Upon entering our facilities, Medical Staff shall do a medical screening to establish the
      emotional stability and medical needs of all inmates.

3.    Orientation Unit:

      This is an initial housing area for the orientation of new inmates into our facilities. This
      orientation shall include, but not be limited to: Rules and Regulations of the facilities, daily
      operations/expectations of inmate conduct, information on the programs offered at the facility,
      and instructions on how to obtain inmate assistance. Orientation shall last (72) hours, but shall
      be separated into three (24) hours phases.

4     Housing Assignments for Classified Inmates:

      a.     General Population:

             The Housing Unit(s) designated for all inmates who have completed orientation and are
             not considered a special management inmate shall be classified as a Minimum, Medium,
             or Maximum general population inmate.

      b.       Direct Supervision / Random Supervision Unit:

             Inmates housed in Direct Supervision or Random Supervision shall be primarily inmate
             workers or those with a minimum or medium classification. Separate sections shall be
             maintained for males and females. No inmate shall be assigned to a Direct Supervision or
             Random Supervision housing unit having any of the following:




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            i.     Aggravated offenses

            ii.    Disruptive behavioral patterns, repeated disciplinary actions, or an inability to
                   coexist peacefully with other inmates, staff, or jail civilians.

c.          Security Segregation Section:

            The Housing Unit(s) designated for inmates when his or her actions constitute a threat to
            themselves, others, or the security of the facilities.

d.          Administrative Segregation Section:

            The Housing Unit(s) designated for inmates with a need to be isolated from general
            population, due to their particular need for additional protection.

e.          Infirmary:

            There are cells within the Infirmary designated for inmates having the following
            conditions:

            i.     Physically Impaired (sick/injured)

            ii.     Developmental Disability or Mental Illness

            iii.   Visual or Hearing Impaired

            iv.    Alcohol Dependent/Abusers

            v.     Drug Detoxification

            vi.    Suicidal

f.          Medical Special Needs:

            There are also specially designed cells used for housing handicapped inmates. The
            Medical Staff in coordination with the Jail Administrator or their designee shall
            determine the limitations used to classify an inmate as handicapped.




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      g.    Disciplinary Lockdown Section:

            The Housing Unit for inmates who have violated the rules and regulations of the facility
            and received disciplinary lockdown for a designated length of time.

5.    Maintenance of Inmate Records:

      a.    The security of inmate records shall be as follows:

            i.      All files shall be isolated in a secure and Authori ed Personnel Onl      area.

            ii.     The information within the files shall be considered confidential and not to be
                    disseminated to any unauthorized individual.

      b.    The Classification Section shall ensure proper documentation within all inmate records as
            follows:

            i.      Ensure all committal documents are in the file.

            ii.     Place all records, forms, and reports in the appropriate location within the file

      c.    The Classification Section shall review inmate s files and reclassif an inmate s status
            when:

            i.      An inmate is sentenced on any outstanding charge(s);

            ii.     The filing of any additional charge(s);

            iii.    The current charge(s) are reduced or dismissed;

            iv.     A writ or order from a court specifies a need;

            v.      An inmate receives any disciplinary action;

            vi.     Another agency places a hold or detainer on the inmate;

            vii.    When the monthly status review is done on all records;

            viii.   When directed by the Sheriff, Chief Deputy, or the Jail Administrator.




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6.    Movement:

      All changes of inmate housing assignments shall be reviewed by a Shift Supervisor prior to or
      shortly after the move is made to ensure that the inmate is being housed in an area designated for
      that inmate s specific classification.

7.    Classification Review:

      The Jail Administrator or his designee shall conduct a systematic review and audit of the
      classification process at least once each year. This review shall include, but is not limited to, the
      following:

      a.       The structure and/or organization of the classification process.

      b.       The roles of personnel assigned to Classification.

      c.       The status and accuracy of inmate files.




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SUBJECT: WORK RELEASE
SOP NO: 3.02                                                      GA. LAW: O.C.G.A.: 42-1-4, 42-1-9
APPLICABLE GSA STANDARD NUMBER:                             NONE
APPLICABLE ACA STANDARD NUMBER:                             5C-05
DATE CREATED: 14 September 1999                                LATEST UPDATE: 1 January 2011

POLICY:

The Clayton County Sheriff=s Office Work Release Program is designed to assist the courts by providing
an alternative placement for sentencing. This program enables inmates to keep their jobs and maintain
their financial obligations while serving their sentence.

PROCEDURES:

1. Qualification for Assignment to Work Release:

       A. A court order from a judge, along with the following requirements, shall enable an inmate to
       serve on the Work Release Program.

              1. You must maintain approved employment (determined by Work Release Coordinator)
              in order to remain on the Work Release Program. You will not be allowed to work a
              second job or work a split shift. You must work a minimum of 35 hours weekly (unless
              approved by the Work Release Coordinator) and cannot be outside the Jail more than 12
              hours to include travel time. Work Release Inmates can only work 6 days a week. You
              will not be allowed to work 7 days a week regardless of the reason.

              2. The inmate=s job must be located within a sixty (60) mile radius of the Clayton County
              Jail, unless specified within the court order or approved by the Work Release
              Coordinator.

              3. The Work Release Coordinator or his/her designee must review and approve the
              individual=s mode of transportation.

              4. Public transportation is not allowed as a mode of transportation.

       B. To qualify for the Work Release Program, the inmate sentenced shall not have any of the
       following:

              1. An outstanding warrant holds, or open charge(s) from any other court or law
              enforcement agency.

              2. A criminal record for the preceding five (5) years of any assaultive offenses of an
              aggravated nature, including, but not limited to: aggravated assault, aggravated
              battery, rape, child molestation, robbery, escape, homicide by a vehicle, felony

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            bail-jumping trafficking or distribution of a controlled substance or marijuana.

              3. Will not have any life-threatening illnesses or disabilities that would interfere with
              their ability to work regularly.


2. Pre-Assignment Work Release Interview/Screening:

       A. The Work Release Section after receiving a court order will:

              1. Check for available bed space.

              2. Ensure the inmate is completely processed.

       B. The Work Release Section shall interview an inmate to determine their qualifications for
       participation in the program. See Appendix A.

3. Admitting Process:

       A. The Work Release Section will have a copy of the writ/order by the court for execution of the
       sentence before admitting the inmate into the program. The inmate file will be obtained from the
       Classification Section and maintained by the Work Release Office until the inmate is either
       returned to the general population or the inmate has completed his/her sentence in the jail and
       released.

       B. Once the inmate is admitted to the Work Release Program, the inmate will be briefed on the
       Inmate Rules and Regulations and given a copy of the Work Release Inmate Handbook. See
       Appendix B. The inmate will then be allowed to leave the jail for three hours to gather allowed
       items needed for work (clothing and personal hygiene items).

       C. Non-custody inmates reporting to Work Release will not be allowed the three hours as
       described in B above.

4. Drug/Alcohol Screening:

       All work release inmates shall be randomly subjected to alcohol and drug screening tests, and must
       sign the Advisory Form. See Appendix C.

5. Medical:

       A. Inmates shall turn in all medication to the work release officer for safekeeping, and the
       medication must be kept in the original prescription container.

       B. Medication shall be made available in accordance with the prescription and upon the request
       of the inmate.

       C. Inmates in the Work Release Program are responsible for all non-emergency medical care.
       Any out-patient care must be approved by the Work Release Coordinator prior to their
       appointment time and date.




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       D. Work Release Inmates will receive emergency care while residing in the jail by the Jail
       Infirmary Staff as needed.


6. Inmate Financial Obligations:

       A. Work Release Inmate=s financial obligations are as follows:

              1. Room and Board.

              2. Court ordered fines and fees.

              3. Restitution/child support.

       B. The only approved payment methods accepted by the Work Release Coordinator, or his/her
       designee, is U.S. Currency.

       C. Inmate payments shall be turned in to the Work Release Coordinator, or his/her designee, on
       the inmate=s payday.

       D. The Work Release Coordinator, or his/her designee, shall receive all inmate payments, and
       distribute them to the accounting section.

       E. All inmates must turn in their paycheck stubs or acceptable copies of their paycheck stubs with
       their payment.

       F. All payments, and any other inmate transactions made through the Work Release Program will
       be handled through the Work Release Coordinator or his/her designee.

7. Removal of Work Release Inmates for Disciplinary Reasons:

       A. A Work Release Officer when requesting to remove a work release inmate due to violation of
       laws, rules or jail procedures will do the following:

              1. Notify the Work Release Coordinator.

              2. Complete Jail Miscellaneous Incident Report.

              3. Ensure the inmate=s file is given to the Work Release Coordinator for review and return
              to Classification.

              4. Return inmate to general population insuring that the all personal property is
              inventoried and turned over to the Property Room Clerk and any inmate money is
              counted and receipt given. All money is sent to Accounting to be placed on the
              inmate s account.

              5. Rules and jail procedures can be found in the Work Release Post Instructions.




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       B. Work Release Officers may put inmates in general population before notifying the Work
       Release Coordinator if a Hold has been placed on the inmate or if new charges are brought against
       the inmate.

8. Escape

       A. If a work release inmate fails to return for a period of eight hours, without justified
       notification, he/she will be considered to have escaped custod of the Sheriff s Office.

       B. Notify the Work Release Coordinator who will petition a Judge for an Escape warrant.

       C. Insuring that the all the inmate s personal propert is inventoried and turned over to the
       Property Room Clerk.

10. Release Date Calculations/Procedures:

       A. All release dates of work release inmates shall be calculated in the same manner as specified
       in Policy 3.04 of the Jail Division SOP.

       B. The releasing work release officer shall check all documents providing for the release of an
       inmate.

       C. A work release officer shall check GCIC/NCIC to ensure there are no outstanding warrants on
       the inmate.

       D. The releasing work release officer shall collect all previously issued items from the inmate
       before their release and ensure fees assessed for damaged/missing property, is either collected or
       debited to the inmates account.

       E. The inmate=s personal property shall be inventoried and signed by the inmate and officer on
       the Clothing Inventory Form as they are turning over the property to the inmate for release.

       F. The inmate s file must be reviewed for release b a Jail Supervisor prior to the inmate s
       release.




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SOP NO. 3.02 WORK RELEASE


               CLAYTON COUNTY SHERIFF S OFFICE




                  WORK RELEASE
                             INMATE HANDBOOK
                                APPENDIX B

                                                11/10/2010




This Work Release Handbook contains the Rules, Procedures and Guidelines for an Inmate assigned to the Work
Release Program and residing in the Work Release Dormitory. Each Inmate assigned to Work Release will
receive a copy of this document and signify they have received it.




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                                                 GENERAL

 All Work Release Inmates are subject to the Laws of the State of Georgia and the Rules and Regulations
 set forth by the Clayton County Detention Facility. Any inmate failing to comply with either State Law
 or the Rules and Regulations of this facility shall be subject to criminal prosecution and removal from
 the program. The Clayton County Work Release Program is a privilege, not a right. No excuse will be
 accepted for any violation. ANY VIOLATION IS SUBJECT TO DISCIPLINARY ACTION (i.e.
 loss of privileges, lock down or removal from the program). All Orders of the court must be followed.
 This includes payment of fines, restitutions, child support, and any other cost or orders as set forth by the
 court.

                                              EMPLOYMENT

You must maintain approved employment (determined by Work release Coordinator) in order to remain
on the Work Release Program. You will not be allowed to work a second job or work a split shift. You
must work a minimum of 35 hours weekly (unless approved by the Work Release Coordinator) and
cannot be outside the Jail more than 12 hours to include travel time. Work Release Inmates can only
work 6 days a week. You will not be allowed to work 7 days a week regardless of the reason.

Your supervisor must notify the Work Release Office if there are any changes to your schedule. A
written work schedule, signed by your supervisor is the only acceptable form of notification. If you fail
to provide the required information, you will be removed from the program. Work Release Office
hours are 0800-1600 hours Monday through Friday. Office telephone number is 770-477-4453. FAX
number is 770-210-5226. To contact the Work Release Dormitory after hours the number is
770-477-4413, ask for extension 2293.

If your employment requires a change of work location, you are required to submit the following:

Address and phone number of your work location before signing out or you will not be allowed to leave
the Jail.

If you do not know the location of where you will be working that day, you will be allowed to sign-out.
Based on your travel time to work, you have 5 minutes after arrival at your work site to call in with the
new location and contact information.

You will have approval from the Work Release Coordinator before changing employment.

You must provide your own transportation to and from work. Public transportation is not an
authorized form of transportation. If you have the ability to drive yourself, you must submit a copy
of your driver s license, registration, and proof of insurance before being allowed to participate in the
Work Release Program. If you have someone drive you to and from work, that person must provide
the same information. If you drive in multiple cars the information required is the same. You are
only authorized to be in a personal conveyance that is approved by the Work Release Office.

You must be at your job site while away from the Jail. If you wish to go someplace other than your
work site, you must first gain permission from the Work Release Office. If your work day is
shortened, you will return to the Jail immediately. Failure to follow both these rules will result in
removal from the Work Release Program.




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You must sign-out each time you leave the Clayton County Detention Center and sign-in when you
return.

                                        PAYMENT OF FEES

Board fee is $10.00 per day, $70.00 per week. This fee is due every Friday when you return from work.
If you are paid every two weeks, than payment require will be $140.00. Payment will be made or you
will be removed from the Work Release Program. Any deferred payment must be approved by the
Work Release Coordinator.

If you have a Court ordered fine or a child support payment, remember that board fees accumulate daily
and all payments must be made in order to be released from custody.

You will provide a pay stub every pay day that shows your earnings and total hours worked. If you are
paid in cash and your employer does not provide a pay summary, you can ask the on-duty Detention
Officer for a summary form which your supervisor can fill out for you. It must be signed by your
supervisor. Failure to provide a pay summary could result in your termination from the Work
Release Program.

You will be given a statement for your fees weekly. Please ask for an explanation if you do not
understand.

                                               MEDICAL

You are responsible for all of your own medical care and costs.

If you are injured on the job, you must apply for worker's compensation through your
employer.

You are allowed to make appointments with a private doctor; however, you must request permission
from the Work Release Office 24 hours in advance. Documentation from your medical provider is
required.

If you have a current prescription, or any over the counter medication, you must leave it with the on-duty
Detention Officer.

                                DRUGS, ALCOHOL, AND WEAPONS

You will not possess any illegal drugs, narcotics, alcohol beverages, guns, pistols, knives, or any other
weapons at any time. If you are found to be in possession or control of any weapon, alcohol, or drugs,
regardless of the amount, or any other article or item, without the knowledge and written consent of the
Work Release Coordinator, you will be terminated from the program and charged with a felony (GA
Code Section 42-5-19).

You are not to use any illegal drugs, narcotics, or alcoholic beverages at any time. You will be required
to submit to random breath, blood, or urine tests. Any positive results will result in your immediate
removal from the program, and a court petition will be submitted to your sentencing court. Criminal
charges can be taken against you. Refusal to take any required tests will result in the same.




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                          SEARCHES - PERSON, PROPERTY, AND CELL

Searches shall be conducted to maintain a safe environment for all inmates. You, your
personal property, living area, and your vehicle are subject to search at any given time and without prior
warning. Any contraband found during a search could result in you being removed from the Work
Release Program and/or criminal prosecution. Contraband shall be considered anything not authorized
within the Jail (to include tobacco), unless approved by the Work Release Coordinator. Contraband
will also include, but not limited to anything hanging on the walls, doors, or light fixtures.

                               PERSONAL HYGIENE / DRESS CODE

 All inmates will refrain from any unsafe or unhealthy practices or behaviors while in this facility.

 Clothing will be clean and present a neat appearance at all times when leaving for work. Failure to
 maintain proper and clean attire can result in denying work privilege for a day(s) or termination from the
 program.

 Males and females cannot wear earrings, necklaces, or belts when entering the Clayton County
 Detention Center.

 Work Release Inmates, as a minimum, will shower daily.

 Men s and Women s hair will be kept clean and maintain a professional appearance at all times. Men s
 hair will not touch the ears or exceed the top of the collar. Women s hair will be combed and/or brushed
 daily. Beards are not authorized.

 Any physical and/or sexual contact with by an inmate is strictly prohibited while serving on the Work
 release Program.

 No one is allowed to lounge around in sleepwear or under garments. Inmates must be in uniform at all
 times. When leaving the section, you must be fully dressed! The only exception to this rule is when
 you are in your bunk sleeping. You do not have to be in your uniform at that time. It is forbidden to
 sleep in the nude.

                                  AUTHORIZED ABSENCE / ESCAPE

Inmates will only be allowed to leave the Jail for work. If you have a written request and approval
from the Work Release Coordinator for the following reasons, you may leave the Jail to attend
these events. Upon return to the facility, you must provide proof of attendance (arrival and
departure).

       Verified Doctor's Appointment

       Emergency Medical Treatment

       Required Court Appearance

       Funeral of Immediate Family Member




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       Automobile Repair (if you drive yourself)

       Haircut (1½ hour only / twice monthly)

       Court Ordered Counseling and Treatments

Requests to take family members to medical appointments or school functions will not be approved.
All other absences, without prior written approval, will be considered unauthorized and you will be
charged with ESCAPE.

ALL ESCAPE CHARGES ARE PROSECUTED.

                                    ELECTRONIC EQUIPMENT

No electronic devices (cell phones, televisions, hand-held games, GPSs) of any type are permitted
passed the Guard Line.

                                           RELEASE DATE

 On your release date, you will be contacted by the Detention Officer on duty. You will be released at a
 time convenient to the Sheriff s Office and our work schedule. You are required to return all items
 that were issued to you during in-processing. After the Detention Officer inventories all items and your
 account is settled, you will be released. If you are continuing your sentence on probation, you must
 report to your probation office as stated in your sentence.

                                        DISCIPLINARY ACTIONS

Most of the rules for Work Release have been explained in this document. There are some rules that
are inherent to the Jail and a copy of those rules will be provided during in-processing.

You are guaranteed certain rights by the United States Constitution and the Georgia Law.
If you feel you have a legitimate grievance against a staff member or you have not been treated fairly, or
your rights have been violated, you have the right to make a complaint without fear, punishment, or
harassment. All grievances will be forwarded to the Work Release Office for review by the Work
Release Coordinator.

                           CARE OF DORMITORY AND SLEEPING AREA

All inmates will share in the responsibility of keeping their dormitory clean.

Your bunk will be made every day before going to work. The linen is to be tucked-in under the
mattress in a neat and tight fashion with the blanket on top, tucked-in, tight and turned down ¼ length
of the bed. Pillow if available, will be centered at the top of the made bed. The area around your
bunk will be swept and all personal belongings stored neatly away.

The common areas of the dormitory; walls, floors, sinks, toilets, and tables must be cleaned daily.
The dayroom shall be inspected on a routine basis. If the assigned sleeping areas or the dormitory is
not maintained, the inmate assigned to that area shall be subject to disciplinary action (extra duty). If




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      The dormitory common area is not properly maintained, and then all the inmates that reside in that
      dormitory will be subject to disciplinary action (extra duty).

      The disciplinary action taken for not maintaining the dormitory and sleep areas will be at the
      discretion of the on-duty Detention Officer. If in the opinion of the Detention Officer that corrective
      action by the inmate(s) is not immediate or is not completed to his satisfaction, then further discipline
      can include; loss of work privilege and eventual termination from the Work Release Program.

                                              TELEVISION

     The Detention Officer will suspend television privileges for the entire dormitory anytime the
     inmates within the section cannot come to an agreement on which channel to view, or
     anytime the dormitory or sleeping areas are not clean.

     Television volumes will be low enough for Work Release Inmates who work the next day may sleep
     comfortably. If this becomes an issue the television will be turned off.

     Televisions will be turned-on in the morning NET 0800 hours and turned-off NLT 2300 hours at night.
     With the permission of the on-duty Detention Officer special television events (sports / news events)
     can be left on at a lower volume until conclusion.

                                              HOUSE RULES

ANY VIOLATION IS SUBJECT TO DISCIPLINARY ACTIONS
(i.e., loss of privileges, lockdown or removed from the program)

                               ANY DAMAGE TO CLAYTON COUNTY PROPERTY
                (i.e., criminal prosecution and/or pay for damages and/or remove from program)

         1. Wake up is at 4:00 am daily.

        2. Dormitory lights are turned out at 10:00 pm nightly. If the center appearance is satisfactory, the
           dayroom may stay open until 11:00 pm.

         3. Bunks and details must be completed by 6:00 am.

         4. Male and female inmates are prohibited from any contact.

        5. No smoking is allowed at the facility. If you are caught smoking, or in possession of cigarettes,
           lighter, or any tobacco product, you will be taken into the Intake Booking area and charged with
           Crossing a Guard Line.

        6. No personal property is to be left out when you leave your bunk area.

        7. Parking is allowed in designated areas only

        8. Gambling in any shape, form, or fashion is not allowed and is a chargeable offense.




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  9. No inmate is allowed to sell, trade, buy, or transfer any of his/her property to another inmate or
     staff member.

  10. When the fire alarm sounds, all inmates are to exit the building through the nearest exit and
      move to the area designated by the Detention Officer.

  11. Hats will not be worn in the Jail.

  12. Inmates shall address employees by their proper titles, i.e., Officer, Sergeant,
      Lieutenant, Captain, Major, Mr., Mrs., Etc. whichever is appropriate.

  13. Employees shall not be subjected to insults and uncalled for remarks during the
      performance of their duties. No inmate shall make physical gestures or write derogatory or
      degrading remarks about an employee either through the mail or on any property belonging to
      the Clayton County Detention Facility (walls, tables, or doors).

  14. Inmates are required to be considerate and respect the rights of others while detained in the
      facility.

  15. Inmates are to refrain from the use of insulting remarks. Racial or Ethnic slurs are
      strictly prohibited.

  16. Inmates are not permitted to talk or pass any items to other inmates in different
      sections.

  17. Inmates are permitted to bring in personal hygiene property or take out for laundry purposes,
      ONLY on Tuesday, Thursday and Saturday. Laundry should be in a net bag or plastic bag.

  18. No gym bags, suitcases, briefcases, purses, etc. are allowed.

  19. Inmates will pay rent, court ordered child support, fines, etc. on payday. Failure to do so will
      result in being removed from the Work Release Program.

  20. Assigned bunk areas and dayroom will be kept clear of excessive paper material and opened
      or left over food products.

  21. Inmates will not possess excessive amounts of personal property. If it cannot be stored in
      your locker, you have an excessive amount. ONLY shoes may be stored on the floor under the
      bunk and have in your possession no more than one (1) pair.

  22. NO EAR Plugs.

  23. No du-rags, skull caps, or hoods are allowed in this facility.

  24. No explicit magazines displaying violence, or sexual photographs. Books that are allowed are
      Bibles, Newspapers, and educational material.




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APPENDIX A- Work Release Application

APPENDIX B - Work Release Inmate Handbook

APPENDIX C    Work Release Random Drug/Alcohol Testing Acknowledgment

APPENDIX D    Inmate Biographical Information

APPENDIX E    Weekender/Work Release Sleep Area Guideline Photo

APPENDIX F Acknowledgement of Work Release Policy Briefing




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                       CLAYTON COUNTY SHERIFF’S OFFICE
                                JAIL DIVISION
                       STANDARD OPERATING PROCEDURES
                                 Implemented on: January 04, 2012


SUBJECT: SPECIAL MANAGEMENT INMATES
SOP NO:  3.03                                                  GA. LAW: None
APPLICABLE GSA STANDARD NUMBER:                     11.03, 11.07, 13.01, 13.02, 13.03
APPLICABLE ACA STANDARD NUMBER:                     2A-21, 22, 23
DATE CREATED:    OCTOBER 15, 1986                      LATEST UPDATE:                   September 6, 2011


POLICY:

The staff of the Clayton County Detention Facility shall provide secure and safe housing for inmates
who require a higher degree of physical control, protection, and/or supervision than can be provided by
housing the inmate in general population.

PROCEDURES:

1.     Authorization for Placement:

       Inmates may be placed on Administrative Segregation and/or Security Segregation, Segregation
       by the Jail Administrator or his designee. If there is a compelling need for immediate placement
       in segregation, it may be done so with the tentative approval of the Watch Commander, and shall
       be reported through the chain of command to the Jail Administrator or his designee for
       approval/denial.

2.     Security Segregation:

       The Security Segregation Unit is a housing unit used to house inmates whose actions or
       particular situations constitute a serious threat to themselves, others, or the security of the
       facility:

a.             Listed below are some reasons an inmate may be placed on Security Segregation:

               i.     The inmate is a potential escape risk.

               ii.    The inmate has or is displaying violent behavior.

               iii.   The inmate has received repeated disciplinary lockdowns.


Note: No detention facility rule must be broken for an inmate to be placed in Security Segregation.




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SOP NO: 3.03        SPECIAL MANAGEMENT INMATES

      b.     The following restrictions shall be enforced for all inmates on Security Segregation in
             order to prevent the inmates from injuring themselves or others:

             i.     Inmates on Security Segregation shall not be allowed out of their cell at any time
                    unless there is a sufficient amount of staff present to maintain security, and then
                    limited only to an amount of time necessary to shower and maintain their personal
                    hygiene. (Follow guidelines set in section 6.06 of the JOD-SOP)

             ii.    Inmates on Security Segregation shall be fed while in their cells.

             iii.   Medical attention shall be rendered to inmates on Security Segregation in the
                    Security Segregation Housing Unit, unless it is essential for the inmate to be
                    transported to the Infirmary.

             iv.    Inmates on Security Segregation will only be allowed to have access to razors on
                    the morning prior to a previously scheduled court appearance, and then only in the
                    presence of an officer who shall collect the razor immediately after its use.

             v.     Inmates on Security Segregation shall be allowed to have in their possession
                    limited personal hygiene items, legal papers which are directly related to the
                    criminal charges for which they are currently incarcerated, and minimal religious
                    material only.

             vi.    Inmates on Security Segregation shall not be allowed to watch television. Security
                    Segregation shall only have access to telephones, commissary or visitation when
                    permission is granted by the Jail Administrator or designee. Security Segregation
                    may have visits from probation/parole, pastoral, and attorney visits during normal
                    operation hours.

             vii.   Inmates on Security Segregation who are eligible to have access to the Law
                    Library, shall have the requested material forwarded to them upon reasonable
                    request.

3.    Administrative Segregation:

      The Administrative Segregation Unit is a housing unit used to house inmates who need to be
      isolated from the general population due to their particular situation.

             a.     An assessment shall be conducted by a Supervisor prior to any inmate being
                    assigned to the Administrative Segregation Unit. The assessment shall determine
                    if the inmate meets any of the following criteria for placement:




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SOP NO: 3.03     SPECIAL MANAGEMENT INMATES

                 i.     The inmate is a state s witness against another inmate.

                 ii.    The inmate is a current or past informant.

                 iii.   The inmate is a current or former Criminal Justice Worker

                 iv.    The inmate has uncontrolled sexual tendencies

           b.    The following privileges or services shall be extended to inmates housed in an
                 Administrative Segregation Unit.

                 i.     The inmate shall be permitted the privileges or services extended to
                        inmates in general population. Unless it compromises the safety and
                        security of the facility.

                 ii.    Privileges or services shall not be restricted, unless a compelling security
                        interest exists.




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SOP NO: 3.03        SPECIAL MANAGEMENT INMATES


1.    Status Review of Segregated Inmates:

      A review of the inmate s status shall be done b the Jail Administrator or his designee. The
      following are the times of needed review after the inmate s initial placement in a Special
      Management Unit:

             Security                                  Weekly

             Administrative                            Weekly

             Disciplinary                             Weekly




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                   CLAYTON COUNTY SHERIFF’S OFFICE
                            JAIL DIVISION
                   STANDARD OPERATING PROCEDURES
                             Implemented on: January 04, 2012


SUBJECT: DETERMINATION OF RELEASE DATE (GOOD TIME)
SOP NO:  3.04                          GA. LAW: O.C.G.A. 42-4-7, 17-10-4
APPLICABLE GSA STANDARD NUMBER:                    10.14
APPLICABLE ACA STANDARD NUMBER:                    5B-04
DATE CREATED:    OCTOBER 15, 1986                      LATEST UPDATE:             September 6, 2011


POLICY:

The Cla ton Count Detention Facilit s Staff shall compute actual sentence time to be served in
accordance with existing statutes and Good Time credit awarded as authorized.

PROCEDURES:

"Good Time" may be granted to inmates according to applicable State Law, limited to a maximum of a
fifty (50) percent reduction in the amount of time sentenced to serve.

1.     Qualifications:

       Good Time is calculated only on those sentences meeting the criteria established by law.

2.     Inmate Workers:

       Inmate workers shall be given additional credit toward their sentence as allowed by state statue
       or as indicated by court order authorizing such. This time is to be in addition to Good Time.

3.     Inmates Sentenced to State Time :

       Good Time and Inmate Worker time credits may not be afforded to any inmate whose sentence
       falls under the jurisdiction of the Department of Corrections. State law does not provide the
       local county facility either the responsibility or authority to set, adjust, amend, or otherwise
       establish a release date for "state inmates. Inmates sentenced to state time, but not picked up b
       the state, shall be released upon completion of the full sentence imposed by the order of the
       court.

4.     Inmates Sentenced on High and Aggravated Misdemeanor Charges:

       Inmates who are sentenced on misdemeanors, which are designated by law as a high and
       aggravated nature, after July 1, 2000 shall only receive four days credit each month as Good
       Time.




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SOP NO: 3.04        DETERMINATION OF RELEASE DATE (GOOD TIME)

5.    Disciplinary Action:

      Good Time can only be taken away administratively through a hearing process. The hearing is
      to be conducted in accordance with the procedures listed in SOP 9.02 (Discipline Due Process).




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                    CLAYTON COUNTY SHERIFF’S OFFICE
                             JAIL DIVISION
                    STANDARD OPERATING PROCEDURES
                                Implemented on: January 04, 2012


SUBJECT: CENSUS INFORMATION PROVIDED TO COURTS
SOP NO:  3.05                          GA. LAW: NONE
APPLICABLE GSA STANDARD NUMBER:                      6.11
APPLICABLE ACA STANDARD NUMBER:                      None
DATE CREATED:    OCTOBER 15, 1986                       LATEST UPDATE:              September 6, 2011


POLICY:

The staff of the Clayton County Detention Facility shall assist the timely progression of all court cases
and prevent any delay in providing information regarding inmates of our facility to the courts.

PROCEDURES:

1.     Jail Census Information regarding all inmates of the facility:

       A Jail Census shall be provided to all Superior Court Judges, the District Attorne s Office, State
       Court, Magistrate Court, or any other judicial entity as requested.

2.     Jail Census Information shall consist of:

       a.      Prisoners' names

       b.      Date of arrest

       c.      The charge or reasons they are being held

       d.      The amount of any bond, if applicable

       e.      Names of attorneys(whether appointed or retained), and if they have no attorney

       f.      Whether the prisoner desires an appointed attorney




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                          CLAYTON COUNTY SHERIFF’S OFFICE
                                   JAIL DIVISION
                          STANDARD OPERATING PROCEDURES
                                    Implemented on: January 04, 2012


SUBJECT: WEEKENDER INMATES
SOP NO:  3.06                                                  GA. LAW: NONE
APPLICABLE GSA STANDARD NUMBER:                      10.01, 11.09
APPLICABLE ACA STANDARD NUMBER:                      2A-16, 17
DATE CREATED:    DECEMBER 22, 1988                       LATEST UPDATE:               September 6, 2011

POLICY:

The Detention Facilities shall house all inmates sentenced to serve weekends. This shall be done in
accordance with both court orders and normal procedures for housing inmates.

PROCEDURES:

1. All persons reporting to serve a weekend shall report to the Clayton County Jail at the designated
time directed by the Court Order. No one will be admitted if they are more than thirty (30) minutes late,
unless authorized by the Work Release Coordinator. Persons, who arrive to begin serving their first
weekend for which we do not have a copy of the sentence or sentencing information documented on the
computer, shall be turned away. A comment will be completed on the Jail Comment Screen for all
persons turned away with the reason clearly stated.

2. Weekender Inmate Files shall be kept in the Work Release Office. A list will be prepared weekly
and given to the Detention Officer in charge for processing weekender inmates into the Jail. The
Weekender List must be signed by the inmate before being allowed into the facility. The Weekender
List will also be annotated for those inmates who are required to pay a Board Fee as a requirement to
serve their weekend. The weekender inmate must show proof of the ability to make payment
before being allowed entrance into the Jail!

3. A complete and thorough Strip Search will be conducted of all persons attempting to serve a
weekend sentence. If illegal contraband is discovered, Detention Officers will write a Miscellaneous
Incident Report and seek to have the appropriate charges brought against the individual. Any other
contraband discovered on the individual, the person will be directed to return it to the outside of the Jail
or throw it away. All personal property shall be inspected for contraband. The only personal items
weekender inmates are permitted to take into population are:

       a.      Three all white (3) pairs of socks
       b.      Three all white (3) t-shirts
       c.      Three all white (3) underwear
       d.      Three all white (3) bras (wireless)
       e.      Money for commissary items




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SOP NO. 3.06 WEEKEND INMATES

4. All weekend inmates will be screened by the Rapid ID System prior to entering their appropriate
dormitory

5. Work Release Staff shall update the computer records to indicate the appropriate disposition code
when the inmate arrives and is released. A GCIC/NCIC check will be conducted before a weekender
inmate is released from the Jail. All previously issued jail property shall be issued back to the inmate
prior to release. At this time a copy of the Probation Officer Report will be issued to the inmates and
they will be escorted out of the Jail.

6. Inmates who are under current prescription medication will be allowed to bring in the medication,
turn it over to the Correctional Officer who in turn, will give it to the Infirmary Staff for distribution.

7. Any Weekender Inmate who receives a disciplinary action shall have it documented on a Jail
Miscellaneous Incident Report. All incidents involving the criminal actions of a weekender inmate shall
be documented on a Miscellaneous Incident Report, appropriate charges taken, and a copy of these shall
be forwarded to their Probation Officer.

8. Each probationer who reports to serve a weekend shall receive a weekender Inmate Probation Officer
Report Form@ upon his/her release. If the probationer is visibly under the influence of alcohol or drugs,
it shall be documented on this form. It shall be the probationer=s responsibility to deliver his/her
Probation Officer a copy of this form for verification and accountability for their weekend served.

9. Every Monday morning the Work Release Sign-in List will be verified and sent to the individual
probation offices. Comments on no-shows, disciplinary actions, and turned away inmates will be
annotated for dissemination to the appropriate probation service.

10. Proponent for this SOP is the Work Release Coordinator, any changes, additions and/or deletions to
this SOP must be made with the approval of the Work Release Coordinator.




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SOP NO. 3.06 WEEKEND INMATES

                           CLAYTON COUNTY SHERIFF S OFFICE
                                 WEEKEND PROGRAM
                                     HANDOUT


WEEKEND INMATES ARE REQUIRED TO ARRIVE AT THE JAIL NO LATER THAN THE TIME DESIGNATED IN
THEIR SENTENCE. IF YOU ARE LATE, YOU WILL NOT BE ALLOWED IN THE JAIL.

WEEKEND INMATES WILL REPORT TO THE REAR OF THE JAIL (SOUTH) AT THE ENTRY GATE BY THE
LOADING DOCK.

ALL INMATES SERVING WEEKEND SENTENCES ARE SUBJECT TO ALCOHOL AND DRUG TESTING.

ALL INMATES SERVING WEEKEND SENTENCES WILL BE ALLOWED TO PURCHASE ITEMS FROM THE
COMMISARY (SNACKS & DRINKS).

INMATES SERVING WEEKEND SENTENCES WILL BE DRESSED OUT INTO A JAIL UNIFORM.

THE FOLLOWING ITEMS WILL NOT BE ALLOWED INTO THE JAIL BY AN INMATE SERVING A
WEEKEND SENTENCE:

BELTS                                            CELL PHONES

LIGHTERS/MATCHES                                 TOBACCO PRODUCTS

BOOKS/MAGAZINES                                  FOOD/CANDY/GUM

SHORTS                                           HALTER TOPS

PENS/PENCILS                                     HYGIENE PRODUCTS (EXCLUDING
                                                 DEODORANT)*
JEWELRY (WATCH, RING, EARRINGS, BODY
PIERCINGS, CHAINS, ETC.

*ALL HYGIENE PRODUCTS (EXCLUDING DEODERANT) ARE PROVIDED


ONLY THE FOLLOWING ITEMS ARE ALLOWED TO BE BROUGHT INTO THE JAIL BY
AN INMATE SERVING A WEEKEND SENTENCE:
              MALE                             FEMALE
T-SHIRTS (3 PAIR, SHORT SLEEVE, WHITE ONLY, NO   T-SHIRTS (3 PAIR, SHORT SLEEVE, WHITE ONLY, NO
POCKETS, NO PRINT OR LOGOS)                      POCKETS, NO PRINT OR LOGOS)
UNDERWEAR (3 PAIR, WHITE ONLY, BOXERS OR         UNDERWEAR (3 PAIR, WHITE ONLY, PANTIES)
BRIEFS                                           NO HOSERY OR LEGGINGS
SOCKS (3 PAIR, WHITE ONLY, NO STRIPES/LOGOS)     SOCKS (3 PAIR, WHITE ONLY, NO STRIPES/LOGOS)
BIBLE/QUR AN (SOFT COVER)                        BRAS (3 PAIR, WHITE ONLY, NO UNDERWIRE)
DEODORANT (TRAVEL SIZE CLEAR BOTTLE)             BIBLE/QUR AN (SOFT COVER)
MONEY (CA$H)                                     DEODORANT (TRAVEL SIZE CLEAR BOTTLE)
                                                 MONEY (CA$H)
QUESTIONS CONCERNING WEEKEND SENTENCES PLEASE CALL 770-477-8412




                                                                                       D-000000084
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                   CLAYTON COUNTY SHERIFF’S OFFICE
                            JAIL DIVISION
                   STANDARD OPERATING PROCEDURES
                            Implemented on: January 04, 2012


SUBJECT: INMATE WORKERS
SOP NO:  3.07                                                GA. LAW: NONE
APPLICABLE GSA STANDARD NUMBER:                    12.01, 12.02, 12.03, 12.04, 12.05, 12.06, 12.07, 12.08
APPLICABLE ACA STANDARD NUMBER:                    2A-16, 17
DATE CREATED:    OCTOBER 15, 1986                      LATEST UPDATE:               September 6, 2011


POLICY:

The staff of the Cla ton Count Detention Facilit shall implement an Inmate Worker Program to
allow inmates to be productive regardless of race, gender, or social status.

PROCEDURES:

1.    Request:

      Inmates wishing to apply for inmate worker status shall submit an Inmate Request Form to the
      Inmate Work Force Coordinator.

2.    Inmate Eligibility Criteria:

      Prior to selecting an inmate for worker status, the following criteria shall be considered:

      a.     Length of stay at the facilities.

      b.     The seriousness of the inmate's current and past offenses.

      c.     Previous escape attempts.

      d.     Medical and health screening.

3.    Voluntary Participation:

      No inmate shall be forced to participate in the Inmate Worker Program.

4.    Inmate Worker Orientation:

      All newly assigned inmate workers shall be given an orientation briefing to advise them of the
      rules, regulations, and safety requirements for the position.




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SOP NO: 3.07        INMATE WORKERS

5.    Uniforms:

      All inmate workers shall be provided the appropriate uniform for their work assignment.

6.    Searches:

      All inmate workers who have left the secured perimeter of the facility shall be strip searched
      immediately upon returning to the secured area of the facility and before being returned to their
      housing area.

7.    Inmate Worker Use Limitations:

      No inmate shall be used for any purpose resulting in private gain for the inmate or the staff.
      Inmate workers shall not receive any monetary or non-monetary compensation for the work they
      perform other than those authorized by state law, the Jail Administrator or his/her designee.




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                     CLAYTON COUNTY SHERIFF’S OFFICE
                              JAIL DIVISION
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SUBJECT: WEAPONS
SOP NO:  4.01                                                 GA. LAW: NONE
APPLICABLE GSA STANDARD NUMBER:                     23.09, 23.10, 23.11, 23.29, 24.12, 24.13, 24.14
APPLICABLE ACA STANDARD NUMBER:                     2B-04
DATE CREATED:    OCTOBER 15, 1986                       LATEST UPDATE:               September 6, 2011

POLICY:

To ensure the safety and security of the staff and inmates of the Clayton County Detention Facility, no
firearms or unauthorized weapons (including knives) shall be worn or carried in the confinement area
unless under emergency conditions, and then only upon the authorization of the Sheriff, Chief Deputy,
or Jail Administrator.

PROCEDURES:

1.     Entry:

       Staff members supervising entry into the confinement area shall require those wishing to enter to
       remove and deposit firearms and weapons in an approved gun area. Jail Bureau employees shall
       store their weapons and ammunition locked inside their issued locker. Never shall any employee
       lock their weapon in a personally owned vehicle while on duty.

2.     Refusal:

       We shall not permit persons refusing to secure weapons in the approved gun area inside the
       security perimeter and we shall ask them to leave the premises immediately. A Jail
       Miscellaneous Incident Report shall be generated on all occurrences of refusal of admittance.

3.     Weapons Restriction:

       a.       No firearms shall be taken into the inmate housing area without specific instruction and
                direction of the Sheriff or his/her designee.

       b.       No impact weapon or knife shall be taken into any inmate housing area without the
                approval of the Sheriff, Chief Deputy or Jail Administrator.




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SUBJECT: CONTRABAND
SOP NO:  4.02                                                 GA. LAW: NONE
APPLICABLE GSA STANDARD NUMBER:                      23.01, 23.03, 23.29
APPLICABLE ACA STANDARD NUMBER:                      2C-01, 02, 03, 04
DATE CREATED:    OCTOBER 15, 1986                       LATEST UPDATE:               September 6, 2011

POLICY:

The staff of the Clayton County Detention Facility shall take all reasonable precautions to prevent the
introduction of contraband into the facilities.

PROCEDURES:

1.     Definition: Any item not issued, sold through the commissary, allowed through the mail or court
       documents shall be considered contraband.

2.     Confiscation and Recording: When contraband is found on an inmate or within the facility, the
       officer making that discovery shall:

       a.      Remove the contraband from the inmate or location.

       b.      Label the contraband showing the date & time, name of the inmate from whom taken and
               the location from which removed. Photographs shall be taken of all contraband.

       c.      If possession constitutes a violation of a rule listed within the inmate handbook, the
               inmate shall be placed on Disciplinary Lockdown.

       d.      If the contraband violates State Law, it shall be turned over to the evidence custodian.
               The contraband shall remain in evidence, pending criminal charges or destruction.

       e.      If the contraband does not violate State Law, it shall be turned over to the Shift
               Supervisor.

       f.      A Sheriff s Office incident report shall be generated in all instances where the contraband
               found may or will result in criminal charges being taken.

       g.      If criminal charges are being filed the contraband shall not be destroyed until all charges
               or proceedings surrounding the incident are resolved.




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SUBJECT: SECURITY INSPECTIONS
SOP NO:  4.03                                                  GA. LAW: NONE
APPLICABLE GSA STANDARD NUMBER:                      23.01, 23.03, 23.29
APPLICABLE ACA STANDARD NUMBER:                      None
DATE CREATED:    OCTOBER 15, 1986                      LATEST UPDATE:              September 6, 2011


POLICY:

The staff of the Clayton County Detention Facility shall be constantly alert to the need for safety and
security of inmate, staff, and building operations. Regular inspections of the facility shall be performed
to ensure the safety and security of the facility is maintained.

PROCEDURES:

1.     Cell Searches(Shakedowns):

       a.      The Shift Supervisor may order systematic cell searches at any time.

       b.     Contraband: If contraband is found during special or routine cell searches, the
       procedures set forth in SOP 4.02 for contraband shall be followed.

       c.     Inmates' personal property is to be respected and is not to be inappropriately discarded,
       broken or misplaced.

       d.     The day room and lavatory/shower areas and all other areas accessible to inmates are to
       be searched in addition to the inmate s cells.

2.     Inspections:

       The Jail Administrator shall insure quarterly inspections are made of security and safety
       equipment. The inspections shall include:

       a.      All locks.
       b.      All cell doors, cell areas, & security perimeter.
       c.      All video and audio monitoring devices.
       d.      First Aid kits.
       e.      Fire extinguishers and hoses.
       f.      Smoke detectors and fire alarms.
       g.      Window frames, glass, and casings.




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SOP NO: 4.03         SECURITY INSPECTIONS

      h.     Emergency breathing apparatus (air packs).
      i.     Emergency electrical generator system(s).
      j.     Emergency communication equipment.

3.    Reporting:

      If during cell searches, surveillance tours, or security inspections, any irregularities in safety or
      security are discovered, (such as inoperable locks, damaged equipment, or evidence of
      tampering) the officer shall:

      a.     Note each irregularity in the daily log.

      b.     Submit maintenance requests for repairs.

      c.     Take disciplinary action if applicable and complete a written report.

      d.     Log the dates and times of cell searches and monthly inspections in the movement log.




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SUBJECT: KEY CONTROL
SOP NO:  4.04                                               GA. LAW: NONE
APPLICABLE GSA STANDARD NUMBER:                    9.13, 23.01, 23.11, 23.13, 23.14, 23.29
APPLICABLE ACA STANDARD NUMBER:                    2D-01
DATE CREATED:    OCTOBER 15, 1986                     LATEST UPDATE:                September 6, 2011

POLICY:

To provide safekeeping and to prevent unauthorized persons from obtaining any keys, all keys shall be
kept in a secured area directly under the supervision of an officer.

PROCEDURES:

1.     Identification:

       All keys shall be marked with an identification tab or marking showing a unique inventory
       number for accountability. There shall be no written description on either the key itself or any
       attached tab describing which lock the key shall operate.

2.     Key Control Safe:

       The officer manning Central Control shall ensure the safe is undamaged and in working order.
       The Key Control Safe shall indicate the key by its inventory number, key position, the name,
       employee number of the person receiving the key. The safe shall electronically maintain a log of
       the name and employee number of person, the date and time given out and the date and time
       returned. All keys issued are to be returned before the officer may be relieved of his or her post
       and the next watch assumes command.

3.     Offsite Set:

       Any areas designated for a backup or secured set of keys shall have those keys secured in a vault
       or locked cabinet outside the secured area of the jail to prevent anyone other than authorized
       personnel from obtaining them.

4.     Authorization:

       Only employees or contractors of the Clayton County Detention Facility are authorized to
       possess facility keys, with approval from the Jail Administrator. Under no circumstances shall
       an inmate possess facility keys.




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SOP NO: 4.04          KEY CONTROL

5.    Security:

      No employees shall refer to key or lock number/name in the presence of inmates.

6.    Key return:

      At the end of a shift each person in possession of keys shall return the keys assigned to him or
      her to the key storage area unless they have passed on the keys to the relieving officer, they have
      notified a supervisor and annotated this on the Central Control log. If keys are passed on to the
      oncoming shift it should by logged on the Housing Unit log and on the log in Central Control.

7.    Notification:

      Any person who discovers a missing or damaged key shall report it immediately to the Shift
      Supervisor. In the event the key was lost inside the facility, inmates are to be locked in their
      cells, and a search conducted of the facility. A Jail Miscellaneous Incident Report is to be
      completed by the officer detailing the circumstances surrounding the incident as well as the
      efforts made to retrieve the key or have it replaced.




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SUBJECT: INMATE COUNT
SOP NO:  4.05                                                GA. LAW: NONE
APPLICABLE GSA STANDARD NUMBER:                     23.01, 23.02, 23.21, 23.29
APPLICABLE ACA STANDARD NUMBER:                     2A-10
DATE CREATED:    OCTOBER 15, 1986                       LATEST UPDATE:              September 6, 2011


POLICY:

To ensure we account for inmates at all times, a count shall be conducted of every individual in the
custody of the Clayton County Detention Facility.

PROCEDURES:

Before they can regard an inmate as present, the officer conducting the count must physically observe
each inmate s ph sical and facial characteristics and make a visual comparison with each inmate s
armband photo identification, to ensure positive identity. During the count the officer shall make an
inspection of each individual cell for and note any damage on the inmate(s) cell inspection sheet.

       a.      An officer shall conduct an inmate count at the beginning of each shift and at least once
               after the final lockdown of the evening has been completed.

       b.      As the officer is conducting head counts, the officer shall compare it to the Jail Census to
               ensure they have accounted for each inmate. During the head counts the officer shall also
               ensure each inmate is in their assigned cell.

       c.      When the officer has not accounted for an inmate during a head count, the officer shall:
               1. Check movement log for movement of the inmate;
               2. Check local computer for change in inmate status;
               3. Notify his or her Supervisor immediately if movement cannot be tracked. The officer
               shall repeat the procedure to ensure they did not make a mistake.

       d.      There shall be no non-emergency inmate movement within the facility during head
               counts, except for inmate releases or other circumstances which cannot be delayed.

       e.      The officer conducting head count shall report the results of the head count to Central
               Control. Central Control shall maintain the status of each area s head count, and shall
               report any discrepancies to the Watch Commander. Central Control shall also advise the
               Watch Commander and shift supervisor s once all of the head counts have been
               completed.




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SUBJECT: INMATE MOVEMENT
SOP NO:  4.06                                                GA. LAW: NONE
APPLICABLE GSA STANDARD NUMBER:                    23.20
APPLICABLE ACA STANDARD NUMBER:                    2A-01, 06, 07
DATE CREATED:    OCTOBER 15, 1986                      LATEST UPDATE:              September 6, 2011


POLICY:

Staff of the Clayton County Detention Facility shall ensure inmate movement through the facility is
accomplished with a minimum of disruption to the daily operations. During inmate movement the staff
shall also strive to maintain a safe environment for all employees and inmates.

PROCEDURES:

1.     Notification:

       When inmates are to be moving outside the housing unit area, the officer directing the inmate(s)
       movement shall notify Central Control of the destination prior to the movement of the inmate(s).

2.     Inmate Behavior:

       During movement, inmates shall walk in a single file line with their hands behind their back
       without speaking, on the right hand side of the hallway, and shall only walk in the areas
       designated for inmates. Any inmates violating this shall be subject to disciplinary action.

3.     Security:

       Central Control shall visually monitor the inmate(s) movement through the facility by available
       camera monitors and observation windows. All inmates moved to a room with a suspended
       ceiling shall be under direct supervision at all times.

4.     Escorting Inmates:

       Officer(s) shall escort inmates known to be extremely violent, or considered an escape risk, at all
       times while outside their assigned housing area. This is to include all inmates on Security
       Segregation. All female inmates shall be escorted when moving in the Main Inmate Corridor.
       Security Segregation inmates should be escorted by a minimum of two officers.




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SOP NO: 4.06           INMATE MOVEMENT

5.    Building Status Codes:

      Central Control shall periodically, or as requested, make announcements to inform staff of the
      security level required for inmate movement. The announcement should reflect the established
      color code system in place for inmate movement:

      a.     Code Green:       Normal inmate movement

      b.     Code Yellow:      All inmates moving throughout the facility must be escorted.

      c.     Code Orange: May be used to limit or stop inmate movement through a specific area.
             There shall be no inmate movement through an area that has been designated Code
             Orange, unless approved by a Shift Supervisor.

      d.     Code Blue:     Used during a medical emergency to limit or stop inmate movement
             through a specific area. There shall be no inmate movement through an area that has been
             designated Code Blue, unless approved by a Shift Supervisor.

      e.     Code Red: Used in emergency situations (fire, escapes, riot, etc.). There shall be no
             inmate movement. All inmates are to be locked down in their cells. All inmate workers
             are to be escorted to the closest secured area. All civilian employees and contractors
             shall be accounted for and escorted to the nearest secured area. Visitors shall be escorted
             from the building. An inmate head count is to be conducted. The Sheriff s Office
             Command Staff shall be notified. Code Red can only be ordered by a member of the
             Justice Bureau Supervisory staff.

6.    Authorization:

      Officer(s) shall allow no inmate through any door without first determining if the inmate has
      authorization to enter.

7.    Inmate Access:

      Officer(s) shall allow no unauthorized inmate access to the Staff Dining Room, Kitchen,
      Laundry Room, or Maintenance Shop.

8.    Inmate Identification:

      Officer(s) shall allow no inmates to leave their assigned Housing Unit without their identification
      visible at all times.

9.    Inmate Workers:
      Only those inmate workers that have been authorized to leave the secured area of the facility




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SOP NO: 4.06       INMATE MOVEMENT


     shall be allowed to do so. The inmate worker s securit level shall be indicated b the
     established color coded system in place at the time.




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SUBJECT: TRANSPORTATION OF INMATES
SOP NO:  4.07                                               GA. LAW: 42-1-7
APPLICABLE GSA STANDARD NUMBER:                    5.06, 23.30
APPLICABLE ACA STANDARD NUMBER:                    1B-01, 2A-07
DATE CREATED:    OCTOBER 15, 1986                     LATEST UPDATE:              September 6, 2011


POLICY:

Transporting of inmates shall be normally carried out by personnel of the Field Operations Division. In
case of an emergency, sworn personnel of the Jail Operations Division may be substituted should Field
Operations personnel be unavailable at the time. The staff of the Clayton County Detention Facility shall
transport inmates as safely and humanely as possible. This shall be done in a manner to ensure the
safety and security of the transporting officer(s) and the surrounding community.

PROCEDURES:

1.     Handcuffs:

       Transporting officer(s) shall handcuff individuals being transported outside the facility behind
       their back at all times unless there are mitigating circumstances, such as medical problems,
       which could be detrimental to the inmate(s) health or length of travel to destination.
       Note: Those inmate workers who are authorized to leave the secured area of the facility who are
       being transported to or from an outside work detail need not be handcuffed unless there are
       extenuating circumstances.

2.     Leg Irons/waist chains:

       Leg irons and/or waist chains, when feasible, should be used when transporting inmates.

3.     Transfer to Other Law Enforcement or Correctional Agencies:

       When inmates are to be transferred to another agency or correctional facility the following
       procedures shall be followed:

       a.     When transferring an inmate into the custody of another law enforcement agency or
              correctional agency, the releasing officer shall inform the escorting officer(s) of the
              inmate's history and behavior, any indication of risk posed by the inmate, any unusual
              circumstances pertinent to the safe handling of that inmate.

       b.     The releasing officer shall notif the Medical Staff of the inmate s release, who shall then
              inform the transporting officer of any medical precautions.



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SUBJECT: USE OF FORCE
SOP NO:  4.08                                               GA. LAW: NONE
APPLICABLE GSA STANDARD NUMBER:                    23.25, 23.26, 23.27, 23.28, 24.10, 24.15
APPLICABLE ACA STANDARD NUMBER:                    2B-01, 02, 04, 05, 6A-06, 6B-02
DATE CREATED:    OCTOBER 15, 1986                      LATEST UPDATE:               September 6, 2011


POLICY:

Only the amount of force reasonably necessary to maintain or regain control shall be used by the staff of
the Clayton County Detention Facility. Physical punishment of an inmate shall not be permitted under
any circumstances.

PROCEDURES:

The Sheriff s Office Use-of-Force Continuum is structured with the least level of force being non-lethal
 officer presence and the highest level being the application of lethal, or deadly, force; provided,
however, that initial application of the continuum is to begin with reasonable force in light of the
existing circumstances and thereafter continually adjusted to increase or decrease the level of force
based on the violence or resistance encountered by the security staff. The applicable use of force
continuum is as follows:


1.     Use of Force Continuum:

       a.     Officer presence

       b.     Verbal requests and/or commands

       c.     Empty soft hand control or take-down techniques (including come along, joint
              lock/manipulation, pressure points), or authorized chemical sprays

       d.     Empty hard hand strikes (including open hand or closed hand strikes, knee/elbow strikes,
              kicks), or Taser (Officer certified)

       e.     Strikes with impact weapons

       f.     Lethal force




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SOP NO: 4.08         USE OF FORCE


2.    Medical Treatment:

      After physical force has been used against a person, and he or she has been subdued, Security
      Staff shall provide the inmate access with the appropriate medical treatment as soon as possible.

3.    Reporting:

      After every incident in which an officer has used physical force, the officer or staff member
      involved shall complete a Jail Miscellaneous Incident Report, citing the reasons for the degree of
      force used and the results of its use. Photographs shall be made of the inmate and officer(s)
      involved to document injuries or lack of injuries that were received as a result of physical force.
      Physical force is defined as use of force at, or above level (c) as listed in section (1) of this
      policy. A Use of Force report must be submitted when physical force is used on an inmate.




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SUBJECT: USE OF PHYSICAL RESTRAINING DEVICES
SOP NO:  4.09                           GA. LAW: NONE
APPLICABLE GSA STANDARD NUMBER:                     23.25, 23.28, 24.08
APPLICABLE ACA STANDARD NUMBER:                     2B-02, 03, 05
DATE CREATED:    OCTOBER 15, 1986                      LATEST UPDATE:              September 6, 2011


POLICY:

Restraining devices such as handcuffs, leg irons, full-bodyguard restraint devices, waist chains, and
other restraining devices approved by the Jail Administrator shall never be used for purposes of
punishment. Violent inmates shall be separated and/or restrained to prevent escape, protect staff, protect
other inmates, and to prevent any self-inflicted injury.

PROCEDURES:

1.     Isolation:

       When an inmate's behavior suggests a potential for an actual attempt at violence toward
       themselves or others, the inmate shall be placed into isolation.

2.     Criteria:

       An inmate shall be placed into restraints only when he or she continues to exhibit physical
       violence toward staff, themselves, or others.

3.     Decision:

       Security Staff shall have the authority to place an inmate in handcuffs, leg irons, and/or waist
       chains when circumstances demonstrate a necessity for the restraints. A Shift Supervisor on duty
       shall decide whether to place an inmate into full body restraints. The only exception shall be in
       emergency circumstances when a Shift Supervisor is unavailable, and then he or she shall be
       notified as soon as possible afterwards. The Shift Supervisor shall notify the Watch Commander
       as soon as possible after the inmate has been placed in restraints to control disruptive or harmful
       behavior.




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SOP NO: 4.09         USE OF PHYSICAL RESTRAINING DEVICES


4.    Restraints:

      If after placement in an isolation cell the inmate's behavior is still disruptive or harmful to them
      or others, the inmate shall then be placed into a full body restraint device, or other type of
      approved passive restraints. The Shift Supervisor shall supervise the inmate s placement into the
      restraints, except in emergency cases where the Supervisor is not immediately available, and
      there is an immediate need to restrain the inmate. Restraint devices are to be used to restrict the
      movement of an inmate only to the degree necessary to prevent the inmate from doing harm to
      himself / herself or others and to use minimal discomfort while avoiding injury to the inmate. A
      log shall be started immediately after the inmate is placed into restraints. Medical Staff shall
      immediately check the inmate for current injuries and to ensure that the security staff has in no
      way applied the physical restraints in a manner that would cause injury. When the inmate is calm
      and is no longer a danger to themselves or others, the Shift Supervisor shall supervise the
      inmate s removal from the restraints. An officer shall check the inmate at least once ever fifteen
      minutes while restrained. Approved methods of restraints are as follows:

      a.     Full Body Restraint Device

      b.     Handcuffs or flex cuffs (only if other restraints cannot be used)

      c.     Leg Irons and/or waist chains

      d.     No hog tying shall be authorized.


1.    Reporting:

      A Jail Miscellaneous Incident Report and Use of Force report shall be completed to document
      the use of full body restraint devices, or similar passive restraint devices, used to control an
      inmate s disruptive behavior or to prevent injur to themselves or others.




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SUBJECT: DIGITAL RECORDING OF INCIDENTS
SOP NO:  4.10                           GA. LAW: NONE
APPLICABLE GSA STANDARD NUMBER:                    8.28, 8.29
APPLICABLE ACA STANDARD NUMBER:                    2A-01
DATE CREATED:    OCTOBER 15, 1986                      LATEST UPDATE:             September 6, 2011


POLICY:

The staff of the Clayton County Detention Facility shall make digital recordings from facility cameras
when necessary to document activities within the facility.

PROCEDURES:

1.     Responsibility:

       Digital Recordings will be controlled through use of password dissemination.

2.     Storage:

       All cameras are recording on a continual basis.      Any recording of an incident needs to be
       requested through the Jail Administrator or his designee.
       Note: After 40 days no recording will be available.

3.     Release:

       Any release of recordings shall be accomplished in accordance with SOP 1.04
       (Release of Information).

4.     Recording Devices:

       Use of recording devices can only be authorized by a Supervisor for the purpose of documenting
       specific incidents to include an inmate s institutional behavior. An such recording shall be
       forwarded to the Jail Administrator or his/her designee for storage, unless the video recording is
       intended or has the potential to be used as evidence in a criminal matter. In such cases, the
       recording shall be turned over to the Sheriff Office Evidence Custodian to be maintained as
       evidence. The recording shall remain in evidence pending the subsequent case disposition.
       Personal recording devices shall not be used within the facility without the expressed approval of
       the Jail Administrator or his/her designee.




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SUBJECT: HUNGER STRIKE
SOP NO:  4.11                                               GA. LAW: NONE
APPLICABLE GSA STANDARD NUMBER:                    18.06, 24.01
APPLICABLE ACA STANDARD NUMBER:                    4C-09, 12, 13
DATE CREATED:    OCTOBER 15, 1986                      LATEST UPDATE:             September 6, 2011

POLICY:

The staff of the Clayton County Detention Facility shall ensure all inmates receive proper nutritional
meals as described by law. Staff shall strive to identify inmates exhibiting signs that they are
participating in a hunger strike as soon as possible, and ensure they are closely monitored by Medical
Staff. Staff shall also attempt to identify and resolve the reasons for any inmate(s) staging of hunger
strikes. All resolutions shall be done without compromising the department and division s goals,
security procedures, or the court ordered terms of confinement for the inmate.

PROCEDURES:

1.     Notification:

       When an employee learns of an inmate exhibiting signs of a hunger strike, whether the inmate
       stated that he/she intends to go on a hunger strike or by the inmate refusing to eat for 24 hours,
       the employee shall immediately notify the shift supervisor and medical staff.

2.     Housing:

       Any inmate(s) involved in a hunger strike shall be housed in the Medical Section whenever
       practical. If several inmates are participating and adequate space is not available, housing shall
       be coordinated with the Shift Supervisor to satisfy additional medical monitoring.

3,     Documentation:

       The control officer for the section where the participating inmate(s) are being housed, shall
       record the inmate(s) food intake on the daily movement log. Medical Staff shall weigh
       participating inmates immediately upon learning of their participation and frequently during the
       hunger strike. Medical Staff shall record all observations and treatments given to each
       participating inmate in their medical record.




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SOP NO: 4.11         HUNGER STRIKE

4.    Privileges:

      Commissary privileges are to be suspended for participating inmates during the hunger strike to
      ease the accurate monitoring of their dietary intake. During such a hunger strike all hygiene
      items are to be provided as required to maintain clean grooming habits.

5.    Court Order:

      When a physician determines that the inmate's hunger strike has progressed into a life
      threatening condition, the Jail Administrator or his designee shall be advised immediately. The
      County Attorney shall be requested to seek a court order to allow the forced feeding of the
      inmate.




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SUBJECT: RAZORS FOR INMATES
SOP NO:  4.12                                                GA. LAW: NONE
APPLICABLE GSA STANDARD NUMBER:                      15.17
APPLICABLE ACA STANDARD NUMBER:                      6A-07
DATE CREATED:    OCTOBER 15, 1986                       LATEST UPDATE:            September 6, 2011

POLICY:

The staff of the Clayton County Detention Facility shall issue razors to inmate(s) when the inmate has a
court proceeding.

PROCEDURES:

1.     Qualifying Inmates:

       a.      Inmates shall only have access to a   razor on the night before mandatory court
               appearances.

       b.      Inmates on Lockdown or Security Segregation shall only have access to a razor on the
               night before mandatory court appearances.

       c.      Under no circumstances shall an inmate who has overtly stated either verbally, or through
               their institutional behavior, that they are suicidal or homicidal, be issued a razor.

2.     Issuance of Razors:

       The inmate s name shall be written on the handle of the ra or in indelible ink by the issuing
       officer. A log shall be maintained by the unit officer documenting the inmate(s) which received a
       razor.

3.     Maintenance of Razors:

       Inmates who abuse their razor privileges shall be placed in Disciplinary Lockdown for a period
       of time that is no less than thirty (30) days. The following are practices which justify the above
       sanction:

       a.      Using the razor for any purpose other than hair removal.




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SOP NO: 4.12         RAZORS FOR INMATES

      b.     Causing damage to or altering a razor from its original factory design.

      Inmates who have had their razor privileges revoked shall not be allowed to have access to a
      razor the night before mandatory court appearances. When it has been determined by the
      Medical Staff that there is a need for the inmate to shave due to health reasons, at which time a
      razor will be issued and used under the direct supervision of an officer assigned to the Security
      Section. The razor shall be retrieved immediately after use. Only the Sheriff, Chief Deputy, Jail
      Administrator, or his/her designee shall have the authorit to restore an inmate s ra or privileges
      once it has been removed.

      c.   Loss of Razor.

      Failure to return the razor for any reason.

4.    Documentation:

      Officers who revoke an inmate s ra or privilege shall complete a Jail Miscellaneous Incident
      Report, making the necessar notation on the inmate s Waiver Form, and entering the disposition
       R which indicates NO RAZOR as the Lockdown status on the inmate s local CJIS file.

5.    Inspection and Accountability:

      All razors shall be inspected upon initial issue and immediately upon return. The time razors are
      issued out and returned shall be logged on the Housing Unit log.




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SUBJECT: PREPARING INMATES FOR COURT
SOP NO:  4.13                                                 GA. LAW: NONE
APPLICABLE GSA STANDARD NUMBER:                     NONE
APPLICABLE ACA STANDARD NUMBER:                     6A-01
DATE CREATED:    OCTOBER 15, 1986                       LATEST UPDATE:              September 6, 2011


POLICY:

The staff of the Clayton County Detention Facility shall ensure inmates are prepared and ready for their
scheduled court appearances in a timely fashion and in strict accordance to the orders of the court.

PROCEDURES:

1.     Court List:

       Each evening before the next regular court day, Court Services Personnel shall generate a
       computerized court list and submit it to the Security Staff listing the inmates needed for court.

       a.      The court list shall specify the following information:

               i.      Inmate's full correct name (and any alias names known)
               ii.     LE number
               iii.    Court in which the inmate is to appear
               iv.     Type of clothing the inmate is to wear
               v.      Time of court appearance (a.m./p.m.)

       b.      Personnel on dut , upon receipt of a court list, shall prepare the inmates paperwork as
               needed for court.

2.     Inmates Clothing/Attire for Court:

       Staff shall ensure we have dressed each inmate in the approved type of clothing for appearance
       in court. The following are approved types of clothing:

       a.      Facility issued uniform.




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SOP NO: 4.13          PREPARING INMATES FOR COURT


      b.       Civilian/street clothes if specified by court

             i.       Staff shall make approved clothing available to the inmate prior to scheduled
                      court time.
             ii.      Property clerks shall inventory and log all personal clothing from the Property
                      Room on each occasion it is used.
             iii.     Jail Staff shall advise Court Services Personnel of all inmates wearing civilian
                      clothing.

3.    Pulling Inmates:

      Officers shall have all inmates prepared and ready to be received by Court Protective Services at
      least thirty minutes before their scheduled court time. Inmates will be searched prior to leaving
      their respective Housing Units and again prior to being turned over to Court Protective Services.

4.    Returning Inmates:

      All inmates who have left the secure perimeter of the facility shall receive a frisk search prior to
      their re-entry to prevent introduction of contraband into the facility. Supervisors may order strip
      searches in accordance with the policy defined in SOP 2.09 (Strip Searches) when deemed
      necessary.

5.    Court Orders/Dispositions:

      Court Protective Services shall provide all court documents relating to the dispositions of
      inmates appearing in court to Classification Personnel to update any facility records.




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SUBJECT: PACKAGE AND VISITOR SCREENING
SOP NO:  4.14                          GA. LAW: NONE
APPLICABLE GSA STANDARD NUMBER:                    16.05, 16.16, 23.05, 23.06
APPLICABLE ACA STANDARD NUMBER:                    None
DATE CREATED:    OCTOBER 15, 1986                      LATEST UPDATE:             September 6, 2011


POLICY:

To maintain the security of the Clayton County Detention Facility, and to deter those who take violent
actions against inmates, law enforcement or court personnel, the Security Staff shall screen all visitors
and packages entering the building.

PROCEDURES:

1.     Screening:

       All visitors and packages attempting to enter the building shall be screened for contraband and
       weapons

2.     Fraternization:

       Sheriff s Office Emplo ees (sworn and unsworn), Officer or Civilian and Contractual/Volunteer
       employees shall not fraternize with any inmate to include but not limited to:
       a.      delivering messages;

       b.      special favors;

       c.      establishment of friendships.

3.     Weapons:

       Weapons may not be brought inside the public areas of the facility by any person with the
       following exceptions.

       a.      Sworn personnel of the Cla ton Count Sheriff s Office ma carr into the facilit , their
               duty weapons, approved back up weapons, approved off duty weapons and weapons
               recovered as evidence or the personal property of another.

       b.      Correctional Officers may carry an issued or approved weapon into the facility.

All other procedures outlined in the S.O.P. - 4.01 concerning the carrying of weapons in a confinement
area shall continue to be followed.



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SOP NO:       04.14 PACKAGE AND VISITOR SCREENING


4.     Contraband Prohibited from entry into the Detention Facility

       a.     At no time shall any flammable substances be permitted entry into the facility. This
              includes but is not limited to fuels (gasoline, kerosene, alcohol, etc.) ether, compressed
              gas (natural, propane, butane, etc.), solvents, etc..

       b.     At no time shall any explosive substances or devices be permitted entry into the facility.
              This includes but is not limited to typical explosives (ie, fireworks, dynamite, TNT, etc.),
              ammunition, gun powder, charges for mechanical tools (ie, nail guns, pipe cleaners,
              etc.), C02 cartridges, etc.

       c.     At no time shall any bladed or pointed device, of sufficient size to be considered capable
              of rendering harm to a person be permitted entry into the facility. This includes but is not
              limited to knives, swords, spears, scissors, garden implements (ie, axes, shovels, rakes,
              picks, etc.), etc.

       d.     At no time shall any device capable of being used as a bludgeon be permitted. This
              includes but is not limited to baseball bats (wood, metal, and plastic), tools (i.e. hammers,
              wrenches, etc.), impact weapons (i.e. batons, nunchuks, brass knuckles, etc.), lumber, tree
              limbs, metal rods, etc.

       e.     At no time shall any unauthorized cameras (film, digital, video, etc.) or audio recording
              devices be permitted into the secured area of the facility.

       Exceptions

       (a)- a single cigarette/cigar lighter or pack of matches carried by an individual shall be permitted.
       (a)(b)(c)(d)(e)-an authorized vendor/contractor utilizing one or more of the above shall be
       permitted after inspection and approval by either Security Staff or Supervisor. All tools used by
       contractual employees and volunteers shall be approved by the Jail Administrator or their
       designee.

       (e)- where entry into secured areas of the facility prohibits the presence and/or use of such
       devices then such shall not be permitted past any public area into a secured area.




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SOP NO:       04.14 PACKAGE AND VISITOR SCREENING


5.     Charity:

       Nothing shall be given, loaned, traded, or sold to any inmate without prior approval from the Jail
       Administrator or their designee.




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SUBJECT: MAIL
SOP NO:  5.01                                                  GA. LAW: NONE
APPLICABLE GSA STANDARD NUMBER:                      16.01, 16.02, 16.03, 16.04, 16.05, 16.06, 16.07
APPLICABLE ACA STANDARD NUMBER:                      5B-01, 02, 6A-03
DATE CREATED:    OCTOBER 15, 1986                        LATEST UPDATE:               September 6, 2011


POLICY:

The Clayton County Detention Facility shall allow and encourage inmates to communicate with persons
outside the jail by sending and receiving mail. This facility will ensure that mail is processed in a timely
manner and will not be withheld except where such restrictions are necessary to maintain the order and
security of the facility.

DEFINITIONS:

Contraband: An item whose introduction or possession is prohibited within a jail. Contraband may be
items that are either illegal or legal but prohibited by this facility. All items of contraband will be
handled in the appropriate manner and will be either destro ed, placed in the inmate s personal propert
or turned over to the courts for prosecution.

Non-Privileged Mail: Mail that inmates send to, or receive from family, friends and private
organizations. This also includes newspapers or magazines received from publishers.

Legal Mail: Mail that inmates send to, or receive from, their attorneys of record or with whom an
attorney- client relationship has been established, the courts, or other officials, as well as the probation,
parole, and supervisory officers. Whenever an inmate receives mail from an attorney, it shall be
automatically presumed that an attorney-client relationship exists.

PROCEDURES:

   1. Incoming Mail

           A. All incoming mail, except legal mail and other specifically approved items, must be in
              metered or pre-stamped postcard form. All postcards shall contain the inmate s name and
              return address as follows:

               Inmate s Full Name and LE
               Number Cla ton Count Sheriff s
               Office 9157 Tara Blvd
               Jonesboro, Ga. 30236




                                                                                                       D-000000112
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SOP NO: 5.01             MAIL


                    1.          Acceptable Postcard Forms:

                           a.   Postcard minimum size requirements are 3.5 inches by 4.25 inches.
                           b.   Postcard maximum allowable size is 4.25 inches by 6 inches.
                           c.   Must be written in blue or black ink only.
                           d.   Postcards must be white in color and be either metered or contain a
                                preprinted stamp.

                    2.          Unacceptable Postcard Forms:

                           a.   Defaced or altered postcards.
                           b.   Plastic or wrappings on postcards.
                           c.   Postcards marked with pain, crayons, or markers.
                           d.   Postcards with labels or stickers.
                           e.   Postcards with watermarks or stains.
                           f.   Postcards with any biohazards, including perfumes or lipstick.
                           g.   Postcards depicting nudity, weapons, or gang references.
                           h.   Postcards containing an affixed stamp.

        B. Monies being mailed to an inmate must be in an envelope and will be addressed in the
           following manner:

           Cla ton Count Sheriff s Office Attn:
           Accounting
           9157 Tara Blvd.
           Jonesboro, Ga. 30236

           Monies must be made out to the Clayton County Sheriff s Office with the inmates name
           and LE number printed on the line designated as For on the document. No additional
           correspondence will be accepted with incoming monies. All envelopes marked as
           incoming monies will be opened and inspected. If additional contents are located in the
           envelope, the entire package will be returned to sender. All accepted monies will be
           turned over to the accounting staff and deposited to the inmate s account.

               1.           Acceptable United State currency includes:

                           a. Any casher check (also known as an official check)
                           b. Money Order.

        C. Up to four photographs may be mailed to the jail after the inmate has been incarcerated
           for 30 or more da s. The envelope must be clearl marked as PHOTOGRAPHS. The
           photographs must not exceed four inches by six inches in size, must be unaltered, and
           ma not contain an adhesives such as stickers or labels. The inmate s name and booking
           number must be written on the back of each photograph. Nothing else is to be written on




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SOP NO: 5.01        MAIL
            the photographs. All accepted photographs must be developed prints, not Polaroid
            pictures are authorized. No additional correspondence will be accepted with incoming
            photographs. All envelopes marked as PHOTOGRAPHS will be opened and inspected.
            If additional contents are located in the envelope, the entire package will be returned to
            sender.

                    1.       Photographs containing the following shall be deemed inappropriate and
                            shall be returned to the sender:

                             a.     If the picture depicts sexual activity or visibly exposes the breast,
                                   pubic area or buttocks.
                             b.     Pictures promoting or showing illegal activity.
                             c.     Pictures containing gang signs or codes.

          D. Packages will not be accepted unless specifically authorized by the jail commander. All
             unauthorized packages will be returned to the sender.

          E. Inmates may receive newspaper, magazines, and new soft cover books shipped directly
             from a publisher or book company. However, the ordering, purchasing, and payment for
             these shall be the sole responsibilit of the inmate s famil or friends. All reading
             materials shall be subject to inspection for contraband. Any newspaper or magazine
             received may only be kept by person whose name it is received in. Anyone else
             possessing it makes it contraband.

                    1.       Reading material containing the following shall be deemed inappropriate
                            and shall be returned to the sender:

                         a. Content contains pictures that depict sexual activity or visibly exposes the
                            breast, pubic area or buttocks.
                         b. It contains information of escape plots, riots or other disorder or plans to
                            violate laws or rules.
                         c. It contains threats, extortion or obscenity.
                         d. It contains gang signs or codes.
                         e. It contains information that advocates or describes the killing of law
                            enforcement personnel.
                         f. It contains plans for the production of any explosive, incendiary or
                            pyrotechnic device.
                         g. It contains writings that would inflame or contribute to tension between
                            ethnic groups and threaten the safety, security or order of the facility.

   2. Outgoing Mail

          A. All outgoing non-privileged mail shall be in approved postcard form

          B. All outgoing legal mail will be clearly marked as such on the outside of the envelope.




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SOP NO: 5.01           MAIL



                  1.          Outgoing legal mail will be verified to be such prior to leaving this
                              facility.

                  2.          Outgoing legal mail will only be opened in the presence of the inmate
                              when clear and convincing evidence of a security breach establishes
                              good cause.

        C. There are no limitations on the amount of legal mail that can be sent or received by an
           inmate in this facilit . However mail maintained in inmate s possession must fit in his or
           her bin will all other property otherwise it must be stored in personal property.

  3. Restrictions on Non-Privileged Mail Quantity

     Inmates are only allowed to have (4) four books and or magazines including religious books,
     (20) twenty postcards and (1) one newspaper in their possession at any time. Any additional
     items are considered a fire hazard/contraband and shall be confiscated and destroyed. There are
     no restrictions on the number of postcards inmates can mail out providing they have sufficient
     materials to do so.

  4. Restrictions on the Addressee

     The Jail Administrator or their designee in special circumstances may impose additional
     restrictions for situations such as intimidation of witness, harassment of any individual or family,
     court ordered restrictions or correspondence with a minor whose parents or legal guardian may
     object. Staff shall not permit correspondence between inmates incarcerated in this facility.

  5. Inspections for Contraband

     All incoming or outgoing mail is subject to being opened and inspected for contraband, cash,
     checks, or pornography. Staff shall not read incoming or outgoing mail unless circumstances
     present a legitimate security interest. Mail originating from, or intended for an attorney, court, or
     an elected official ma onl be opened in the inmate s presence and then onl inspected for
     contraband, cash, checks, or pornography. This inspection shall be completed by Security Staff
     and is for the strict purpose of insuring contraband is not being sent from, or received into this
     communication. Legal mail must be marked and readily identifiable as legal mail before staff
     shall treat it as such. Pre-stamped envelopes provided to an inmate through the mail in legal
     correspondence shall not be considered contraband.

  6. Processing

     Incoming or outgoing mail shall be processed for regular distribution daily Monday through
     Frida . Jail personnel will not retain an inmate s incoming or outgoing mail for more than 24
     hours or packages for more than 48 hours, excluding weekends and holidays.




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SOP NO: 5.01       MAIL




        A. All incoming mail will be inspected for contraband, but will not be censored. Legal mail
           will be opened in the presence of the inmate.
        B. Incoming mail addressed to an inmate that is not longer at this facility will be returned to
           sender.

        C. Personnel will distribute mail only to the inmate who is to receive the postcard, letter, or
           package. Mail will not be handled or distributed by another inmate.

        D. Personnel shall collect outgoing inmate mail daily. All mail must have a return address
           and correct postage before being delivered to the USPO.




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SUBJECT: TELEPHONES
SOP NO:  5.02                                               GA. LAW: NONE
APPLICABLE GSA STANDARD NUMBER:                    8.57, 16.08
APPLICABLE ACA STANDARD NUMBER:                    2A-14, 6A-04, 05
DATE CREATED:            OCTOBER 15, 1986              LATEST UPDATE:             September 6, 2011

POLICY:

The staff of the Clayton County Detention Facility shall encourage inmates to communicate with their
family or friends by telephone. Inmates shall have equal and adequate access to a telephone unless their
privileges have been restricted for disciplinary or rule violations.

PROCEDURES:

1.     Use of Telephone During In-Processing:

       Inmates being processed in the intake area of the Detention Facility shall have access to
       telephones to contact family, make arrangements for posting bond, and retain legal counsel.

2.     Exceptions:

       Access to a telephone may be restricted when:

       a.      A special request has been made by the arresting or investigating officers directly to a
               Supervisor. Information provided must show a clear need to restrict communication
               which might jeopardize an ongoing investigation or security. Coordination shall be
               established between the requesting officer and a Supervisor as to when the restriction is
               to be lifted. The requesting officer must provide a contact person (such as the officer s
               Supervisor) so the coordination will continue in the event the restriction goes beyond the
               normal watch change for either the officer or the Supervisor.

       b.      Person(s) desiring to add, remove, or change blocks on the inmate telephone system shall
               do so in person, and shall provide documentation which establishes them as the person
               named on the telephone account. All requests must be reviewed by the Administrative
               Officer.




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SOP NO: 5.02         TELEPHONES

3.     General Population Access:

       Inmates in general population shall have daily access to the inmate telephone system. Telephones
       shall be automatically turned on at 7:00 a.m. and turned off at 11:00 p.m. This system can be
       manually turned off by the housing unit control officer for emergency situations or for
       disciplinary reasons.


4.     Medical Section Inmates:

       Inmates housed in the medical section shall be provided daily access to the inmate telephone
       system.

5.     Privacy and Monitoring:

       Security Staff shall not intentionally place themselves in such proximity as to overhear inmate
       telephone calls. Calls to attorneys and the courts shall not be monitored. Other inmate telephone
       calls may be monitored by a Supervisor.

6.     Deaf and Mute Inmates:

       Inmates who are deaf or are not able to speak shall be given the opportunity to use the teletype
       telephone (TTY or TDD). Inmates requiring the use of such phone shall be allowed to use the
       TTY at least once per shift, work load permitting. All instances in which an inmate uses the
       TTY shall be documented on the appropriate movement log.




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SUBJECT: INMATE VISITATION/FACILITY VISITORS
SOP NO:  5.03                            GA. LAW: NONE
APPLICABLE GSA STANDARD NUMBER:                     16.09, 16.10, 16.11, 16.12, 16.13, 16.14, 16.15
APPLICABLE ACA STANDARD NUMBER:                     5B-01
DATE CREATED:    OCTOBER 15, 1986                       LATEST UPDATE:               September 6, 2011

POLICY:

The staff of the Clayton County Detention Facility shall encourage and provide the means for inmates to
speak with family and friends through non-contact visits. The staff shall make every reasonable attempt
to accommodate attorney visits with their client. The staff shall also cooperate with community requests
for facility tours. All facility tours shall be coordinated with and approved or disapproved by the Jail
Administrator, or their designee.

PROCEDURES:

1.     Eligible Inmates:

       The following inmates are eligible for visitation:

       a.     Inmates who have successfully completed orientation, and have not had their visitation
              privileges suspended.

       b.     Inmates housed in the Infirmary, who have not completed orientation due to a medical
              condition, shall have to be cleared to visit by Medical Staff and the visit approved by a
              Shift Supervisor.

2.     Eligible Visitors/Type Visit:

       Staff may approve the following visitors for visitation:

       a.     Family or friends

       b.     Clergy may visit subject to the regular visitation rules. All additional visits by clergy
              shall be coordinated with the Chaplain.

       c.     Law Enforcement/Criminal Justice workers: As needed, unless the visit compromises the
              security of the facilities.

       d.     Attorneys which are members of the Georgia Bar Association may visit their client(s).




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SOP NO: 5.03             INMATE VISITATION/FACILITY VISITORS

       e.        Bondsmen may visit an inmate at any time, providing it does not disrupt the daily
                 operations of the facility.

       f.        The Shift Supervisor shall have the discretion to approve additional visitation privileges,
                 if the request for the visit demonstrates that there are extenuating circumstances.

3.     Visitors can be turned away if:

       a.        They become disruptive.

       b.        The visitor is under the influence of any type of drug or alcohol.

       c.        He or she refuses to obey facility rules.

       d.        The visitor fails to show proper personal identification.

       e.        The visitor poses a threat to facility security.

       f.        The inmate refuses the visit or visitor.

       g.        The visitor is improperly attired.

1.     Reporting:

       Staff shall document any denial of visitors. Staff shall note reasons for denying the visit on the
       visitation log. A Jail Miscellaneous Incident Report shall be prepared for any significant event
       occurring from the denial of a visit. A list of restricted visitors shall be maintained at the
       visitation desk.

2.     Visitation Days and Hours:

       Visitation days and hours are set as Monday through Friday, 8:00 a.m. until 10:00 p.m., but may
       be changed anytime by the Jail Administrator or their designee. Inmates are allowed one 30
       minute visit during the week. All visitors must sign in to visit before 9:30 p.m.

1.     Passes:

       Staff shall issue a pass to each approved visitor entering the secured area of the facilities,
       regardless of the type of visit.

2.     Identification of Visitor:

       Visitors must present a driver's license, or another form of verifiable identification.




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SOP NO: 5.03              INMATE VISITATION/FACILITY VISITORS

3.      Number of Visitors Allowed:

        Each inmate can have no more than four visitors at a time.

9.      Attorney Visits:

        Attorneys which are members of the Georgia Bar Association shall have access to visit their
        clients. Regular visitation hours for attorneys to visit with their clients are normally from 8:00
        a.m. to 10:00 p.m., seven days a week. A Shift Supervisor shall review requests by an attorney
        to visit at any other time, or requests for any individual to accompany the attorney during the
        interview for approval or denial.

10.     Access of Employees of Attorneys:

        Paralegal s, investigators, and an other persons on the attorne s staff, when not accompanied
        by an attorney, have no more right to visit an inmate in the facility than any other citizen.
        However, a Supervisor may allow the visit if the person has a formal letter from the attorney, on
        their business letterhead, requesting the visit be allowed. An attorney visitation may be limited
        only if the visit will cause an unnecessary disruption that affects the facility security and order on
        approval from the Jail Administrator or his designee.

11.     Contact Visits:

        Contact visits shall only be approved by the Jail Administrator or his designee, and are usually
        limited to attorney visits for death penalty cases. These visits shall be conducted in one of the
        Intake Interview Rooms, and shall be visually monitored by a member of the Intake Security
        Staff. The person(s) visiting are subject to search along with all equipment or belongings before
        entering the secure area of the facility. The visitor shall be escorted to Intake upon completion of
        the screening. Upon completion of the visit, the inmate shall be frisk searched and the visitor
        shall be escorted back to the visitation desk.

12.     Facility Tours:

        Requests for tours of the facility shall be accommodated when possible when requested by other
        law enforcement agencies. The Jail Administrator or his designee shall approve and schedule
        these tours. Security Staff shall provide a sufficient number of officers to provide security for
        the tour. The Building Code Status of the affected area(s) of the tour will be changed to Orange.
        Tours scheduled and coordinated by other Divisions (potential new hires, Y.E.S.S. tours, etc.)
        shall be conducted in the same manner.




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SUBJECT: EMERGENCY MESSAGES TO INMATES
SOP NO:  5.04                        GA. LAW: NONE
APPLICABLE GSA STANDARD NUMBER:                      NONE
APPLICABLE ACA STANDARD NUMBER:                      NONE
DATE CREATED:    OCTOBER 15, 1986                        LATEST UPDATE:               September 6, 2011

POLICY:

The staff of the Clayton County Detention Facility shall make every effort to ensure the sensitive
delivery of emergency messages to inmates. All messages shall be delivered with the utmost care and
compassion.
PROCEDURES:

1.     Referral:

       Any employee receiving an emergency message for an inmate, shall refer the message to the Jail
       Chaplain, or in their absence the Shift Supervisor on duty.

2.     Verification:

       If the ranking officer or the Jail Chaplain has reason to suspect the accuracy or truthfulness of the
       message, he or she shall attempt to verify the message through whatever means are available.

3.     Delivery:

       If the emergency message is a notification of the death or serious injury of a loved one or other
       message which may cause trauma to the inmate, the Shift Supervisor shall arrange to have the
       inmate brought to an interview room and deliver the message. The inmate shall be informed if
       the supervisor has been unable to verify the message.

4.     Recording:

       The Supervisor who delivers the emergency message shall have the control officer note the
       action on the daily log of the section we have housed the inmate in.

5.     Visits:

       If a friend or relative of the inmate delivered the message to the facility in person a Shift
       Supervisor shall decide if they shall permit a visit.




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SOP NO: 5.04          EMERGENCY MESSAGES TO INMATES

6.     Observation:

       The Shift Supervisor who delivers the message shall have the inmate closely observed after
       returning him or her to the assigned area, if he or she suspects the inmate might be a danger to
       themselves, others, or the security of the facility in reaction to the message. The Shift Supervisor
       delivering the message shall notify the control officer and he or she shall note this in the daily
       log. The officer shall observe the inmate closely for signs of potential suicide, emotional
       breakdown, or a possible escape attempt.

7.     Temporary Release:

       No officer of the Clayton County Detention Facility, other than the Sheriff, Chief Deputy,
       Assistant Chief Deputy or the Jail Administrator, has the authority to release an inmate
       temporarily who has received an emergency message for the purpose of going to a funeral,
       visiting a hospital, or an other similar purpose. Staff shall instruct the inmate s famil to
       coordinate the visit with the Enforcement Bureau.




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SUBJECT: MEDICAL SERVICES
SOP NO:  6.01                                                GA. LAW: O.C.G.A 42-4-51
APPLICABLE GSA STANDARD NUMBER:                     14.06, 14.14, 14.15, 14.20
APPLICABLE ACA STANDARD NUMBER:                     4D-01, 6A-08
DATE CREATED:      JULY 21, 1999                        LATEST UPDATE:                 August 2011

POLICY:

The staff of the Clayton County Detention Facility shall provide the use of medical services to treat any
illness, disease, infirmity, or ailment from which an inmate may suffer. Diligent efforts shall be made to
ensure all judicially mandated standards for medical care of inmates are upheld and confidentiality of all
medical records is maintained in strict accordance to State and Federal law.

PROCEDURES:

1.     Compliance with Contractual Obligations:

       The Jail Administrator shall ensure the medical service provider complies with the terms of their
       contract. Should the medical services contractor fail to comply with the terms of contract, the Jail
       Administrator shall ensure corrective actions are taken.

2.     Admissions to the Infirmary:

       It shall be the responsibility of the Medical Staff to decide if an inmate should be admitted and
       housed within the Infirmary, and if an inmate should be cleared to return to general population
       after being housed in the Infirmary.

3      Providing Treatment:

       Staff shall not deny an inmate necessary care or treatment while in the custody of the Clayton
       County Detention Facility. Medical Staff shall give treatment in accordance with the
       specifications of the contractual agreement. Medical services to be made available shall include:

       a.      Daily Sick Call

       b.      Dental Services.

       c.      Mental Health Services

       d.      Screening and treatment for Drug and Alcohol abuse.




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SOP NO: 6.01           MEDICAL SERVICES


       e.      X-ray

       f.     General and specialized treatment performed by qualified medical practitioners.

4.     Personal Physicians:

       Requests for personal physicians to perform elective treatment shall be considered on a case by
       case basis, subject to approval by the Jail Administrator.

5.     Prosthetics and other Assisted Walking Devices:

       The validity of the need for prosthetic and other assisted walking devices to support an inmate
       shall be determined by the medical staff. Supervisors shall approve the use of the devices
       provided it does not compromise the facilit s securit or the presence of the device jeopardizes
       operational procedures.




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SUBJECT: MEDICAL SERVICE FEES
SOP NO:  6.02                                               GA. LAW: O.C.G.A 42-4-51
APPLICABLE GSA STANDARD NUMBER:                    NONE
APPLICABLE ACA STANDARD NUMBER:                    4D-01, 6A-08
DATE CREATED:                 JULY 21, 1999            LATEST UPDATE:             September 6, 2011


POLICY:

The staff of the Clayton County Detention Facility shall attempt to recover some of the costs of medical
treatment/services requested by inmates. Staff shall not deny any inmate medical treatment or cause the
delay of medical treatment because of their inability to pay for medical services.

PROCEDURES:

1.     Routine Medical Treatment:

       The inmate's account shall be debited $5.00 for each occurrence of routine medical treatment
       initiated by the inmate and the actual costs of medical treatment for injuries inflicted by the
       inmate either upon themselves or others.

2.     Restriction on Deduction:

       Staff shall not deduct medical treatment costs from any inmate's account containing $10.00 or
       less. If an inmate's account is $10.00 or less, Accounting shall make a notation of the medical
       treatment on the account. If the inmate's account increases, Accounting shall deduct the
       appropriate fee for medical services or costs before any other deductions to the account.

3.     Collection of Fees:

       If an inmate being released from the Clayton County Detention Facility owes a fee for medical
       services, the fee is to be deducted from their account by Accounting before they give the inmate
       the balance of their account. Staff cannot hold the inmate in custody if they are unable to settle
       the debt. However, Accounting may deduct the debt from the inmate's balance should he or she
       return to our facility at a later date.

4.     Denial of Treatment:

       Staff shall not deny inmates who do not have money in their account medical attention.




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SOP NO: 6.02         MEDICAL SERVICE FEES

5.     Disciplinary Actions:

       Staff shall discipline no inmate because of the inmate s inabilit to pa assessed costs. No inmate
       shall be assessed any costs in lieu of receiving appropriate disciplinary action because of an
       alleged Inmate Handbook Rule violation.




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SUBJECT: PRELIMINARY HEALTH SCREENING
SOP NO:  6.03                         GA. LAW: NONE
APPLICABLE GSA STANDARD NUMBER:                     14.12
APPLICABLE ACA STANDARD NUMBER:                     2A-14, 4C-01
DATE CREATED:             OCTOBER 15, 1986              LATEST UPDATE:              September 6, 2011

POLICY:

Each newly admitted inmate shall undergo a preliminary health screening by the Medical Staff to
determine if there is an existing condition which may present a threat to the health of the Facility Staff,
other inmates, or themselves.

PROCEDURES:

1.     Urgent medical treatment:

       If it is immediately recognizable that the individual has an urgent need of medical attention, staff
       shall promptly call for immediate medical attention from on-site Medical Staff or emergency
       Medical Staff if on site Medical Staff are not available.

2.     Interview:

       During all book-ins the Medical Staff shall interview the inmate concerning his/her medical
       history and current condition.

3.     Records:

       All screening records shall be filed and maintained by the Medical Staff in conjunction with all
       other inmate medical records.

4.     Referral:

       If after the screening there is reason to suspect that the inmate suffers from any medical
       condition which may require further examination or immediate attention, the Medical Staff shall
       immediately notify the Intake Supervisor and the appropriate Health Services Supervisor(s).




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SOP NO: 6.03         PRELIMINARY HEALTH SCREENING

5.     Reporting:

       a.     Any inmate (new lock up) who requires emergency medical treatment or is transported
          for treatment prior to book in must be brought to the immediate attention of the Command
          Staff, with a Miscellaneous Jail Incident Report to follow.
       b.     The Command Staff will be notified immediately if any inmate which is currently housed
          at the Clayton County Detention Facility is transported for emergency treatment. A
          Miscellaneous Jail Incident Report will be completed to document the incident.



6.     Medical Records:

       Any inmate medical records received by Sheriff s Office Personnel shall be forwarded to the
       Medical Staff.




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SUBJECT: TRANSPORTATION FOR EMERGENCY / NON- EMERGENCY MEDICAL CARE

SOP NO:       6.04                                           GA. LAW: NONE
APPLICABLE GSA STANDARD NUMBER:                     05.06, 23.30, 14.06
APPLICABLE ACA STANDARD NUMBER:                     4C-01, 02, 03
DATE CREATED:      JULY 21, 1999                        LATEST UPDATE:             September 6, 2011

POLICY:

The staff of the Clayton County Detention Facility shall ensure appropriate transportation is provided for
emergency and non-emergency medical care of inmates.

PROCEDURES:

1.     Transporting an Inmate:

       Should diagnosis or required treatment only be obtained outside the Detention Facility, the
       inmate shall be transported to the designated treatment facility. Transporting an inmate for
       emergency or non-emergency treatment shall not compromise safety or security of the officer or
       the inmate. No inmate is ever to be advised of the exact location and time of an outside medical
       appointment.

2.     Coordination of Transportation:

       Transportation of all inmates for non-emergency medical treatment shall be coordinated with the
       Enforcement Bureau.

3.     Escorts:

       In cases where an inmate must be taken outside the facility for emergency medical care, a sworn
       officer must personally escort the inmate. The Jail Supervisor shall request a deputy sheriff from
       the Enforcement Bureau to provide the escort. However, in the absence of an officer from that
       division, any sworn officer may be used as the escort until properly relieved by an Enforcement
       Bureau deputy.

4.     Type of Transportation:

       The Medical Staff shall advise the type of transportation and the urgency needed for the inmate.

5.     Restraining devices:
       Restraining devices that maintain the security required for safe transport without interfering with
       the medical condition of the inmate shall be used by any escorting officer(s).



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SUBJECT: MEDICATIONS/PHARMACEUTICALS
SOP NO:  6.05                        GA. LAW: O.C.G.A. 26-4-1
APPLICABLE GSA STANDARD NUMBER:                    14.24, 14.25, 14.03
APPLICABLE ACA STANDARD NUMBER:                    4C-01
DATE CREATED:    SEPTEMBER 2, 1988                    LATEST UPDATE:             September 6, 2011


POLICY:

All medications prescribed for treatment of an inmate shall be reviewed and approved by the medical
services contractor. Staff shall not deny inmates proper medication required for treatment while in the
custody of the Clayton County Detention Facility.

PROCEDURES:

1.     Dispensing Medication:

       All medication shall be dispensed according to established policy and procedures and applicable
       State & Federal Laws and onl b authori ed Medical Staff. The inmate s account shall be
       debited $3.00 for each prescription.

2.     Refusal or Hoarding of Medication:

       Problems occurring with the dispensing of medications to inmates in the facility, such as refusal
       to ingest properly or hoarding of medication, shall be reported immediately to the Shift
       Supervisor. Staff shall report all incidents involving an inmate s hoarding of medication to the
       Medical Staff. All of the aforementioned circumstances shall be documented in the appropriate
       fashion. The decision to continue or stop the dispensing of an inmate s medication because of
       the inmate s hoarding of medication shall onl be made b Medical Staff. An confiscated
       medication shall be turned over to the Medical Staff for disposal.




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SUBJECT: INMATE HYGIENE
SOP NO:  6.06                                                GA. LAW: NONE
APPLICABLE GSA STANDARD NUMBER:                     15.09,15.11,15.13, 15.15,15.16
APPLICABLE ACA STANDARD NUMBER:                     4B-03, 6A-07, 08
DATE CREATED:    OCTOBER 15, 1986                      LATEST UPDATE:                September 6, 2011

POLICY:

Staff shall ensure that all inmates housed in the Clayton County Detention Facility maintain their
personal hygiene, and are provided all necessary supplies and an opportunity to do so.

PROCEDURES:

1.     Showers:

       Showers shall be available for use b inmates dail regardless of the inmate s housing
       assignment or lock down status. Staff may restrict violent or incorrigible inmates on lock down
       to showering every other day, subject to the approval of the Jail Administrator.

2.     Refusal to Shower:

       Staff shall report instances of inmates refusing to shower and maintain proper hygiene to the
       Shift Supervisor. The Shift Supervisor shall then, in consultation with the Medical Staff, make a
       determination if the inmate s h giene could constitute an institutional sanitary hazard. If it is
       determined the inmate s h giene could constitute an institutional sanitar ha ard, appropriate
       steps shall be taken to correct the inmate s h giene problem.

3.     Hygiene:

       The replacement of hygiene items shall be made available for purchase through the Jail
       Commissar . Indigent inmates shall be provided h giene items at no cost as "care packages.
       Requests for "care packages" will be forwarded to Accounting. The inmate shall only be
       qualified for or issued a "care package" after being incarcerated for thirty (30) days or more in
       this facility. Replacements for toilet paper, soap, toothpaste, and toothbrush shall be provided on
       regularly scheduled issue days. Additional hygiene items shall be for purchase through the Jail
       Commissary or indigent care packages.




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SOP NO: 6.06         INMATE HYGIENE

4.     Shaving:

       Razors will be issued in accordance with SOP Section 4.12.


5.     Laundry:

       Uniforms, towels, and personal undergarments shall be laundered two times a week.

6.     Linens:

       Sheets and pillow cases shall be laundered at least once weekly. Mattresses shall be cleaned and
       sanitized before each issue. Blankets shall be laundered once monthly.




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SUBJECT: ISSUANCE OF INMATE UNIFORMS, LINEN, AND HYGIENE ITEMS
SOP NO:  6.07                           GA. LAW: NONE
APPLICABLE GSA STANDARD NUMBER:                     09.16, 10.01, 15.06, 15.12, 15.13, 15.15, 15.16, 15.19
APPLICABLE ACA STANDARD NUMBER:                     4B-03, 6A-07
DATE CREATED:    OCTOBER 15, 1986                       LATEST UPDATE:               September 6, 2011


POLICY:

To maintain and encourage a healthy environment, all inmates housed within the detention facility, shall
be issued clean uniforms, linens, and personal hygiene items. Staff shall also provide orientation training
and access to the facility rules and regulations to ensure inmates remain informed of their expected
behaviors and the disciplinary procedures used to ensure their compliance.

PROCEDURES:

1.     General Population Housing:

       Upon being assigned to orientation, the admitting personnel shall:

       a.      Allow the inmate to keep their personal underclothes (T-shirt, socks, underwear, wireless
               bras), only when it is white in color. The exception shall be female underpants/panties. It
               is permissible to allow a female inmate to keep her colored panties for sanitary reasons.
               Due diligence should be made during the dress out search to insure the introduction is not
               made to the housing unit area of the Detention Facility.

       b.      Male inmates shall be issued one inmate uniform consistent with their classification
               status and female inmates will be issued two inmate uniforms. Along with the inmate
               uniforms, the following items shall be issued to each inmate:

               two (2) sheets;
               one (1) blanket,
               one (1) towel,
               one (1) washcloth,
               one (1) toothbrush,
               one (1) toothpaste,
               one (1) soap
               one (1) pair shower shoes
               one (1) cup
               one (1) spork




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SOP NO: 6.07          ISSUANCE OF INMATE UNIFORMS, LINEN, AND HYGIENE ITEMS

2      Inventory of Inmates Personal Property:

       The propert officer shall inventor , properl secure, and provide an accounting for the inmate s
       personal property.

3.     Inventory of Issued Items:

       An inventory of all issued items is to be made at the time of issue/dress out. This is to be
       completed by the property officer, and signed by both the officer and the inmate.

4.     Linen:

       All issued items shall be returned at the time the inmate departs the facility for cleaning and re-
       issuing.

5.     Personal Hygiene Items:

       After the initial issue to an inmate, personal hygiene items can be purchased from the Jail
       Commissary. In the event an inmate is indigent, personal hygiene items shall be provided at no
       expense.

6.     Special Clothing:

       This facility shall provide and/or allow the inmate workers the needed special clothing required
       by the work assignment.




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SUBJECT: SUICIDE WATCH
SOP NO:  6.08                                               GA. LAW: NONE
APPLICABLE GSA STANDARD NUMBER:                    5.05, 14.17, 21.09, 23.23, 23.29, 24.01, 24.09, 24.16
APPLICABLE ACA STANDARD NUMBER:                    2A-21, 23, 24, 4C-04, 12, 13
DATE CREATED:    OCTOBER 15, 1986                      LATEST UPDATE:                September 6, 2011

POLICY:

The staff of the Clayton County Detention Facility shall make every effort to prevent inmate suicides
through increased surveillance and monitoring by staff.

PROCEDURES:

1.     Observation:

       All personnel shall remain alert to any behavioral changes involving inmates displaying suicidal
       tendencies. Special attention should be given to inmates after arrest, sentencing and disturbing
       news. Good communication between Security Staff and Medical Staff is a must to ensure
       cooperation in this surveillance.

2.     Evaluation:

       When an inmate is reported or suspected to be suicidal, the Shift Supervisor shall be notified.
       The Supervisor shall communicate this information to the Medical Staff and make a
       determination of the appropriate housing assignment. A Jail Miscellaneous Incident Report shall
       be completed.

3.     Housing:

       All inmates that have expressed suicidal tendencies either verbally or through some other action
       shall be housed in the Infirmary. Suicide precautions are to be instituted as follows:

       a.     Each observation cell shall be searched by Security Staff prior to housing the inmate. All
              items the inmate could use to harm themselves shall be removed. The inmate shall be
              issued a safety smock and bedding by Medical Staff.

       b.     A suicide watch log shall be completed and maintained by Medical Staff. The inmate is
              to be checked visually as often as possible and no less than every fifteen (15) minutes.
              Medical Staff shall log all checks with appropriate comments as to the condition of the
              inmate.




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SOP NO: 6.08         SUICIDE WATCH


       c.     The inmate shall be seen by the Psychologist or Psychiatrist at the earliest opportunity.

       d.     Inmates shall only be released from suicide watch after being cleared by the Psychologist
              or Psychiatrist.

4.     Documentation:

       When a suicide attempt involves great bodily harm, it shall be documented by the reporting
       officer in an Incident Report. When a suicide attempt involves minor injury to the inmate, a Jail
       Miscellaneous Incident Report may be completed at the discretion of the Watch Commander.
       Refer to JOD SOP 11.04 (Attempted Suicide, Suicide, or Death of an Inmate in Confinement) for
       actions to be taken in the event of a suicide attempt.




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SUBJECT: CONTAGIOUS DISEASES
SOP NO:  6.09                                                GA. LAW: O.C.G.A. 24-9-47, 42-1-7
APPLICABLE GSA STANDARD NUMBER:                     NONE
APPLICABLE ACA STANDARD NUMBER:                     4C-06, 07
DATE CREATED:    OCTOBER 5, 1986                        LATEST UPDATE:              September 6, 2011


POLICY:

The staff of the Clayton County Detention Facility shall make every effort to prevent and contain the
spread of infectious and contagious diseases within the facility.

PROCEDURES:

1.     Recognition and Reporting:

       Any knowledge or recognition of a potential life threatening disease or infection shall be
       reported to the Watch Commander and Medical Staff immediately.

2.     Isolating Affected Inmates:

       The Medical Staff determine the need for isolation of affected inmates. If cell space is available,
       this shall be done in the Infirmary.

3.     Quarantine of the Facilities:

       The decision to quarantine the facility shall be made by the Sheriff in consultation with the
       Clayton County Health Department.

4.     Privileges:

       Inmates placed on quarantine by the Medical Staff shall be given all privileges not violating
       contagious disease protocol used by Medical Staff.

5.     Confidentiality:

       Staff members are prohibited by law from revealing any medical information pertaining to any
       specific inmate. All medical records shall be considered confidential. Medical records can only
       be authorized for release by the Sheriff, Chief, Jail Administrator, or their designee.




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       S.O.P. NO.      6.09   CONTAGIOUS DISEASES



6.     Transporting:

       When an inmate having a contagious disease is transported outside the facility, the Medical

       Section shall complete a notification of infectious disease form and give it to the transporting
       officer.




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SUBJECT: INMATE PROGRAMS
SOP NO:  7.01                                               GA. LAW: NONE
APPLICABLE GSA STANDARD NUMBER:                    20.07, 08.56
APPLICABLE ACA STANDARD NUMBER:                    5A-01, 6A-01
DATE CREATED:    OCTOBER 5, 1986                      LATEST UPDATE:             September 6, 2011


POLICY:

As a privilege, the Clayton County Detention Facility will afford inmates who pose no threat to
institutional security with an opportunity to participate in programs that are designed to improve their
over-all life skills.

PROCEDURES:

1.     Scheduling:

       The Chaplain s Office shall be responsible for the development and coordination of all Inmate
       Programs.

       a.     Inmates wanting to participate in an Inmate Program shall submit an inmate request form
              to the Chaplain s Office e pressing their interest in participating in a specific Inmate
              Program.

       b.     The Chaplain s Office shall review and approve inmate s requests for participation in an
              program prior to their participation.

       c.     Inmates who have been classified as a security risk or who have been assigned to
              Segregation Units typically will not be allowed to participate in Inmate Programs due to
              institutional hardships.

       d.     Only the Jail Administrator or his/her designee may authorize an inmate who is classified
              as a security risk, to participate in an Inmate Program, as long as there is sufficient
              security staff present to accommodate this task with minimal disruption to the facility.

       e.     Any disruptions stemming from an inmate s behavior shall be sufficient cause to cancel
              or revoke the inmate s privilege to attend an Inmate Program.

2.     Program Availability:

       Programs shall be made available based upon monetary resources and volunteer participation.
       Such programs will include but are not limited to the following:




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SOP NO: 7.01          INMATE PROGRAMS



       a.     G.E.D preparation
       b.      Substance Abuse Program (Narcotics Anonymous Meetings)
       c.      Inmate Literacy
       d.      Fatherhood Life Skills


3.     Additional Programs:

       New Inmate Programs shall be monitored through the Chaplain s Office and approved b the Jail
       Administrator.




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SUBJECT: INMATE RECREATIONAL ACTIVITIES
SOP NO:  7.02                          GA. LAW: NONE
APPLICABLE GSA STANDARD NUMBER:                     08.56, 08.60, 20.02
APPLICABLE ACA STANDARD NUMBER:                     5C-01, 6A-08
DATE CREATED:             OCTOBER 5, 1986               LATEST UPDATE:             September 6, 2011


POLICY:

The staff of the Clayton County Detention Facility shall give inmates reasonable opportunities to
participate in physical recreational activities.

PROCEDURES:

1.     Participation:

       Staff shall provide inmates the opportunity, weather permitting, to voluntarily participate in
       recreational yard call for one (1) hour each day excluding the day scheduled for Commissary.

2.     Restrictions on Participation:

       Inmates on Suicide Watch, Disciplinary Lockdown or Security Segregation shall not be
       permitted to participate in recreational yard call. Inmates having doctor, dental, and/or court
       appointments which occur during recreational yard call shall remain in their sections until called
       to leave for their appointment. The recreation privileges of inmates housed in the Infirmary may
       be restricted by the Medical Staff if there is a legitimate medical need to do so.

3.     Security:

       Before releasing inmates into the recreational yard, the Unit Control Officer shall ensure:

       a.      The recreational yard is secure and free of any contraband items.

       b.      The recreational yard has been cleared of any trash or debris.

       c.      Weather conditions are safe for recreational use by inmates.

4.     Inmates Leaving Yard Call:

       Inmates shall use the bathroom facilities before going to the recreational yard. Inmates needing
       to use the restroom facilities or leave the recreation yard before yard call is over shall not be
       permitted to return to the recreational yard.



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7.02     INMATE RECREATIONAL ACTIVITIES


5.       Supervision:

         The Unit Control Officer shall monitor the recreational yard from his/her post.




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SUBJECT: LAW LIBRARY
SOP NO:  7.03                                                GA. LAW: NONE
APPLICABLE GSA STANDARD NUMBER:                     17.03, 20.05, 20.06
APPLICABLE GSA STANDARD NUMBER:                     5C-04, 6A-02, 03
DATE CREATED:    OCTOBER 5, 1986                        LATEST UPDATE:             September 6, 2011


POLICY:

The staff of the Clayton County Detention Facility shall provide a library to meet the legal needs of
inmates who are confined to the facilities and are representing themselves in a criminal case.

PROCEDURES:

1.     Inmates Visiting the Law Library:

       a.      The Law Library shall only be authorized for use by inmates who do not have an
               attorney, who are either representing themselves in a criminal case or are filing a Civil
               Rights Claim.

       b.      Inmates wishing to use the Law Library shall submit an inmate request form stating their
               desire to go to the Law Library.

       c.      Inmates shall take no original legal material from the Law Library. Upon written request
               from inmates, the Librarian shall reproduce the requested pages of the legal material and
               give the reproduced copies to the inmates.

       d.      Inmates who are approved to utilize the Law Library will be scheduled by the Programs
               Security Officer. Each visit shall only last one hour.


2.     Accepting Donated Materials:

       Staff shall inspect for contraband and properly mark all books which are donated to the facility
       as property of the facility once they have accepted it for use.




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SUBJECT: RELIGIOUS SERVICES AND PRACTICE BY INMATES
SOP NO:  7.04                           GA. LAW: NONE
APPLICABLE GSA STANDARD NUMBER:                     8.56, 20.01, 18.04
APPLICABLE ACA STANDARD NUMBER:                     4A-02, 5A-01, 5C-06
DATE CREATED:    NOVEMBER 4, 2000                       LATEST UPDATE:              September 6, 2011


POLICY:

The Staff of the Clayton County Detention Facility shall allow inmates to practice their recognized
religious beliefs provided security and facility operational procedures are not compromised.

PROCEDURES:

1.     Schedule:

       Religious services shall be conducted simultaneously in each housing unit according to the
       following schedule:

       a.       Non-Denominational Christian services shall be scheduled once weekly.

       b.       Islamic services shall be scheduled once weekly.

       c.       All religious services shall be limited to a maximum of one hour.

2.     Diets:

       Reasonable accommodations shall be provided for the inmate to follow dietary restrictions of
       their faith. The Jail Administrator shall, in consultation with the Jail Chaplain Staff, determine
       reasonable accommodations.

3.     Literature:

       Inmates shall be allowed to possess religious literature approved through the Jail Administrator
       in consultation with the Jail Chaplain Staff.

4.     Attendance:

       Inmates wanting to attend religious services shall place their name on the sign up list provided. If
       no list of inmates is available, reasonable effort shall be made for inmates to receive religious
       service.
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SOP NO: 7.04            RELIGIOUS SERVICES AND PRACTICE BY INMATES

5.     Clergy Visits:

       Inmates wishing to have personal clergy counseling shall submit an inmate request form to the
       Jail Chaplain. The Jail Chaplain shall coordinate personal clergy visits and decide whether or not
       the visit will be considered as a normal visit or as a chaplaincy visit.

6.     Advisors/Volunteers:

       Religious advisors/volunteers holding services or conducting programs in the facility shall do so
       at the recommendation of the Chaplain and with the approval of the Jail Administrator.

7.     Religious Service Materials:

       Staff shall restrict religious advisors/volunteers from bringing any religious materials (musical
       instruments, electronic equipment, medallions, candelabra, etc.) other than literature into the
       facility without prior recommendation of the Chaplain and the approval of the Jail Administrator.




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SUBJECT: MARRIAGES
SOP NO:  7.05                                                 GA. LAW: NONE
APPLICABLE GSA STANDARD NUMBER:                     NONE
APPLICABLE ACA STANDARD NUMBER:                     5C-06
DATE CREATED:    OCTOBER 15, 1986                        LATEST UPDATE:            September 6, 2011


POLICY:

The Clayton County Detention Facility shall allow inmate marriages only in circumstances involving
unborn children, unwed mothers, and according to established procedures.

PROCEDURES:

1.     Acknowledgment of Pregnancy:

       In a sworn written statement, the inmate shall:

       a.     Acknowledge paternity/maternity of an unborn child conceived prior to the inmate's
              incarceration.

       b.     Name the father/mother of their unborn child.

2.     Physicians Statement:

       The mother shall provide a ph sician s statement verif ing her pregnanc .

3.     Previous Marriages:

       If either party has been previously married, they shall provide documentation issued by a Clerk
       of the Court stating that the previous marriage has been dissolved.

4.     Approval:

       The Jail Administrator may approve the performance of a marriage ceremony at the facility,
       subject to compliance with all requirements. The name of the person to perform the ceremony
       must be submitted for approval no less than 24 hours prior to the ceremony.




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SOP NO: 7.05           MARRIAGES



5.     Arrangements:

       All arrangements for the marriage license and blood tests shall be at the expense of the parties
       involved.

6.     Witnesses:

       A list of up to two (2) individuals witnessing the ceremony shall be submitted to the Jail
       Administrator for approval no less than 24 hours prior to the ceremony.

7.     Marriage License:

       A copy of the marriage license is to be provided to the Detention Facility and filed in the
       inmate's jail file.

8.     Cameras:

       Cameras or recording devices shall not be allowed into the facility as part of the ceremony.




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SUBJECT: COMMISSARY
SOP NO:  7.06                                                  GA. LAW: NONE
APPLICABLE GSA STANDARD NUMBER:                      2.03, 2.07, 2.09, 2.10, 8.56
APPLICABLE ACA STANDARD NUMBER:                      5C-07, 6A-08
DATE CREATED:            NOVEMBER 4, 2000                LATEST UPDATE:              September 6, 2011


POLICY:

The Clayton County Detention Facility through contractual agreement shall provide commissary
services for inmates to purchase items, as approved by the Jail Administrator. All commissary purchases
shall be debited against the inmates account. Care packages containing personal hygiene items and
writing materials shall be provided for indigent inmates at the count s expense.

PROCEDURES:

1.     Items approved for sale:

       Vendors shall not be allowed to store or sale any item not approved for sale in the Commissary
       by the Jail Administrator.

2.     Customer Verification:

       All inmates shall display their inmate identification and sign for all purchases as proof of sale.

3.     Limitations:

       The following guidelines shall be applied as the standard for limitations:

       a.     Consumable items (candy, crackers, etc.) not to exceed $40.00, subject to change by the
              Jail Administrator.

       b.     Hygiene items shall be limited to $40.00

       c.     Other limits shall include one (1) pair of shoes, four (4) t-shirts, four (4) underwear, four
              (4) pair of socks, three (3) bras and two (2) towels.

       d.     Inmates with a physician imposed dietary restriction shall be restricted to only purchase
              certs, diet soda, coffee, tea and non-consumable items.

       e.     Medical items shall not exceed 10 items.




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SOP NO: 7.06          COMMISSARY

4.     Periodically Approved Items:

       The sales of seasonal or periodically approved items are subject to the direction of the Jail
       Administrator.

1.     Pricing:

       The prices of commissary items are established by a contractual agreement. The prices shall be
       reviewed and approved by the Jail Administrator. All changes in the purchase prices or the
       offering of new commissary items shall be reviewed and approved by the Jail Administrator or
       his designee prior to their sale.

2.     Disciplinary Store Privileges:

       Inmates on Disciplinary Lock Down status and inmates that have lost their Commissary
       privileges shall only be allowed to purchase hygiene items, medical items, and postage materials.
       Other items ma be restricted from inmates b the Medical Staff because of an inmate s medical
       condition. The contracted Commissary provider shall supply the Jail Staff with store sheets that
       indicate which items are allowed for general population inmates, inmates that have lost their
       Commissary privileges, and inmates who are diabetic.

3.     Vendor Performance:

       The Jail Administrator or his designee shall be responsible for monitoring the performance of the
       Commissary Contractor and ensuring the contractor performs in accordance with their
       contractual obligations. Staff observing unsatisfactory performance or unusual occurrences
       involving Commissary Staff shall inform their immediate Supervisor and the Jail Administrator
       or his designee.




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SUBJECT: INMATE VOTING / REQUEST TO VOTE
SOP NO:  7.07                           Federal Law: 42 U.S.C. 1973gg -5(a)
APPLICABLE GSA STANDARD NUMBER:
DATE CREATED:    NOVEMBER , 2010                          LATEST UPDATE:                  August 2011


POLICY:

The Cla ton Count Sheriff s Office recogni es the fact there ma be those individuals who are in
custody, but are qualified to vote. These individuals are still entitled (if properly requested) to participate
in elections that may be held for varying County, State, or Presidential candidates. It will be the goal of
this agency to assist any qualified voter, who may be in custody, if they request to exercise their right to
vote.


REQUIREMENTS TO VOTE:

1.     Be a citizen of the United States;

2.     Be a legal resident of the County of which you want to vote within;

3.     Be registered to vote in your County of residence;

4.     Not be serving a sentence for conviction of a felony involving moral turpitude

5.     Have not been found mentally incompetent by a judge


PROCEDURES:

Any inmate who meets the qualifications to vote and wishes to do so, shall submit their request on am
Inmate Request form. In this request the inmate shall include their full name, county of residence and
their date of birth. These types of requests will be forwarded to the Watch Commander. The Watch
Commander will log onto the internet at http://www.sos.ga.gov/mvp/ to access the Georgia Secretary of
State, M Voter Page (see attached e ample page). On this page, the Watch Commander will enter the
information provided by the inmate under the MVP log in. This step will allow the Watch Commander
to determine if the inmate is a registered voter of his/her resident county. If the Inmates voter
information comes back displa ed, there will be a line that indicates, Click here for an absentee ballot
application. The Watch Commander will print the absentee ballot application and insure that it is
returned to the inmate. If the inmate does not show as a registered voter, the Watch Commander will
indicate that response on the Inmate Request form and return it to the inmate.




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SOP NO: 7.07          INMATE VOTING / REQUEST TO VOTE


The inmate will be responsible for the proper completion and submission of the absentee ballot
application via United States mail. If the inmate is incarcerated in a county other than his/her registered
home county, they can request that the absentee ballot be sent directly to them here at the Detention
Facility via United States mail. If their registered voting county is Clayton County the absentee ballot
will onl be sent to the address on file with the Registrar s Office. If the inmate has his absentee ballot
sent to his/her home address, someone in his/her household will need to send it to him/her via United
States mail. The absentee ballot will be delivered like any other piece of mail coming into the facility.
The inmate will be responsible for the proper completion and submission of the ballot to the Board of
Registrars of his/her registered county.




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SUBJECT: INMATE REQUEST FORMS
SOP NO:  8.01                                                 GA. LAW: NONE
APPLICABLE GSA STANDARD NUMBER:                     2.03, 2.07, 2.09, 2.10, 8.56
APPLICABLE ACA STANDARD NUMBER:                     None
DATE CREATED:    OCTOBER 15, 1986                       LATEST UPDATE:               September 6, 2011


POLICY:

The staff of the Clayton County Detention Facility shall attempt to answer all inmate requests or
questions prior to providing the inmate with inmate request forms. All inmate request forms shall be
processed in a fast and orderly manner.

PROCEDURES:

1.     Access to Request Forms:

       Inmates shall only be provided a request form after the officer has attempted to answer their
       question or request. If the officer is unable to answer the question, he or she shall provide the
       inmate with a request form.

2.     Collection:

       Officers shall collect all request forms, signing them as the receiving officer, and writing the date
       and time received on the appropriate line.

3.     Response:

       The housing unit control officer shall make ever attempt to answer the inmate s request. If the
       control officer or runner is unable to address the inmate s request, he or she shall forward it to
       the appropriate staff member or Supervisor. All responses to inmate requests shall be done in a
       professional and fair manner as expediently as possible.




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SUBJECT: RELEASE/DESTRUCTION OF INMATE PERSONAL PROPERTY
SOP NO:  8.02                          GA. LAW: NONE
APPLICABLE GSA STANDARD NUMBER:                     10.15
APPLICABLE ACA STANDARD NUMBER:                     None
DATE CREATED:    SEPTEMBER 2, 1988                      LATEST UPDATE:              September 6, 2011



POLICY:

The staff of the Clayton County Detention Facility shall exercise care in the security and protection of
an inmate s propert and accuratel document all releases, transfers or disposals of an inmate s
property.

PROCEDURES:

1.     Property/Money Release Form:

       Inmates may release their personal property to a third person. The inmate must agree to release
       all of their personal propert . Portions of the inmate s personal property shall not be released; it
       must be all or none. Inmates desiring to release their personal property or money to another
       person must have the desired person report to the visitation desk officer to obtain the form. The
       form will be taken to the inmate s Housing Unit b the person the propert /mone is being
       released to. The housing unit runner must personall witness the inmate s signature on the form
       and ensure the form is completed properly. Once completed, the form will be returned to the
       visitation desk officer. The visitation desk officer will direct it to the property clerk for further
       action.

2.     Authorized Release:

       The property shall only be released to the person designated by the inmate on the Property
       /Money Release Form. One change of clothes for their release shall be maintained unless the
       inmate has been sentenced to serve time in a State Correctional Facility.

3.     Inmate Money Release:

       Requests to release mone from an inmate s account shall be completed on the Propert /Mone
       Release Form. The form will be taken to the inmate s Housing Unit b the person the mone is
       being released to. The form will be returned to Accounting for approval. If Accounting
       disapproves the transaction it shall be forwarded to a Shift Supervisor with reasons for the
       disapproval. The Shift Supervisor ma override Accounting s decision if he/she feels there is a
       legitimate reason for the money transfer to take place.



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SOP NO: 8.02          RELEASE OF INMATE PERSONAL PROPERTY


4.     Two Week Notices for Property Release:

       Once an inmate is sentenced to time to be served in a state facility, he or she shall be given a
       Property / Money Release Form to fill out. At this time, each inmate will be notified of all items
       he/she will be allowed to take with them to the State Correctional Facility. The inmate must sign,
       date, and leave the name and address of a person to receive their personal property. The inmate
       shall have two-weeks to arrange for any person of their choosing to pick up their property. After
       the two-weeks if the property is not picked up, it shall be mailed out to the person s address the
       inmate has designated on the Property Release Form. The property officer shall ensure the
       correct completion of such with his or her signature and date. This Property/Money Release
       Form shall be maintained in the inmate's file. The address cannot be a P.O. Box, APO/AFO
       address or outside of the continental United States. If the property is returned once it is mailed
       out the inmate will be allowed an opportunity to have someone pick up the property. If it is not
       picked up in a reasonable amount of time it will be destroyed.

5.     Over-Abundance of Property:

       Any inmate received into our facility with an over abundance of property and who is unable to
       make a bond within a reasonable amount of time shall be given an Property/Money Release
       Form to fill out and be instructed to have someone come pick-up the property. If no one is
       available to pick up the property, the individual shall provide a name and address, on the
       Property/Money Release Form, for the excess property to be mailed. This shall be witnessed by
       an officer and be retained in the inmate's file. If the inmate does not have a local address then the
       propert will be maintained until the inmate s release from the facilit . If the address is not
       located or undeliverable the inmate will be allowed to have someone pick up the property in a
       reasonable amount of time, if not, it will be destroyed.

6.     Destruction of an Inmate s, Mislaid or Lost Property:

       If an inmate s propert is returned, mislaid/lost property is located within the Justice Bureau or if
       a former inmate will not return to the facility to pick up their property then it will be destroyed.
       Before it can be destroyed it must be inventoried and listed in the log for destroyed property. The
       log will contain the inmate s name, LE#, date of inventor and a complete inventor of the
       inmate s propert . Initiall the propert will be stored in the rear storage area within the Propert
       Room. Once enough of the property has accumulated it will be transported to the Clayton
       County Landfill for disposal. The property officer taking the property to the landfill for disposal
       must observe the property being buried by Clayton County Landfill personnel for completion of
       the process. If the inmate is within the facility he/she must be advised that their property will be
       disposed of. If the property is clothing and can be used to assist other inmates with court clothing
       or clothing needed when exiting the facility, it will be cleaned and placed on the excess/court
       clothing shelf for further use.




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SUBJECT: SAFETY/SANITATION SERVICES
SOP NO:  8.03                                                GA. LAW: NONE
APPLICABLE GSA STANDARD NUMBER:                     08.44
APPLICABLE ACA STANDARD NUMBER:                     1A-01, 02, 03
DATE CREATED:    NOVEMBER 4, 2000                       LATEST UPDATE:              September 6, 2011


POLICY:

The staff of the Clayton County Detention Facility shall ensure a clean and safe environment is
maintained for staff and inmates.

PROCEDURES:

1.     Cleaning Schedule:

       The Safety and Sanitation staff shall establish and coordinate a cleaning schedule to ensure the
       Facility is cleaned regularly.

2.     Stocking of Cleaning Materials:

       The Safety and Sanitation staff shall ensure each janitorial closet is stocked with adequate
       cleaning materials on a weekly basis.

3.     Cleaning Housing Areas:

       Cleaning supplies shall be placed into each inmate housing area daily.

       a.      Inmates are required to keep their assigned living area clean and orderly.

       b.      The housing unit runner shall ensure inmate living spaces are cleaned daily.

4.     Inspection:

       The cleanliness of each work station and housing unit shall be the responsibility of the officer
       assigned to that area.

5.     Safety Equipment:

       The Safety and Sanitation Officer shall ensure safety equipment is provided and properly used to
       prevent accidents. Material safety data sheets shall be maintained for all cleaning chemicals
       used.



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SUBJECT: WAREHOUSE
SOP NO:  8.04                                               GA. LAW: NONE
APPLICABLE GSA STANDARD NUMBER:                    NONE
APPLICABLE ACA STANDARD NUMBER:                    None
DATE CREATED:    NOVEMBER 4, 2000                      LATEST UPDATE:             September 6, 2011


POLICY:

Staff of the Clayton County Detention Facility assigned to oversee the warehouse shall maintain an
orderly and safe warehouse for the storage of materials necessary to maintain the operations of the
facility.


PROCEDURES:

1.     Condition of Storage Area:

       The facilities shall have sanitary, temperature-controlled food and commissary storage areas. The
       Safety/ Sanitation staff shall inspect these areas to ensure they are kept in a clean and sanitary
       condition. Special attention should be given to the control of vermin in these areas.

2.     Storage of Inmate Supplies:

       Space shall be provided for the safe and secure storage of all supplies needed for the operations
       of each facility. The officer(s) assigned to issue and receive supplies shall be responsible for
       establishing an orderly system to issue and receive these supplies to prevent pilferage and waste.
       An officer shall closely monitor and supervise the activities of any inmate permitted to enter or
       work in a warehouse or inmate uniform storage area.

3.     Storage of Flammable or Toxic Materials:

       Flammable or toxic materials shall be held in accordance with state and local regulations, and
       shall be safely stored only in areas designated by the Jail Administrator. Material Safety and
       Data Sheets shall be forwarded to the Safety/Sanitation staff for all hazardous materials and
       chemicals used or received in the facilities.




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SOP NO:                 8.04


4.     Additional Storage Areas:

       Provisions for the security of keys, weapons, drugs or medication, tools, valuables, records, and
       other supplies shall be made by the Jail Administrator or his designee. Additional secure storage
       areas for weapons and hazardous materials shall be provided outside of any areas directly
       accessible by inmates.




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                             Implemented on: January 04, 2012


SUBJECT: ASSESSABLE INMATE FEES
SOP NO:  8.05                                                GA. LAW: O.C.G.A. 42-4-71
APPLICABLE GSA STANDARD NUMBER:                     NONE
APPLICABLE ACA STANDARD NUMBER:                     None
DATE CREATED:                JULY 28,1999               LATEST UPDATE:             September 6, 2011


POLICY:

The staff of the Clayton County Detention facility shall attempt to recover the costs associated with
housing inmates by assessing certain fees for services and/ or damages incurred by the inmates.

PROCEDURES:

1.     Reasonable Fees:

       The Jail Administrator shall set reasonable fees which staff ma assess against an inmate s
                     account to include:

       a.      Loss of Inmate Identification.
       b.      Barber Services. In cases where the inmate has insufficient funds for a haircut he/she may
               be eligible for indigent funds.
       c.      Requested medical treatment. - five dollars for each occurrence ($3.00 for each
               prescription).
       d.      Damaged or lost county property.
       e.      Medical costs for treatment of injuries inflicted by inmates upon themselves or others.
       f.      Searching for and apprehending an inmate who escapes or attempts to escape.
       g.      Quelling any riot or other disturbance in which the inmate is unlawfully involved.

2.     Assessed Fees:

       Inmate accounts shall be frozen for assessed fees when the account balance is ten (10) dollars or
       less. Staff ma not deduct the assessed fee from these accounts until the inmate s account has
       sufficient funds or until we release the inmate.




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                    CLAYTON COUNTY SHERIFF’S OFFICE
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SUBJECT: JAIL COMMENTS COMPUTER SCREEN
SOP NO:  8.06                         GA. LAW: NONE
APPLICABLE GSA STANDARD NUMBER:                     NONE
APPLICABLE ACA STANDARD NUMBER:                     None
DATE CREATED:   DECEMBER 16, 2002                       LATEST UPDATE:             September 6, 2011


POLICY:

The staff of the Clayton County Detention Facility shall use the Jail Comments Screen on the in-house
computer system to accurately document non-serious incidents or circumstances involving inmates or
involving a specific area of the jail. The Jail Comments Screen shall not take the place of an Incident
Report, Jail Miscellaneous Incident Report, or any other form of documentation required by applicable
law or policy.

PROCEDURES:

1.      Accessing the Jail Comments Screen:

        The Jail Comments Screen is accessed by entering the inmate s name or facilit location (i.e.
        Housing Unit Four), and choosing the JC function from the prompt at the top of the page.
        When adding a new comment, chose F-9. Indicate the type of comment (described below) and
        whether or not a report was generated.

2.      Comment Types:

        The following comment types shall be used to specify the nature of the incident that is being
        documented.

a.             D = Disciplinary:      All inmate infractions shall be documented on the Jail Comments
                                      Screen with this code, regardless of the action taken. The
                                      comment should include which infraction was broken and action
                                      taken by the officer (i.e. Warning, Store and Visitation).

b.             M = Medical:           Any medical information that may be necessary for an officer to
                                      more safely or efficiently complete his or her duties shall be
                                      entered using this code (i.e. Universal Precautions, Inmate refused
                                      meds).

NOTE:          Specific medical conditions, treatment, or other private information shall NOT be entered
                      on the Jail Comments (JC) Screen.




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       c.     C = Caution:          Any information that may be necessary to maintain the safety of
                                    the staff and/or other inmates, or security of the facility shall be
                                    entered using this code.

       d.     G = General:          Information specific to any area of the facility that is not specific to
                                    a particular inmate, or information that does not fall into one of the
                                    above categories shall be entered with this code.

3.     Authorized Information:

       Any information pertaining specifically to the jail can be entered on the Jail Comments Screen.
       Classification information such as release dates and affidavit status, work release comments, all
       disciplinary infractions, damage to the facility and any other pass-on information may be entered
       on the Jail Comments Screen.

4.     Thoroughness of Comments:

       The comments on the Jail Comments Screen should be brief, but detailed enough to cover all
       pertinent areas. The comments should be no more than one or two sentences long. If there is a
       need to type more than one or two sentences, an Incident Report of some type is necessary. The
       Jail Comments Screen shall not take the place of an Incident Report or Jail Miscellaneous
       Incident Report, but shall be in addition to these reports, if they are needed.




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SUBJECT: INMATE GRIEVANCES
SOP NO:  9.01                                                GA. LAW: NONE
APPLICABLE GSA STANDARD NUMBER:                     22.01, 22.02, 22.03,22.06
APPLICABLE ACA STANDARD NUMBER:                     6B-01, 02
DATE CREATED:    OCTOBER 15, 1986                       LATEST UPDATE:              September 6, 2011
POLICY:

The staff of the Clayton County Detention Facility shall seek to resolve grievances at the lowest possible
level and shall ensure inmate grievances are addressed in a professional and orderly manner. Inmates
shall not be subjected to retaliation or discipline for their non-abusive use of the grievance procedure.

PROCEDURES:

1.     Access to Grievance Forms:

       Inmates shall be provided a Grievance Form upon request.            No inmate shall be denied a
       Grievance Form.

2.     Collection:

       Inmates requesting to file the issued Grievance Form shall be allowed to place the completed
       form inside the Grievance Box mounted in his/her Housing Unit, during a special call for this
       purpose, to be held once during each shift. The Grievance Officer shall collect all Grievance
       Forms, sign as receiving, and write the date and time received on the appropriate line.

3.     Standard Grievance Procedure:

       a.      Prior to the filing of a formal written grievance, an inmate shall attempt to resolve his or
               her grievance informally through discussion with an officer. If this effort fails, the
               inmate may submit a written grievance. The inmate must file the grievance within five
               (5) days of the alleged incident. Any grievances unresolved at the time of the inmates
               release shall be considered closed.

       b.      Any grievance filed on behalf of another inmate without their permission will be
               considered non-grievable by the Grievance Officer.

       c.      Inmates may only address one area of concern per Grievance Form.

       d.      Use of obscenities or abusive language may result in dismissal of the grievance or
               disciplinary action unless quoting accurately staff or inmate comments.




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SOP NO: 9.01         INMATE GRIEVANCES

       e.     If the inmate disagrees with the response from the Grievance Officer, the inmate shall
              submit a written appeal to the Jail Administrator or his/her designee within two (2) days.
              The Jail Administrator or his/her designee may support the original resolution or offer
              another. The Jail Administrator or his/her designee shall return his or her decision within
              ten (10) days.

       f.     If the inmate fails to submit a written notification of disagreement within two (2) days of
              the receipt, the grievance shall be considered administratively closed.

       g.     Grievances filed on medical, dental care, or food services shall be forwarded directly to
              the Medical or Food Services Administrator by the Grievance Officer. That administrator
              shall be responsible for investigating the grievance and submitting a response. The
              response shall list the facts found in the investigation. That administrator shall return a
              written response within three (3) working days to the Grievance Investigator.

       h.     Grievances with allegations of physical abuse shall be forwarded to the Jail Administrator
              or his/her designee.

       i.     Grievances submitted which do not follow these procedures shall be returned to the
              inmate with an explanation from the Grievance Officer.

       j.     The Jail Administrator or his/her designee shall ensure the grievance procedures are
              applied in a just and fair manner.

4.     Time Constraints:

       a.     Grievances shall be processed in a timely manner.

       b.     A response shall be given to the inmate no more than ten (10) calendar days from the
              receipt of the grievance.

       c.     In all cases the final decision shall be provided within 30 calendar days, from the filing of
              the grievance by the inmate.

5.     Applicable/Non-Applicable Grievances:

       a.     The grievance procedure may be used by any inmate. The following matters are
              grievable.

              i.     The application of the Clayton County Detention Facility Inmate Handbook.

              ii.    The actions of staff members or inmates.

              iii.   Other matters concerning the conditions of care or supervision.




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       b.     Grievances filed with the following concerns are considered non-grievable issues and
              shall be answered by the Grievance Officer in that manner:

              i.      State or Federal Court decisions.

              ii.     City, State and Federal Laws and Regulations.

              iii.    Parole Board decisions.

              iv.     An other matters which are be ond the control of the Cla ton Count Sheriff s
                      Office.

6.     Remedies:

       When grievances are decided in the inmate s favor, the Jail Administrator or their designee ma
       authorize one or more of the following:

       a.     A change of policies, procedures, or practices.

       b.     A correction of an inmate s records.

       c.     Discipline or requested discipline for an emplo ee s action in accordance with the
              limitations specified in the Department s Rules & Regulations.

       d.      Any other action deemed appropriate.


7.     Issuing:

       When issuing the Grievance Form annotate in the received b section of the form which
       officer issued the form by writing in the name and employee number of the officer. Write the
       inmates full name, full four digit cell number and the current date. Annotate the issuance of the
       Grievance form on the Grievance Log and on the inmate s JC screen. The JC computer entr
       should cite the grievance number, reason for the grievance and the officer s name which issued
       the grievance. For accountability purposes only issue grievances which are numbered and issue
       them in sequential order.




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                              Implemented on: January 04, 2012

SUBJECT: DISCIPLINE (DUE PROCESS)
SOP NO:  9.02                                                  GA. LAW: NONE
APPLICABLE GSA STANDARD NUMBER:                       21.06-08, 21.10 thru 21.18
APPLICABLE ACA STANDARD NUMBER:                       6B-01, 02
DATE CREATED:    OCTOBER 15, 1986                         LATEST UPDATE:              September 6, 2011


POLICY:

The staff of the Clayton County Detention Facility shall ensure discipline procedures remain consistent
in regards to staff safety, inmate rules and regulations, and the overall safety and security of the facility.
The discipline procedures shall not be used to punish or harass any inmate. Disciplinary procedures
shall be used to correct inappropriate behavior or actions.

PROCEDURES:

1.     Minor Violations:

       Inmates that have committed a minor violation only shall be subject to one or more of the
following:

       a.      Written warning.

       b.      Loss of free time not to exceed one day.

       c.      Loss of store and/or visitation.

       d.      Disciplinary Lockdown.

2.     Major Violations:

       Inmates that have committed a major violation shall be subject to any/all of the above and these:

       a.      Disciplinary Lockdown

       b.      Security Segregation
.
       c.      Loss of good time. (Hearing required)




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SOP NO: 9.02          DISCIPLINE (DUE PROCESS)

3.     Violent Inmates:

       If an inmate becomes violent, or there is immediate and reasonable cause to believe the inmate
       may inflict injury on himself/herself, another, or damage county property, the inmate shall be
       placed in Security Segregation.

4.     For Major/Minor Violations Resulting in Disciplinary Lockdown:

       a.     The reporting officer shall:

              i.      Determine the nature of violation.

              ii.     Notify a Supervisor.

              iii.    Submit a Miscellaneous Jail Incident Report and document the incident in all
                      appropriate areas as designated by the Jail Administrator or his/her designee (Jail
                      Comment s Screen, Infraction Sheet).

               iv.    Complete a Disciplinar Action Taken form with the sanction that was
                      determined by the Supervisor.

       b.      The Housing Unit Supervisor shall:

               i.     Review the facts of the violation and determine if criminal charges shall be
                      obtained.

               ii.    Determine the number of days in disciplinary lockdown that are appropriate and
                      inform the reporting officer so it can be reflected in the reports.

               iii.   Advise the inmate he or she can waive the disciplinary hearing.

               iv.    Forward a copy of the report to the Hearing Officer if the inmate denies the
                      conditions offered in the Plea Agreement Form.

       NOTE: The same restrictions for inmates in Security Segregation shall apply to inmates
       in Disciplinary Lockdown; refer to SOP 3.03.

5.     Notification to Inmate of Disciplinary Action:

       Each inmate shall be given a copy of the Disciplinary Action Taken Form which describes the
       accused violation and the location the incident took place.




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SOP NO: 9.02          DISCIPLINE (DUE PROCESS)

6.     Inmate Responses to Disciplinary Action:

       a.     Pre-trial inmates have the right to a Disciplinary Hearing, provided the inmate did not
              accept a Plea Agreement, which waives their right to the hearing. Inmates that have not
              agreed to accept the Plea Agreement do not need to take any action in requesting a
              Hearing. The Disciplinary Hearing Officer shall automatically schedule the hearing upon
              receipt of the Plea Agreement Form.

       b.     Sentenced inmates may submit a written request to the Disciplinary Hearing Officer
              within 24 hours of the alleged rule violation in order to formally request a Disciplinary
              Hearing only if the inmate is cited with a major rule infraction.

7.     Disciplinary Hearing:

       When a hearing has been scheduled, the Hearing Officer shall investigate the incident.

       a.     The Hearing Officer shall schedule a hearing to be held within seventy-two (72) hours,
              excluding weekends and holidays.

       b.     The Hearing Officer shall provide and observe the following rights of the inmate:

              i.      The right to have a written copy of the charge(s).

              ii.     The right to have representation of a Staff Member when it is apparent the inmate
                      lacks understanding of the issues, is mentally challenged, or has language barriers.

              iii.    The right to call witnesses in the inmate s behalf provided it would not interfere
                      with jail security or other reasonable cause(s) exist.

              iv.     The right to be present at the hearing except during deliberations

              v.      The right to speak on his/her own behalf at the hearing. If you choose to remain
                      silent, your silence may be used to draw an adverse inference against you.

              vi.     The right to a written copy of the findings.

              vii.    The right to appeal the decision of the Hearing Officer, in writing, within twenty-
                      four (24) hours of the decision. All appeals should be addressed to the Jail
                      Administrator or his/her designee.

              viii.   The right to plead guilty. However, you are admitting to the allegations and thus
                      waive your rights to a hearing.




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SOP NO: 9.02           DISCIPLINE (DUE PROCESS)

8.      Hearing Officer s Responsibilities:

        a.     Find reason to sustain the allegations or exonerate the inmate on each charge, and notify
               the inmate in writing within twenty-fours (24) hours of that decision. Evidence of guilt
               must be found before assessing penalties.

        b.     Impose specific disciplinary actions with a set time limit on every penalty imposed.

        c.     Provide the inmate with a Hearing Results Form stating the facts relied upon and
               reasons for action; also including the specific disciplinary action to be taken and the time
               limit on the penalty.

        d.     Inform the inmate he or she may appeal the decision by submitting a written statement to
               the Jail Administrator or his designee, who shall issue a response to the inmate within 72
               hours excluding weekends and holidays.

        e.     If upon receipt of a request for an appeal, the Jail Administrator or his designee
               determines there is probable cause for an appeal, he shall have 7 days to schedule a date
               and time for the hearing.

9.      Good Time Hearing Requests:

        Officers may request hearings for the purpose of determining the possible removal of good time
        credit for any disciplined inmate. The requesting officer shall indicate this on the Jail
        Miscellaneous Incident Report. All requests shall be reviewed by the Security Section
        Commander.

10.     Records:

        All records from the hearing shall be placed in a file and maintained by the Hearing Officer for a
        minimum of two years from the date the hearing was held.




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SUBJECT: BONDS               GA LAW: O.C.G.A. 17-6-01 thru 17 -6-04, 17-6-06, 17-6-10, 17-6-12, 17-6-15
SOP NO:  10.01                                          GA LAW: 17-6-30, 17-6-31
APPLICABLE GSA STANDARD NUMBER:                     10.13, 10.15
APPLICABLE ACA STANDARD NUMBER:                     5B-04
DATE CREATED:    OCTOBER 15, 1986                      LATEST UPDATE:              September 6, 2011

POLICY:

The staff of the Clayton County Detention Facility shall ensure all individuals posting bond complete an
approved bond prior to being released. The approved bond shall comply with the guidelines established
by the Sheriff, City Municipality, and the State of Georgia.

PROCEDURES:

A bond is a legal document and as a result must be correct and include the required legal signature of all
concerned parties. If the bond contains wrong information or is not signed by everyone the bond
becomes nullified. The responsibility to ensure all bonds are correct rests with the preparing employee
and their Supervisors.

1.     Bond Options:

       a.      Authorized Professional Bondsman.

       b.      Cash-in-lieu bond.

       c.      Real property bond in Clayton County.

       d.      Out-of-County Bond (Real Property located in another county).

       e.      Own Recognizance Bond.

2.     Special Conditions of Bond:

       a.      A Special Conditions of Bond order is an order attached to a committal document setting
               special conditions which the defendant must comply with in order for the bond to remain
               valid.

       b.     An order attached to a warrant, regardless if bond is already set, requiring an inmate to
              have a first appearance hearing before a Magistrate Judge prior to making bond.




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3.     Court Dates:

       Magistrate Court shall provide the appropriate court date for bonds. City Courts shall provide a
       court date on the citation/summons. In the case of a City Court Bench Warrant contact the
       appropriate court or agency for a court date. State and Superior Courts shall notify the defendant
       by mail concerning all court dates.

4.     Bond Fees/Fine Fees:

       a.     County and State fees are applied to all bonds returnable to Magistrate, State and
              Superior Courts.

       b.     City Charges:

              i.      County fees shall not be applied to any city charge returnable to a city court.

              ii.     State fees shall not be applied to any city charge returnable to a city court.

       c.     County and State fees are 10% of the bond amount with the State Fee having a maximum
              limit of $200.00.

       d.     A Sheriff s Administrative fee shall be assessed on each bond transaction, per individual
              bondsman, unless waived by the Jail Administrator or his designee.

       e.     Fines which are assessed by our local State, Superior, and Magistrate Courts, shall
              include the 10% County fee, the 10% State fee (not to exceed $50.00), a 5% victim
              assistance fee, and in addition to any other fees ordered by the courts.

5.     Bond Distribution:

       a.     Bonds on City Uniform Traffic Citations, City Summons, and City Warrants shall be
              returnable to the appropriate city and shall be forwarded to the Accounting Office upon
              completion for distribution.

       b.     Bonds on Magistrate Court Bench Warrants, and Magistrate Court Violation of Probation
              Warrants, shall be returnable to Magistrate court.

       c.     Bonds on misdemeanor warrants shall be forwarded to State Court.

       d.     Bonds on felony warrants shall be forwarded to Superior Court.




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     NOTE: All bonds are forwarded as indicated above, unless bound-over to another court or they
     are a companion to a Superior Court case.

6.   Bond Formats:

     a.     Appearance Bond:

            Used for State Warrants and Warrantless Arrest Affidavits when the individual
            incarcerated is using a Professional Bondsman or real property to make a bond. This
            format is also used as a cover sheet for an approved out-of-county bond.

     b.     Cash-in-Lieu Bond:

            Used on State Warrants and Warrantless Arrest Affidavits when an individual
            incarcerated is posting the entire property bond amount in cash. Monies for these
            transactions, including fees, shall be collected by the Accounting Office, during normal
            office hours and receipts forwarded to the Bonding Office.

     c.     City Bonds:

            i.       City Appearance Bonds

                     Used for City Warrants, City Uniform Traffic Citations, and City Summons when
                     the individual incarcerated is using a Professional Bondsman or real property to
                     make a bond. This format is also used as a cover sheet for an approved out-of-
                     county bond.

            ii.      City Cash-in-Lieu

                     Used on City Warrants, City Uniform Traffic Citations, and City Summons when
                     an individual incarcerated is posting the entire bond amount in cash. Monies for
                     these transactions, including fees, shall be collected by the Accounting Office and
                     receipts forwarded to the Bonding Office.

     d.     Own Recognizance Bond:

            iii.     Individuals approved to sign their own bond, by a Judge having jurisdiction over
                     the charge.

            iv.      Individuals incarcerated only on City citations, subject to the guidelines imposed
                     b the cit s Judge, or if the have not made bond within 48 hours of arrest.




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     e.    Cash/Fine (payoff):

           Used for an individual incarcerated which have been booked in on charges from other
           Counties. These charges can be settled by a cash payoff or by paying a fine. This format
           can also be used for releasing inmates on Violation of Probation fines or costs, State or
           Superior Court fines or Contempt orders and City arrest orders. Monies for these
           transactions shall be collected by the Accounting Office, during operational hours, prior
           to beginning the release process. Assigned Jail Staff shall collect monies for these
           transactions when the Accounting Office is closed.

     f.    Cognizance Bond:

           Used for incarcerated military personnel only who are making bond. A commissioned
           command officer (lieutenant or above) from the individuals branch of service must sign
           the bond.

     g.    Extradition Bond:

           Used for an individual posting a bond on a fugitive warrant. If a Waiver of Extradition
           has been signed, the inmate is no longer eligible for bond.

     h.    Ne Exeat Bond:

           Used in Civil cases, Divorce, and Alimony Suites. A Superior Court Judge shall set the
           bond and court date.

     i.    Pre-Sentence Investigation Bond:

           Used for an individual incarcerated which has been found guilty but who has not been
           sentenced. A State or Superior Court Judge may set a bond on the individual.

     j.    Supersedeas Bond:

           Used on individuals sentenced and who are appealing their sentence. This bond can only
           be approved by the Clerk of the Court from where the sentence originated. This is
           prepared as a cover sheet.

7.   Property Bonds:

     a.    This format is used when someone s propert is posted for the bond. The propert must
           have enough established equity in order to qualify.

           i.     The individual(s) using his or her real property are swearing they have enough
                  equity in their real property to cover the total amount of the bond(s), plus the




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                     Homestead Exemption (currently at $10,000.00). Commercial property is exempt
                     from the Homestead Exemption, therefore it is not calculated into the value of the
                     property.

              ii.    The real property must be in the name of the person(s) making the bond, or
                     possess a power of attorney from the actual owner to sign his or her name.
                     Property that is only in the name of the incarcerated person shall not be used for
                     bond.

              iii.   The property owner(s) must further state they shall not sell, transfer title, or
                     dispose of the real property as long as said bond(s) are in affect.

       b.     Documents required to process a property bond:

              i.     Individual(s) making a real propert bond must have a driver s license, or some
                     other form of verifiable identification.

              ii.    A copy of a Warranty Deed. A Security Deed, Tax Statement, Mortgage
                     Statement and Quit Claim Deed may be used, subject to approval of the
                     Admissions & Release Section Supervisor.

              iii.   Verification of the real property shall be done on the County Computer System. If
                     the computer system shows the real property is delinquent, the individual cannot
                     use the property for bond.

       c.     If the propert lies within another count , the Sheriff s Office of that count must
              approve the bond. The approved bond must then be forwarded to our Sheriff s Office in
              order to process the incarcerated person from custody in this event the bond prepared by
              this agency will only serve as a cover sheet.

8.     Deed to Secure Debt:

       a.     Requirements:

              i.     All Property Bond(s) having a cumulative value of $20,000 or more, or are less
                     than $20,000 if there is reason to believe doing so would be beneficial to the
                     credibility of the bond.

              ii.    All individuals whose names appear on the Warranty Deed shall sign the Deed to
                     Secure Debt and the completed bond.




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             ii.    If a corporation is being used for security on a bond, all parties listed on the
                    Warranty Deed shall be required to sign the Deed to Secure Debt and the completed
                    bond.

       b.    Purpose:

             Ensures the real property cannot be sold or transferred prior to the disposition of the
             criminal charge(s).


       c.    Document Distribution:

             The following documents generated for a Deed to Secure Debt shall be forwarded to the
             Bond Administrator upon completion of the Bond.

             i.       Original Deed to Secure Debt.

             ii.      A copy of the completed bond(s).

             iii.     The bond information sheet.

             iv.      A copy of the identification used by the person(s) posting the bond.

             v.       A copy of the tax information printout obtained from the county computer.

9.     Bondsman Off Bond:

       a.    Individuals wishing to revoke authorization of release on an individual previously
             released under authority of their signature. The individual must be in our custody for the
             bondsman to complete this form.

       b.    Requirements:

             i.       The individual must be in our custody.

             ii.      The charge(s) must be valid.

             iii.     A Bondsman Off Bond Form must be completed for each individual charge.

       c.    Computer update on Bondsman Off Bond Form:

             The computer disposition code used shall be JOB for each charge the bondsman
             completes a Bondsman Off Bond Form on, unless a bench warrant or true bill has been
             issued. The computer disposition code used shall be JBM for bench warrants




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           originating out of Magistrate Court, JBW for bench warrants originating out of State
           Court, and JTB for true bills originating out of Superior Court. Bench warrants
           originating out of Cit Courts shall be coded JCO . A new arrest booking report shall
           be printed and placed in the folder.

           Do not sign a Bondsman Off Bond Form if a bench warrant is already issued, unless
           bondsman brings the subject in themselves.

     d.    Distribution of the Bondsman Off Bond Form:
           i.     Goldenrod      -     Bondsman
           ii.    Pink           -     Court Copy
           iii.   Yellow         -     Inmate File
           iv.    White          -     Inmate File




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                         CLAYTON COUNTY SHERIFF’S OFFICE
                                  JAIL DIVISION
                         STANDARD OPERATING PROCEDURES
                                   Implemented on: January 04, 2012

SUBJECT: TRANSFER OR RELEASE OF INMATES
SOP NO:  10.02                         GA LAW: NONE
APPLICABLE GSA STANDARD NUMBER:                     10.13, 10.15
APPLICABLE ACA STANDARD NUMBER:                     5B-04
DATE CREATED:    OCTOBER 15, 1986                       LATEST UPDATE:            September 6, 2011


POLICY:

The staff of the Clayton County Detention Facility shall not release or transfer any inmate until release
or transfer documentation has been reviewed and the identity of the inmate is established. No person
shall be released from custody prior to a supervisory review.

PROCEDURES:

1.     Classification/Release Officer:

       a.      Check all documents provided for the release of an inmate.

       b.      Ensure no valid detainers, holds, or warrants are pending which would prevent a release.

       c.      Verification of the detainer, hold, or pending warrant:

               i.     On all valid holds obtain an estimated time of arrival from the agency or officer
                      placing the hold.

               ii.    On all valid holds which are being withdrawn a teletype or other verifiable written
                      documentation must be obtained from the agency placing the hold specifying their
                      release of the hold. No verbal releases shall be accepted from the agency releasing
                      the hold.

       d.      Notify Accounting prior to an inmate being released or transferred to another agency.

       e.      Forward the release or transfer information to the appropriate Unit Control Officer,
               Property Officer, Release Officer, and Medical Staff.

       f.      Any discrepancies noted on any of the above duties shall be reviewed by a Shift
               Supervisor.




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SOP NO: 10.02         TRANSFER OR RELEASE OF INMATES

2.     Unit Control Officer:

       a.     Verify the correct identity of the inmate being released or transferred.

       b.     Ensure inmate retrieves all personal items and issued county items out of their cell.

3.     Property Officer:

       a.     Retrieve all of the inmate s propert from storage.

b.     Coordinate the return of the inmate s personal propert to the inmate with the release officer for
       inmates being released from the facility either by bonding out or completion of their sentence.

c.     Coordinate the return of the inmate s personal propert to the inmate with the release officer and
       the transporting officer for all inmates being transferred or loaned to another facility.

d.     Inmates being released to a State Facility shall remain in a county issued uniform and all
       remaining personal property shall be mailed to the person designated by the inmate.

e.     Personal property items which are designated contraband within the secure perimeter of the
       facilities shall not be returned to the inmate until they have exited the secure perimeter of the
       facilities. Example: pocket knives, cigarettes, pagers, cell phones etc.

4.     Release Officer (downstairs):

a.     Check committal, release, and transfer documentation prior to the release of an inmate.

b.     Verify the identity of inmate.

c.     Collect all issued county items from the inmate.

d.     Inmate being released:

              i.      The inmate and property officer shall inventory and sign the Clothing Inventory
                      Form to document the return of the inmate s personal clothing.

              ii.      The personal clothing shall then be returned to the inmate.

              iii.   Personal property items designated as contraband within the secure perimeter of
                     the facilities shall be inventoried and turned over to the release officer.
e.     Inmate being turned over to another agency:




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SOP NO: 10.02        TRANSFER OR RELEASE OF INMATES

i.                   Check documentation for transfer of the inmate.

ii.                  Verif the inmate s identification and place the identification in the get out
                     packet.

iii.                The inmate and property officer shall inventory and sign the Clothing Inventory
                    Form to document the return of the inmate s personal clothing.

iv.                  Complete a Transfer of Custody Form for all inmates being transferred to a
                     facility other than a Diversion Center or Boot camp.

v.                   Inventory the remaining personal property items with the inmate and/or the
                     transporting officer and have either the transporting officer or inmate sign for the
                     return of the inmate s personal items to the inmate or transporting officer. Return
                     remaining personal property items to the transporting officer.

f.                  Inmate being temporarily loaned to another agency:

i.                   Check documentation for inmate to be loaned.

ii.                  Verify the identity of the inmate.

iii.                 Complete a Transfer of Custody Form.

iv.                  Personal property shall not be returned to an inmate being loaned to another
                     agency.

v.                   An additional items in the inmate s possession with the e ception of their
                     personal legal materials shall be inventoried and placed on the loaned shelf in the
                     Propert Room until their return. An inmate s personal legal materials shall be
                     retained by the inmate.

g.                  Medical Transfer Receipt/Medication (if applicable):

i.                  Medical Staff shall complete a Medical Transfer Form and forward to the release
                    officer.

ii.                 Medical Staff shall forward any needed medication for the inmate to the
                    transporting officer. If the inmate is housed in the Infirmary, the inmate and
                    his/her medication is maintained in the Infirmary until they are turned over to the
                    transporting officer.

iii.                Medical Staff shall inform the transporting officer of any medical condition
                    required by the provisions of State Statutes to the transporting officer assuming
                    custody of the inmate.




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SOP NO: 10.02         TRANSFER OR RELEASE OF INMATES

        h.     Exit Interviews:

               All inmates that are released from custody while being housed in the Infirmary, and those
               inmates that have been placed on the Exit Interview List shall have an exit interview
               performed by a member of the Medical Staff prior to their release/transfer from custody.
               Once the exit interview has been performed, the Medical Staff shall provide
               documentation to be placed in the inmate s file to show the interview was conducted.

        i.     Inmate Funds Account:

i.                    Inmates being released from the Bonding Office shall be directed to Accounting
                      by the bonding officer or the visitation officer for return of all remaining funds in
                      their inmate account.

ii.                   Inmates being transferred to another agency shall receive a check for all
                      remaining funds in their inmate account.

5.      Release Supervisor:

        A Supervisor must review all documentation in an inmate s file, all computer entries,
        verification of Inmate (Le number, Mug shot, the armband, Etc.) and any other areas containing
        information related to an inmate s incarceration before an inmate is released from custod or
        transferred to another agency. The Supervisor conducting the review shall annotate on the folder
        and each document in the folder that the review was completed, including the date and time of
        the review, and the Supervisor s name and emplo ee number.




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                     CLAYTON COUNTY SHERIFF’S OFFICE
                              JAIL DIVISION
                     STANDARD OPERATING PROCEDURES
                             Implemented on: January 04, 2012

SUBJECT: VICTIM NOTIFICATION REPORTS
SOP NO:  10.03                                               GA LAW: O.C.G.A. 16-5-93
APPLICABLE GSA STANDARD NUMBER:                     None
APPLICABLE ACA STANDARD NUMBER:                     5B-04
DATE CREATED:      MAY 20, 1993                        LATEST UPDATE:              September 6, 2011


POLICY:

The staff of the Clayton County Detention Facility shall comply with current state law requiring victims
of stalking, aggravated stalking, or related offenses to be notified in the event the inmate is released
or escapes from custody.

PROCEDURES:

1.     Committal Documents:

       Shall be reviewed in Intake to obtain the needed proper victim notification information:

       a.     Victim s information:

              i.      Victim s name.

              ii.     Victim s telephone contact number.

              iii.    Victim s current address.

       b.     When there is no victim information listed on the committal documents:

              i.      Contact the arresting officer for victim information.

              ii.     Contact the issuing Judicial Official for the victim s information.

2.     Victim Notification Reports:

       During intake procedures the following shall be documented both on the in-house computer
       system as well as on the Victim Notification Form, and completed as required:

       a.     Offender s information:

              i.      Offender s name.




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SOP NO: 10.03        VICTIM NOTIFICATION REPORTS

              ii.    Offender s charges.

              iii.   Offender s warrant, ticket, or /case number(s).

       b.     Victim s information:

              i.     Victim s name.

              ii.    Victim s telephone contact number.

              iii.   Victim s current address.

       c.     Confirmation of Victim s Contact Number:

              i.     Document the time the victim was called.

              ii.    List the emplo ee s name who called the victim.

              iii.   List the victim s location if contact was made.

       d.     This Victim Notification Form is to be maintained in the inmate s file.

3.     Bonding/Release Procedures:

       All bonding procedures shall be completed in accordance with S.O.P. 10.01 (Bonds) with the
       addition of the following:

       a.     Notif the Admissions & Release Supervisor prior to the inmate s release.

       b.     Attempt to contact victim:

              i.     First call:      at initial intent to make bond.

              ii.    Second call:     thirty (30) minutes prior physical release. If no answer, proceed to
                                      third call criteria.

              iii.   Third call:      fifteen (15) minutes prior physical release. If no answer, proceed
                                      to fourth call criteria.

              iv.    Fourth call:     prior to immediate physical release. If no answer, proceed to fifth
                                      call criteria.

              v.     Fifth contact: contact the on Duty Supervisor in the Warrant Office and request a
                                     Sheriff s Unit to go to the last known location of the victim.




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SOP NO: 10.03        VICTIM NOTIFICATION REPORTS

              vi.    Sixth call:    fifteen (15) minutes after physical release.

       a.     All results or non-results of contact shall be documented on Victim Notification Report.

       b.     Notification may be considered accomplished by the following:

              i.     Personal notification directly to the victim.

              ii.    Notification to a responsible party, which cannot be a small child, at the victim s
                     address.

              iii.   Obtain and document the name and date of birth of person receiving the call, and
                     the officer making the call on the Victim Notification Report.

4.     Escape Procedures:

       Victim notification shall be completed in accordance with the release procedures and
       simultaneous to any other applicable procedure covering escape situations.

5.     Completed Victim Notification Reports:

       Once completed, the Victim Notification Report shall be printed and maintained in the inmate s
       get out packet. A copy of the completed report shall be forwarded to the Jail Administrator.

6.     Reports:

       Documentation supplied from the Enforcement Division shall be attached to the completed
       Victim Notification Report prior to forwarding to the Jail Administrator.




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                       CLAYTON COUNTY SHERIFF’S OFFICE
                                JAIL DIVISION
                       STANDARD OPERATING PROCEDURES
                                Implemented on: January 04, 2012

SUBJECT: RIOT OR DISORDER
SOP NO:  11.01                                                   GA LAW:

APPLICABLE GSA STANDARD NUMBER:                       5.05, 6.10, 8.38, 23.20, 23.23, 23.25, 23.26, 23.27, 24.01, 24.07
APPLICABLE ACA STANDARD NUMBER:                       1C-01, 02
DATE CREATED:    OCTOBER 15, 1986                         LATEST UPDATE:                   September 6, 2011

POLICY:

The staff of the Clayton County Detention Facilities shall end inmate disturbances as quickly as
possible, using the minimum force necessary to bring the situation under control.

PROCEDURES:


     Officers shall not respond to assist with an emergency situation until they have been properly
     relieved of their current responsibilities or directed to do so by their Supervisor. At no time during
     an emergency situation shall any area of the secured facilities go completely unmanned without
     direct supervision by an officer.




1.        Definition of Disorder:

          Disorder is defined as a disturbance involving any number of inmates but limited to acts of
          passive resistance without engaging in property destruction, assault and/or attempts to escape
          (i.e., hunger strikes, refusal to obey lawful orders).

2.        Definition of Riot:

          A riot is defined as a violent disturbance involving inmates accompanied by property destruction,
          arson, assaults, refusal to obey lawful orders, and/or attempted escape from the facilities.

3.        Warning Signs:

          Prior to any organized outbreak or disturbance, certain warning signs may be detected. A few of
          the signals are:

          a.     Inmates complain about treatment, food, racial disputes, or conditions in general.




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SOP NO: 11.01          RIOT OR DISORDER

       b.     Inmates are tense and nervous.

       c.     Inmates begin to hoard food and commissary purchases.

       d.     Inmates become incommunicative.

       When any combinations of these symptoms are observed in the facilities, the Staff Member shall
       immediately report the problem area to a Shift Supervisor, who shall notify all Staff Members of
       the potential problem. This information shall be passed on to the oncoming shift, to be addressed
       in roll call.


4.     Notification:

       The Watch Commander is responsible for notification of personnel and/or agencies outlined in
       section 6(b) of this policy. In the event the Watch Commander has been taken hostage or
       incapacitated in any manner, then the next senior officer shall assume temporary command and
       responsibility until properly relieved.

5.     Discovering Officer Responsibility:

       When a riot begins the Staff Member discovering the riot shall immediately notify the Watch
       Commander, stating the location of the riot, the approximate number of inmates involved,
       weapons (if any), and if any personnel or inmates are hostages. The Staff Member discovering a
       riot in progress shall not attempt to intervene, in order to avoid seizure as a hostage. He or she
       shall secure all doors, gates, or exits through which inmates may escape.

6.     Supervisor Responsibility:

       The Watch Commander or their designee shall record all information pertaining to the riot (i.e.,
       time reported, by whom, names of persons notified, names of officers responding etc.). The
       Watch Commander, upon receipt of a report of a riot, shall take the following immediate actions:

       a.     Determine the number of inmates involved, location, weapons (if any) being used by the
              inmates, and the status of the employees at the riot scene.

       b.     Notify the Command Staff of the riot, requesting assistance if it appears the Security
              Staff is unable to handle the situation. In addition, the following persons or agencies
              shall be notified.

                       Enforcement Bureau
                       Fire Department (EMS)
                       Infirmary
                       Kitchen Staff




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SOP NO: 11.01        RIOT OR DISORDER

7.     Central Control Responsibility:

       The officer(s) manning Central Control shall insure all electrically controlled doors are secure,
       denying passage to all inmates unless escorted by Staff Member or Law Enforcement Officers.
       The Watch Commander shall have Staff Members establish the identity of escort personnel to
       insure the escort is not being forced into accompanying the inmate(s) in an escape attempt.
       Movement throughout the facility shall not be allowed until the Watch Commander is satisfied
       that it is safe to do so.


8.     Watch Commander s Duties:

       The Watch Commander on duty shall be responsible for supervising the following actions until
       he or she is relieved by a member of the Justice Bureau Command Staff, Chief, or Sheriff:

       a.     Instruct Central Control to change the building code status to Code Red, and to instruct
              the Detention Staff to turn off the inmate phones in the entire facility, and to turn off
              the water to the area of the riot.

       b.     Direct the inmates not actively participating in the riot to return to their cells and lock
              down, by having an announcement made for the inmates to cease rioting, and to return to
              their cells for lock down. Inmates shall be instructed to approach Security Staff or Law
              Enforcement Officers in a single file line with their hands clasped on top of their heads
              for search.

       c.     Assemble all available Staff Members in an area safe from the riot scene and organize
              immediate defensive measures to contain or restrict the rioters.

       d.     Upon arrival, reinforcements shall be requested to initially surround the perimeter of the
              Jail to prevent the escape of inmates.

       e.     The CERT team, when so directed by the Jail Administrator or his/her designee, shall
              employ such riot control means as necessary to regain control.

9.     Follow-up Measures:

       a.     Once subdued, the rioters shall be required to line up facing a wall, hands extended over
              their heads, and be frisk searched. They shall be removed to secure cells and strip
              searched.

       b.     First aid and medical treatment shall be rendered by Medical Staff to any person(s) who
              might have been injured.




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SOP NO: 11.01     RIOT OR DISORDER


     c.    A head count shall be taken to verify the presence or absence of any inmate(s) who may
           have escaped during the course of the riot. A roll call of Jail employees and Law
           Enforcement Officers participating or present when the riot commenced shall be taken to
           ensure all officers are accounted for.

     d.    In the event chemical agents were deployed, evacuation of the affected area(s) shall be
           considered. Affected inmates shall be permitted to shower, and be issued clean clothing

     e.    Inmates who provoked the riot shall be segregated for investigative purposes.

     f.    A thorough shakedown of all cells and those areas where the riot occurred shall be
           conducted.

     g.    Damage assessment and a security survey shall be conducted and a report of damages
           prepared. Maintenance Staff shall be directed to begin making repairs as soon as
           photographs have been taken.

     h.    An immediate investigation shall be initiated by the Special Investigation Section, to
           determine responsibility in preparation for the filing of charges against participants. In
           the event of serious injury or death of an inmate, a formal investigation shall be
           conducted.




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                         CLAYTON COUNTY SHERIFF’S OFFICE
                                  JAIL DIVISION
                         STANDARD OPERATING PROCEDURES
                                   Implemented on: January 04, 2012

SUBJECT: FIRE (EVACUATION PLAN)
SOP NO:  11.02                                                GA LAW:
APPLICABLE GSA STANDARD NUMBER:                     5.04, 9.09, 9.15, 23.20, 23.21, 23.29, 24.05
APPLICABLE ACA STANDARD NUMBER:                     1C-01, 02, 04, 05, 06
DATE CREATED:    OCTOBER 15, 1986                       LATEST UPDATE:                September 6, 2011
POLICY:

The staff of the Clayton County Detention Facilities shall make every effort to prevent the occurrence of
fires. In the event of a fire, the primary objective shall be the protection of lives of staff, inmates,
visitors and property.

PROCEDURES:

1.     Prevention:

       The Jail Administrator shall ensure the following:

       a.      All fire safety equipment is inspected periodically by the Clayton County Fire
               Department.

       a.      A floor plan outlining evacuation routes and the location of firefighting and safety
               equipment is kept current.

       c.      An extra set of keys shall be maintained in Central Control for all detention doors to be
               used in cases of an emergency.

2.     Control Officer Duties:

       Ensure the following rules are enforced:

       a.      Trash shall be disposed of daily.

       a.      There shall be no hoarding or storing of flammable materials in unapproved containers.

3.     Discovery:

       When an employee discovers a fire, he or she shall inform the Security Staff and a shift
       supervisor immediately, stating the exact location and severity of the fire.




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SOP NO: 11.01          FIRE (EVACUATION PLAN)


4.     Notification:

       Once notified of a fire, the Watch Commander shall:

       a.     Notify all personnel there is a fire and state the location.       Notify Central Control to
              change the building status to Code Red.

       b.     Notify Clayton County Communications so the Fire Department can be dispatched, and
              have all Clayton County Sheriff Office road units on duty respond to the Detention
              Facility.

       c.     Notify the Sheriff s Office Command Staff.

5.     Response:

       a.     The unit control officer shall ensure all inmates housed in the section threatened by fire
              or smoke is evacuated to a non-affected area. Special provisions shall be made to ensure
              handicapped inmates are personally escorted from the affected areas.

       b.     If the fire is within a Housing Unit, the unit control officer shall evacuate inmates to the
              closest non-affected area.

       c.     All inmates in non-affected areas outside the housing units shall be taken to the closest
              secured area. All visitors shall be escorted out of the building.

       d.     If the fire is within a Direct Supervision Unit, the control officer shall evacuate inmates to
              the closest non-affected secure area.

       e.     Evacuation of inmates outside the facility building shall only be at the direction of the
              Jail Administrator, Assistant Chief Deputy, Chief Deputy or the Sheriff. The Watch
              Commander can authorize evacuation of inmates outside the facility building only to
              prevent immediate death or serious injury.

       f.     An officer shall be designated by the Watch Commander to meet arriving units of the
              Fire Department to direct them to the scene of the fire.

       g.     The Watch Commander shall set up a Command Post to ensure communication with all
              agencies involved.

6.     Holding Areas:

       If it is necessary to evacuate inmates to the outside of the facility, the primary holding area shall
       be outside the housing units, but within the fence.




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SOP NO: 11.01           FIRE (EVACUATION PLAN)


7.     Evacuation from Premises:

       If it is necessary to evacuate inmates to another facility, the Watch Commander shall coordinate
       the transportation of inmates with the Enforcement Bureau.

8.     Investigation:

       After the fire has been extinguished and medical care has been given to any injured personnel,
       the Special Investigations Section in cooperation with the Fire Department shall initiate an
       investigation.




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                     CLAYTON COUNTY SHERIFF’S OFFICE
                              JAIL DIVISION
                     STANDARD OPERATING PROCEDURES
                                Implemented on: January 04, 2012

SUBJECT: ESCAPE
SOP NO:  11.03                                                 GA LAW:
APPLICABLE GSA STANDARD NUMBER:                       23.01, 23.24, 23.25, 23.26, 23.27, 23.29
APPLICABLE ACA STANDARD NUMBER:                       1C-01
DATE CREATED:    OCTOBER 15, 1986                         LATEST UPDATE:               September 6, 2011



POLICY:

The primary function for the staff of the Clayton County Detention Facilities is to make every effort to
ensure no inmate escapes from custody. In the event of an escape from the Clayton County Detention
Facilities, Security Staff shall secure the perimeter, notify the appropriate law enforcement agencies, and
initiate the search for the escapee(s).

PROCEDURES:

1.       Discovering Officer:

         The officer who discovers an escape shall:

         a.     Immediately advise their Watch Commander on duty and give the following information,
                if known:

i.                     The location and method of the escape.

ii.                    The name(s) of the escapee(s).

iii.                   Brief description of inmate if known.

iv.                    The method and mode of transportation of the escapee(s).

v.                     The approximate time of escape, if determined.

         b.     Secure the area from which the escape was made.

         c.     Secure all inmates in the vicinity of the escape area.

         d.     Stop all inmate movement and conduct an inmate count.




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SOP NO: 11.03          ESCAPE

2.     Notification:

       The Watch Commander, immediately upon being notified of any escape, shall:

       a.     Inform Central Control to change the building status to Code Red.

       b.     Notify the Enforcement Bureau an escape has occurred, and provide all available
              information.

       c.     Notify the Clayton County Communication Center of the escape with a complete physical
              description of the escapee(s), including clothing and mode of transportation.

       d.     Notif the Sheriff s Office Command Staff.

       e.     Prepare an information packet on all escapees, to be given to the Enforcement Bureau.

3.     Jail Administrator s Responsibilities:

       The Jail Administrator shall contact the Special Investigations Section to initiate a complete
       investigation into the circumstances of the escape, to include the following activities:

a.            Ensure criminal warrants are obtained for the escapee(s).

b.            The collection of the escapee(s) personal property.

a.            All Jail Staff having information or knowledge of the escape shall complete a written
              report as soon as possible.

4.     Follow Up:

       Upon completion of the investigation and/or the recapture of the escapee(s), the Jail
       Administrator shall:

       a.     Determine how the escape was affected and take corrective action.

       b.     Recommend any corrective or disciplinary action necessary against individuals involved,
              (i.e., Jail Staff, Contract Employee, and/or inmates).




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                         CLAYTON COUNTY SHERIFF’S OFFICE
                                  JAIL DIVISION
                         STANDARD OPERATING PROCEDURES
                                   Implemented on: January 04, 2012

SUBJECT: ATTEMPTED SUICIDE, SUICIDE, OR DEATH OF AN INMATE IN CONFINEMENT
SOP NO:  11.04                              GA LAW: O.C.G.A. 45-16-24

APPLICABLE GSA STANDARD NUMBER:                     5.05, 14.17, 21.09, 23.23, 23.29, 24.01, 24.09, 24.16
APPLICABLE ACA STANDARD NUMBER:                     None
DATE CREATED:    OCTOBER 15, 1986                       LATEST UPDATE:                   September 6, 2011

POLICY:

In the event of attempted suicide, or death of an inmate, the officers and personnel of the facility shall
take all actions necessary to provide necessary medical assistance and to preserve the scene. The
personnel involved shall cooperate with all medical and investigative authorities.

PROCEDURES:

1.     Discovering Officer s Responsibilities:

       The Staff Member who first witnesses, or otherwise discovers an inmate who appears dead or
       who has made a physical attempt at suicide, shall:

       a.      Immediately inform the Watch Commander of the situation and request assistance.

       b.      Notify the Infirmary of the type and location of the incident including what assistance or
               equipment may be needed.

               NOTE: Any "signals" or "codes" used in communications, especially with the Infirmary,
               should be accompanied b the phrase "CODE BLUE. This is the standard for a serious
               medical emergency that all health care providers are familiar with.

       c.      Staff shall not enter cell areas until the other inmates have been secured and/or back up
               assistance arrives. If the inmate is accessible, use lifesaving procedures. Proper security
               must be maintained at all times.

2.     Watch Commander's Duties:

       a.      After receiving notification, the Watch Commander shall ensure Clayton County
               Communications is contacted to request a rescue unit to respond to the emergency.

       b.      Notif the Sheriff s Office Command Staff.

       c.      Proceed to the scene and assume control.




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SOP NO: 11.04         ATTEMPTED SUICIDE, SUICIDE, OR DEATH OF AN INMATE IN
                      CONFINEMENT

3.     Identification and Investigation:

       a.     Seal off the area of the suicide to prevent contamination of the crime scene, in order to
              preserve it.

       b.     Contact the Cla ton Count Sheriff s Office Special Investigative Section.

       c.     Ensure photographs are made to preserve and record the scene.

       d.     Obtain names of all inmates who witnessed the incident and/or has pertinent information.

       e.     Upon verification of death by medical personnel, the Jail Administrator shall ensure the
              following steps are completed:

              i       Notify the County Coroner or Medical Examiner (O.C.G.A.45-16-24) that a death
                      of an inmate has occurred.

              i.      Arrange for a Crime Scene Investigator to take inked fingerprints of the corpse
                      prior to transporting the corpse to the Crime Lab. The prints taken are needed to
                      positively identify the deceased.

4.     Follow-up:

       The Jail Administrator shall assign staff to complete the following tasks:

       a.     If the deceased was a federal, immigration, or military inmate, notify the appropriate
              agency immediately to advise them of the death.

       b.     If the deceased was being held on a warrant from another agency, notify that agency.

       c.     Obtain the name, address, and telephone number of any relatives shown in the inmate's
              file. If a relative is not shown on any form in the file, check the visitors log to determine
              names of appropriate persons to notify.

       d.     Notify the appropriate relative of the deceased, explain the cause of death, the current
              location of the body, and whether the inmate's personal property may be released. This
              shall be done by the Jail Chaplain, if possible.




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SOP NO: 11.04        ATTEMPTED SUICIDE, SUICIDE, OR DEATH OF AN INMATE IN
                     CONFINEMENT


       e.     Notify the court(s) to which the inmate's case(s) is assigned.

       f.     Implement routine "book-out" procedures in order to complete jail records.

       g.     Collect all property of the deceased.


5.     Reporting:

       When a suicide attempt or an inmate death occurs, the Watch Commander shall be notified and a
       report shall be completed. If the Watch Commander determines the suicide attempt involves
       minor injury to the inmate, a Jail Miscellaneous Incident Report shall be completed. If the Watch
       Commander determines the suicide attempt involves great bodily harm or an inmate death has
       occurred, it shall be documented by the reporting officer in an Incident Report..




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SUBJECT: HOSTAGES
SOP NO:  11.05                                             GA LAW: O.C.G.A. 45-16-24
APPLICABLE GSA STANDARD NUMBER:                   5.04, 23.23, 23.25, 23.26, 23.27, 23.29, 24.01, 24.02
APPLICABLE ACA STANDARD NUMBER:                   1C-01
DATE CREATED:    OCTOBER 15, 1986                     LATEST UPDATE:             September 6, 2011


POLICY:

The staff of the Clayton County Detention Facility shall make every attempt to safely extract anyone
seized as a hostage unharmed, and shall gain control of the situation by utilizing the minimum force
necessary.

PROCEDURES:

1.     Authority:

       An emplo ee of the Cla ton Count Sheriff s Office, regardless of rank or position, sei ed as a
       hostage shall cease to exercise the authority vested in their office or rank. Any order issued
       while being held as a hostage shall be disregarded by other Sheriff's Office Personnel.

2.     Security:

       An employee about to be seized as a hostage and/or subject to assault shall attempt to dispose of
       any keys in his or her possession. Any employee taken hostage and/or isolated among rioting
       inmates shall make every effort to relay pertinent information, without jeopardizing their safety
       or the safety of others. The employee shall take advantage of protective cover available pending
       the arrival of reinforcements. The employee shall make mental notes during this period for later
       identification of ringleaders and agitators.

3.     Steps to be Taken:

       When a hostage is taken, actions outlined in the Cla ton Count Sheriff s Office, Justice Bureau,
       Policy and Procedures, Riot or Disorder (SOP 11.01), shall be followed.




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SUBJECT: BOMB THREAT
SOP NO:  11.06                                                GA LAW:
APPLICABLE GSA STANDARD NUMBER:                      5.04, 9.15, 23.20, 24.01
APPLICABLE ACA STANDARD NUMBER:                      1C-01
DATE CREATED:    OCTOBER 15, 1986                        LATEST UPDATE:              September 6, 2011

POLICY:

In the event of a bomb threat, the staff of the Clayton County Detention Facility shall search the facility,
notify the appropriate emergency personnel to remove or disarm the device if it is located, and if
necessary evacuate the facility.

PROCEDURES:

1.     Watch Commander Responsibilities:

       a.      All officers in the facility shall be notified a bomb threat has been received and to cease
               the use of two-way radios. The building status shall be changed to Code Red.

       b.      Notif Cla ton Count Communications so the Fire Department and EMT s can respond.

       c.      Notif the Sheriff s Office Command Staff.

       d.      The Watch Commander shall establish a Command Post in a central location to direct all
               search procedures. This area shall be searched for a device first. All available personnel
               shall report to the Command Post to receive instructions.

       e.      Call the nearest Explosive Ordnance Unit and place them on standby.

       f.      Evacuation of inmates outside the facility building shall be at the direction of the Jail
               Administrator, Chief or the Sheriff. The Watch Commander can authorize evacuation of
               inmates outside the facility building only to prevent immediate death or serious injury.

2.     Officer/Employee Responsibilities:

       a.      The officer or employee receiving a bomb threat shall obtain as much information as
               possible from the caller or person delivering the threat.

       b.      The officer or employee shall record the exact wording of the threat location, time of
               detonation, design type, and other descriptive information.




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SOP NO: 11.06     BOMB THREAT

     c.    The officer or employee receiving the threat shall immediately notify the Watch
           Commander.

     d.    Officers shall not use their portable radios or cut on/off any lights as this may detonate
           the device.

     e.    Officers shall have all inmates lock down and visitors shall be escorted out of the facility.

     f.    When conducting a search for the bomb, the search shall progress from the most public to
           the most private area of the facility.

     g.    If a suspicious package is located, it shall be left undisturbed. Officers shall evacuate the
           area and attempt to isolate the suspicious package or explosive device without moving it.

     h.     If a device is located, qualified Explosive Ordnance Personnel shall be called in to
           disarm or remove the device from the facility as the situation dictates.

     i.    All bomb threats received shall be turned over to the Special Investigative Section for
           investigation regardless if the threat is false or genuine.

     j.    The officer or employee receiving the bomb threat shall complete an Incident Report and
           a Bomb Threat Checklist. A Supplemental Report shall be completed by all other
           personnel locating a device or witnessing the receipt of a bomb threat.




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                                         Clayton County Sheriff’s
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                                         Bomb Threat Check List

Name and employee number of the person taking the bomb threat:

Name:                                                    Employee Number

Time and Date the threat reported:

Telephone number the threat was received on

How Reported:

Exact Words of Caller:




Questions to Ask:

k.       When is the bomb going to explode?

l.       Where is the bomb right now?

m.       What kind of bomb is it?

n.       What does the bomb look like?

o.       Why did you place the bomb?                                             __________________

p.       Where are you calling from?

Description of caller s voice?

Male             Female                  Young                 Middle
Age              Old

Accent                    Tone of Voice                       Background Noise

Is Voice Familiar                        If so, who did it sound like?

Other Voice Characteristics ______________________




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SUBJECT: DISASTER
SOP NO:  11.07                                              GA LAW:
APPLICABLE GSA STANDARD NUMBER:                    5.04, 23.29, 23.30, 24.01
APPLICABLE ACA STANDARD NUMBER:                    1C-01
DATE CREATED:    NOVEMBER 4, 2000                      LATEST UPDATE:              September 6, 2011

POLICY:

The staff of the Clayton County Detention Facility shall, in the event of a disaster take all necessary
steps to protect the lives of staff, visitors, and inmates. The on-site commander shall ensure records
maintained by the Bureau are secured, and further damage, destruction or theft is prevented.

PROCEDURES:

1.     Natural Disaster:

       When an employee is notified of the possibility of a natural disaster (e.g., tornado or hurricane
       warning), he or she shall inform the Security Staff and the Watch Commander immediately,
       stating the projected path of the storm, if known.

2.     Man-made Disaster:

       In the event of a man-made disaster (e.g., bomb explosions, airplane crash, or a hazardous waste
       spill) the employee making the discovery or receiving information of the same shall inform the
       Security Staff and the Watch Commander immediately.

3.     Notification:

       Once notified of a disaster, the Watch Commander shall notify all personnel and direct them to
       assist in security operations.

4.     Response to the Disaster:

       a.     The unit control officer shall ensure all inmates housed in the section threatened by the
              disaster are evacuated to a non-affected area.

       b.     All inmates in non-affected areas outside the housing units shall be taken to the closest
              secured area.




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       SOP NO: 11.07         DISASTER

              c.     The recommendation for evacuation of inmates shall be made by the Fire Department.
                     Evacuation of inmates outside the facility building shall be at the direction of the Jail
                     Administrator, Chief or the Sheriff. The Watch Commander can authorize evacuation of
                     inmates outside the facility building only to prevent immediate death or serious injury

       5.     Holding Areas:

              If it is necessary to evacuate inmates outside of the facility, the primary holding area shall be
              outside the housing units, but within the fence.

       6.     Evacuation from Premises:

              If it is necessary to evacuate inmates to another facility, the Watch Commander shall coordinate
              the transportation of inmates with the Enforcement Bureau.

       7.     Evacuation Plans:

              Evacuation plans shall be posted throughout the building to ensure an orderly evacuation in case
              of an emergency.

       8.     Watch Commander Duties:

              a.     Ensure the building code status is changed to Code Red.

              b.     Notify the Command Staff

              c.     An officer shall be designated by the Watch Commander to meet arriving units of the
                     Fire Department to direct them to the scene of the disaster to begin rescue/relief
                     operations.

              d.     The Watch Commander shall set up a Command Post in a non-affected area to ensure
                     communication with all agencies involved.

              e.     During the disaster the on-site commander at the affected facility shall have the
                     responsibility of ensuring records maintained by the division are secured from further
                     damage, destruction or theft. He or she shall take the necessary steps to ensure all
                     records are secured on-site if possible or that they remove the records to another location
                     where they can be secured as the situation requires.




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SUBJECT: FOOD SERVICE
SOP NO:  12.01                                               GA LAW: O.C.G.A. 42-4-32
APPLICABLE GSA STANDARD NUMBER:                     18.02-18.13
APPLICABLE ACA STANDARD NUMBER:
DATE CREATED:    OCTOBER 15, 1986                      LATEST UPDATE:              September 6, 2011
POLICY:

To maintain the health of the inmates, foods served in the Clayton County Detention Facility shall be of
the highest quality and greatest variety possible within budgetary constraints. Food shall not be withheld
as punishment.

PROCEDURES:

1.     Schedule:

       Three meals per day shall be served to all inmates, including those in disciplinary isolation and
       administrative segregation. All scheduled meal delivery times shall be set by the Jail
       Administrator or their designee.

2.     Meal Preparation:

       Meals prepared must be nutritionally balanced and prepared in accordance with nationally
       accepted and state and local food preparation requirements.

a.             All food preparation shall be done under the direct supervision of the Food Service
               Contract Personnel.

       b.      Special attention shall be made to maintain prepared foods at an acceptable temperature
               to prevent them from becoming spoiled, stale, or inedible.

       c.      Meals shall be prepared in a sanitary environment.

3.     Service:

       All meal delivery shall be supervised by the housing unit officers. This is to ensure security of
       the food served and to ensure each inmate is provided a meal tray. Meals shall be delivered in a
       sanitary manner. The time of delivery shall be recorded on the daily log by the control officer.




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SOP NO: 12.01           FOOD SERVICE
4.   Refusal:

       Inmates may accept or decline any meals offered them. The control officer shall record in the
       Daily Log when an inmate refuses a meal. In the event an inmate is out of their assigned housing
       unit during the delivery of the scheduled meal, a comparable meal is to be provided upon their
       return.

5.     Tray Return:

       Inmates shall receive sufficient time to consume their meal. Each tray shall be collected and
       accounted for by the feeding officer immediately after the meals have been consumed. There
       shall be no hoarding of trays.


6.     Records of Meals Served:

       The Kitchen Staff shall record the number and type of meal served. A report shall be forwarded
       to the Jail Administrator of all meals served including regular and special diets.

7.     Special Diets:

       Every effort shall be made to ensure all prescribed special diets are served at the specified meal
       times. A list of all inmates receiving a special diet shall be forwarded to the Food Service
       Manager.

       a.     Special medical diets for inmates shall be made available upon a ph sician s
              authorization.

       b.     Special religious diets for inmates shall be made available upon the Chaplain s
              recommendation with approval from the Jail Administrator or their designee.

8.     Meal Planning:

       The Jail Administrator, or their designee shall review menus with the Food Service Manager
       every 28 days. The menu shall have as wide a variety of food as possible within budget
       limitations and contractual obligations.

9.     Inspection:

       a.     The Health Department may conduct an inspection of the food service program at any
              reasonable hour for sanitation and safety.

       b.     The Safety and Sanitation Officer shall conduct a walk through inspection of the kitchen
              area at random times on a daily basis to ensure safety and sanitation requirements are
              met.




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SOP NO: 12.01           FOOD SERVICE

        c.     The Jail Administrator or his designee shall inspect the food quality and the preparation
               of inmate and staff meals on a regular basis.

        d.     Food Service Permits shall be obtained and kept current from the Health Department. All
               food service preparation areas, serving areas, equipment, and personnel shall comply with
               applicable state and local health requirements.

10.     Storage Area:

        The food service, preparation, and storage areas shall be thoroughly cleaned after each meal
        service.




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SUBJECT:       MAINTENANCE
SOP NO:  12.02                                              GA LAW:
APPLICABLE GSA STANDARD NUMBER:                    8.46, 15.04
APPLICABLE ACA STANDARD NUMBER:
DATE CREATED:    NOVEMBER 4, 2000                     LATEST UPDATE:             September 6, 2011
POLICY:

The Clayton County Detention Facility through contractual agreement shall provide preventive and
corrective maintenance for each building to ensure the proper working condition of all equipment.

PROCEDURES:

1.     Regularly Scheduled Maintenance:

       Maintenance Staff shall implement a plan to provide for the regularly scheduled maintenance of
       the facilities.

2.     Inventory:

       Maintenance Staff shall maintain a detailed inventory of tools, materials, and equipment
       necessary to ensure the security of the facility.

3.     Escorts:

       Maintenance Staff and assigned inmate workers shall not enter into any portion of the facility
       that is occupied by unsecured inmates without being escorted by Sheriff' Office Security Staff.
       All access to plumbing chases must be supervised by Security Staff.




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SUBJECT:       CONTRACTORS AND VOLUNTEERS
SOP NO:  12.03                        GA LAW:
APPLICABLE GSA STANDARD NUMBER:
APPLICABLE ACA STANDARD NUMBER:
DATE CREATED:    NOVEMBER 4, 2000                      LATEST UPDATE:              September 6, 2011
POLICY:

The Clayton County Detention Facility shall make use of contractual services to provide those services
which are not available through normal staffing procedures. The use of volunteer workers to assist in
conducting inmate programs and services shall be encouraged. Contractual employees and volunteers
approved by the Jail Administrator to perform certain duties at the Detention Facility shall not conduct
themselves in a manner to compromise the safe and efficient operation of the facility.


PROCEDURES:

1.     Contractor and Visitor Approval:

       The use of contractors and their employees shall be subject to the approval of the Sheriff. The
       use of volunteers shall be coordinated by the Jail Chaplain Staff and approved by the Jail
       Administrator or his designee.

2.     Screening:

       Before being allowed to work in either facility, a criminal history check, interview, and
       orientation shall be conducted on each contractual employee and volunteer prior to their use in
       the facilities.

3.     Orientation:

       The Jail Administrator or his designee shall ensure an orientation is provided to each contractual
       employee concerning their expectations and the security procedures.

4.     Assisting Contractual Employees:

       Visitors shall be escorted by Security Staff when they are working in the inmate housing units
       and while moving throughout the facility. It shall not be mandatory for contractual employees to
       be escorted while moving throughout the facility, unless there is a compelling security interest.
       All contractual employees shall be escorted by an officer when working around unsecured
       inmates, not to include inmate workers. Security Staff shall make every reasonable effort to aid
       contractual employees and volunteers unless the security operations of the facilities are in
       jeopardy.


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SOP NO: 12.03             CONTRACTORS AND VOLUNTEERS

5.      Fraternization:

        Nothing shall be given, loaned, traded, or sold to any inmate without prior approval from the Jail
        Administrator or their designee. Any contractual employees or volunteers delivering contraband
        to any inmate shall be subject to criminal prosecution. Contractual/Volunteer employees shall
        not fraternize with any inmate to include but not limited to:

a.             Delivering messages.

b.             Special favors.

c.             Establishment of friendships.

6.      Weapons:

        Contractual employees and volunteers shall not possess any implements that could be used as
        weapons. All tools used by contractual employees and volunteers shall be approved by the Jail
        Administrator or their designee.

7.      Inventory:

        All tools and/or equipment shall be regularly inventoried and accounted for. Any missing or
        unaccounted for tool(s) shall be reported immediately to the Watch Commander.

8.      Identification:

        Sheriff s Office Identification issued to contract emplo ees or volunteers shall be displayed on
        their outer clothing and remain visible at all times while in the facilities.

9.      Emergencies:

        Contractual employees and volunteers observing any emergency situation shall immediately
        contact the Security Staff.

10.     Conflicts with Inmates or Staff:

        Conflicts involving inmate workers shall be reported to the Security Staff immediately.
        Conflicts involving officers or Staff shall be reported to the on duty Watch Commander or the
        assistant Watch Commander immediately.

11.     County Property:

        No county property shall be borrowed nor removed from either facility without prior approval
        from the Jail Administrator.




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SOP NO: 12.03          CONTRACTORS AND VOLUNTEERS



12.     Suspensions:

        Access to the facility by contractual employees and volunteers may be temporarily suspended for
        any reason that interferes with the security of the facilities.

13.     Suspension Reviews:

        Contractual employees and volunteers removed from the facilities for security violations shall be
        temporarily banned from the facility pending review by the Jail Administrator.




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SUBJECT: MAIL                                                 SOP NO:           5.01
APPLICABLE GSA STANDARD NUMBER(S): 16.01, 16.02, 16.03, 16.04, 16.05, 16.06, 16.07
DATE CREATED: JULY 1, 1999                         LATEST UPDATE: February, 2011

POLICY:

The Clayton County Detention Facility shall allow and encourage inmates to communicate with persons
outside the jail by sending and receiving mail. This facility will ensure that mail is processed in a timely
manner and will not be withheld except where such restrictions are necessary to maintain the order and
security of the facility.

DEFINITIONS:

Contraband: An item whose introduction or possession is prohibited within a jail. Contraband may be
items that are either illegal or legal but prohibited by this facility. All items of contraband will be handled in
the appropriate manner and will be either destroyed, placed in the inmate s personal property or turned over
to the courts for prosecution.

Non-Privileged Mail: Mail that inmates send to, or receive from, family, friends, and private organizations.
This also includes newspapers or magazines received from publishers.

Legal Mail: Mail that inmates send to, or receive from, their attorneys of record or with whom an attorney-
client relationship has been established, the courts, or other court officials, as well as the probation officers.
Whenever an inmate receives mail from an attorney, it shall be automatically presumed that an attorney-
client relationship exists.

PROCEDURES:

1.      Incoming Mail

        A.      All incoming mail, except legal mail and other specifically approved items must be in
                metered or pre-stamped postcard form. All postcards shall contain the inmate's name and
                return address as follows:

                Inmate s Full Name and LE Number
                Cla ton Count Sheriff s Office
                9157 Tara Blvd
                Jonesboro, Ga. 30236




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        1.     Acceptable Postcard Forms:

               a.      Postcard minimum size requirements are 3.5 inches by 4.25 inches.
               b.      Postcard maximum allowable size is 4.25 inches by 6 inches.
               c.      Must be written in blue or black ink only.
               d.      Postcards must be white in color and be either metered or contain a
                       preprinted stamp.

        2.     Unacceptable Postcard Forms:

               a.      Defaced or altered postcards.
               b.      Plastic or wrappings on postcards.
               c.      Postcards marked with paint, crayons, or markers.
               d.      Postcards with labels or stickers.
               e.      Postcards with watermarks or stains.
               f.      Postcards with any biohazards, including perfumes or lipstick.
               g.      Postcards depicting nudity, weapons, or gang references.
               h.      Postcards containing an affixed stamp.

  B.    Monies being mailed to an inmate must be in an envelope and will be addressed in the
        following manner:

               Cla ton Count Sheriff s office
               Attn: Accounting
               9157 Tara Blvd.
               Jonesboro, Ga. 30236

        Monies must be made out to the Clayton Count Sheriff s Office with the inmates name and
        LE number printed on the line designated as For on the document. No additional
        correspondence will be accepted with incoming monies. All envelopes marked as incoming
        monies will be opened and inspected. If additional contents are located in the envelope, the
        entire package will be returned to sender. All accepted monies will be turned over to the
        accounting staff and deposited to the inmate s account.

        1.     Acceptable United States currency includes:

               a.      Any cashier check (also known as an official check).
               b.      Money Order.

  C.    Up to four photographs may be mailed to the jail after the inmate has been incarcerated for
        30 or more days. The envelope must be clearly marked as PHOTOGRAPHS. The
        photographs must not exceed four inches by six inches in size, must be unaltered, and may
        not contain any adhesives such as stickers or labels. The inmate s name and booking
        number must be written on the back of each photograph. Nothing else is to be written on the
        photographs. All accepted photographs must be developed prints, no Polaroid pictures are
        authorized. No additional correspondence will be accepted with incoming photographs. All




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             envelopes marked as PHOTOGRAPHS will be opened and inspected. If additional
             contents are located in the envelope, the entire package will be returned to sender.

             1.     Photographs containing the following shall be deemed inappropriate and shall be
                    returned to the sender:

                    a.      If the picture depicts sexual activity or visibly exposes the breast, pubic
                            area or buttocks.
                    b.      Pictures promoting or showing illegal activity.
                    c.      Pictures containing gang signs or codes.

       D.    Packages will not be accepted unless specifically authorized by the jail commander. All
             unauthorized packages will be returned to the sender.

       E.    Inmates may receive newspapers, magazines, and new soft cover books shipped directly
             from a publisher or book company. However, the ordering, purchasing, and payment for
             these shall be the sole responsibilit of the inmate s famil or friends. Newspapers shall
             be discarded daily to prevent a fire hazard. All reading materials shall be subject to
             inspection for contraband.

             1.     Reading material containing the following shall be deemed
                    inappropriate and shall be returned to the sender:

                    a.      Content contains pictures that depict sexual activity or visibly exposes the
                            breast, pubic area or buttocks.
                    b.      It contains information of escape plots, riots or other disorder or plans to
                            violate laws or rules.
                    c.      It contains threats, extortion or obscenity.
                    d.      It contains gang signs or codes.
                    e.      It contains information that advocates or describes the killing of law
                            enforcement personnel.
                    f.      It contains plans for the production of any explosive, incendiary or
                            pyrotechnic device.
                    g.      It contains writings that would inflame or contribute to tension between
                            ethnic groups and threaten the safety, security or order of the facility.

2.     Outgoing Mail

       A.    All outgoing non-privileged mail shall be in approved postcard form.

       B.    All outgoing legal mail will be clearly marked as such on the outside of the envelope.

             1.     Outgoing legal mail will be verified to be such prior to leaving this facility.

             2.     Outgoing legal mail will only be opened in the presence of the inmate when clear
                    and convincing evidence of a security breach establishes good cause.




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       C.     There are no limitations on the amount of legal mail that can be sent or received by an
              inmate in this facility.

3.     Restrictions on Non-Privileged Mail Quantity

       Inmates are only allowed to have (4) four books and or magazines including religious books,
       (20) twenty postcards and (1) one newspaper in their possession at any time. Any additional
       items are considered a fire hazard/contraband and shall be confiscated and destroyed. There are
       no restrictions on the number of postcards inmates can mail out providing they have sufficient
       materials to do so.

4.     Restrictions on the Addressee

       The Jail Administrator or their designee in special circumstances may impose additional
       restrictions for situations such as intimidation of witnesses, harassment of any individual or
       family, court ordered restrictions, or correspondence with a minor whose parents or legal
       guardian may object. Staff shall not permit correspondence between inmates incarcerated in this
       facility.

5.     Inspections for Contraband

       All incoming or outgoing mail is subject to being opened and inspected for contraband, cash,
       checks, or pornography. Staff shall not read incoming or outgoing mail unless circumstances
       present a legitimate security interest. Mail originating from, or intended for an attorney, court, or
       any elected official may only be opened in the inmate's presence and then only inspected for
       contraband, cash, checks, or pornography. This inspection shall be completed by Security Staff
       and is for the strict purpose of insuring contraband is not being sent from, or received into this
       facility and shall be done in such a manner as not to violate the confidentiality of the
       communication. Legal mail must be marked and readily identifiable as legal mail before staff
       shall treat it as such. Pre-stamped envelopes provided to an inmate through the mail in legal
       correspondence shall not be considered contraband.

6.     Processing

       Incoming or outgoing mail shall be processed for regular distribution daily Monday through
       Friday. Jail personnel will not retain an inmate s incoming or outgoing mail for more than 24 hours
       or packages for more than 48 hours, excluding weekends and holidays.

       A.     All incoming mail will be inspected for contraband, but will not be censored. Legal mail
              will be opened in the presence of the inmate.

       B.     Incoming mail addressed to an inmate that is no longer at this facility will be returned to
              sender.




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  C.    Personnel will distribute mail only to the inmate who is to receive the postcard, letter, or
        package. Mail will not be handled or distributed by another inmate.

  D.    Personnel shall collect outgoing inmate mail daily. All mail must have a return address and
        correct postage before being delivered to the USPO.




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